      Case: 24-30115   Document: 201       Page: 1      Date Filed: 07/17/2024




                             No. 24-30115
   In the United States Court of Appeals for the Fifth Circuit
DOROTHY NAIRNE, DOCTOR; CLEE E. LOWE, REVEREND; ALICE WASHINGTON,
DOCTOR; BLACK VOTERS MATTER CAPACITY BUILDING INSTITUTE; LOUISIANA
    STATE CONFERENCE OF THE NAACP; STEVEN HARRIS, REVEREND,
                                       Plaintiffs-Appellees
                              v.

  NANCY LANDRY, IN HER OFFICIAL CAPACITY AS SECRETARY OF STATE OF
                            LOUISIANA,
                                          Defendant-Appellant

STATE OF LOUISIANA, BY AND THROUGH ATTORNEY GENERAL ELIZABETH B.
MURRILL; PHILLIP DEVILLIER, IN HIS OFFICIAL CAPACITY AS SPEAKER OF THE
LOUISIANA HOUSE OF REPRESENTATIVE; CAMERON HENRY, IN HIS OFFICIAL
          CAPACITY AS PRESIDENT OF THE LOUISIANA SENATE,
                                            Intervenors-Appellants
                                   v.

                       UNITED STATES OF AMERICA,
                                          Intervenor-Appellee
                            _________________________


           On Appeal from the United States District Court
         for the Middle District of Louisiana, No. 3:22-CV-178

               APPELLANTS’ RECORD EXCERPTS


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                                                                                                       APPEAL
                                  U.S. District Court
                      Middle District of Louisiana (Baton Rouge)
                 CIVIL DOCKET FOR CASE #: 3:22-cv-00178-SDD-SDJ

Nairne et al v. Ardoin                                              Date Filed: 03/14/2022
Assigned to: Chief Judge Shelly D. Dick                             Jury Demand: None
Referred to: Magistrate Judge Scott D. Johnson                      Nature of Suit: 441 Civil Rights: Voting
Related Cases: 3:22-cv-00211-SDD-SDJ                                Jurisdiction: Federal Question
                 3:22-cv-00214-SDD-SDJ
Case in other court: 5th Circuit Court of Appeals, 24-30115
Cause: 28:2201 Injunction
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                                        Nora Ahmed
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                                        Robert S. Clark
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                                                                     24-30115.15
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Plaintiff
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                                                                                  24-30115.16
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                                                                     24-30115.17
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                                                                     24-30115.18
            Case: 24-30115   Document: 201   Page: 22   Date Filed: 07/17/2024

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                                                                                 24-30115.19
Case: 24-30115   Document: 201   Page: 23   Date Filed: 07/17/2024


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                                                                     24-30115.20
            Case: 24-30115   Document: 201   Page: 24   Date Filed: 07/17/2024

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                                                                                 24-30115.21
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                                                                     24-30115.22
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             Case: 24-30115   Document: 201   Page: 28    Date Filed: 07/17/2024


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             Case: 24-30115            Document: 201   Page: 30       Date Filed: 07/17/2024


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Intervenor
Cameron Henry                                        represented by Michael W. Mengis
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 Date Filed         #   Docket Text

 03/14/2022         1   COMPLAINT against R. Kyle Ardoin ( Filing fee $ 402 receipt number
                        ALAMDC-2405905.), filed by Dorothy Nairne. (Attachments: # 1 Exhibit A, # 2 Exhibit
                        B, # 3 Exhibit C, # 4 Exhibit D, # 5 Civil Cover Sheet)(Adcock, John) (Attachment 2 and
                        4 replaced on 3/15/2022 to correct page orientation) (ELW). (Entered: 03/14/2022)

 03/14/2022         2   Summons Submitted as to R. Kyle Ardoin (Adcock, John) (Entered: 03/14/2022)

 03/15/2022         3   Summons Issued as to R. Kyle Ardoin. (NOTICE: Counsel shall print and serve both the
                        summons and all attachments in accordance with Federal Rule of Civil Procedure 4.)
                        (ELW) (Entered: 03/15/2022)

 03/15/2022         4   MOTION for Nora Sam Ahmed to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                        Number ALAMDC-2406428) by All Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit
                        B, # 3 Proposed Order)(Snider, Megan) (Entered: 03/15/2022)

 03/16/2022             MOTION(S) REFERRED: 4 MOTION for Nora Sam Ahmed to Appear Pro Hac Vice
                        (Filing fee $100.00, Receipt Number ALAMDC-2406428). This motion is now pending
                        before the USMJ. (ELW) (Entered: 03/16/2022)

 03/16/2022         5   ORDER granting 4 Motion for Nora Sam Ahmed to Appear Pro Hac Vice. Signed by
                        Magistrate Judge Scott D. Johnson on 3/16/2022.

                        ATTENTION: Local counsel shall provide the following link to those attorneys granted
                        leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                        for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                        (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                        this entry.) (KAH) (Entered: 03/16/2022)

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                     SUMMONS Returned Executed by Black Voters Matter Capacity Building Institute,
                     Jarrett Lofton, Louisiana State Conference of the NAACP, Dorothy Nairne, Clee E. Lowe,
                     Rose Thompson, Alice Washington. R. Kyle Ardoin served on 3/16/2022, answer due
                     4/6/2022. (Adcock, John) (Entered: 03/16/2022)

03/25/2022       7   SCHEDULING CONFERENCE ORDER: Telephone Scheduling Conference set for
                     6/23/2022 at 10:00 AM before Magistrate Judge Scott D. Johnson. Status Report due by
                     6/9/2022. Signed by Magistrate Judge Scott D. Johnson on 3/24/2022. (KAH) (Entered:
                     03/25/2022)

03/29/2022       8   Ex Parte MOTION for Alora Thomas to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2410948) by All Plaintiffs. (Attachments: # 1 Declaration of
                     Alora Thomas, # 2 Proposed order, # 3 Certificate of Good Standing)(Adcock, John)
                     (Entered: 03/29/2022)

03/29/2022       9   Ex Parte MOTION for Sophia Lin Lakin to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2410950) by All Plaintiffs. (Attachments: # 1 Declaration of
                     Sophia Lin Lakin, # 2 Certificate of Good Standing, # 3 Proposed Order)(Adcock, John)
                     (Entered: 03/29/2022)

03/29/2022      10   Ex Parte MOTION for Samantha Osaki to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2410955) by All Plaintiffs. (Attachments: # 1 Declaration of
                     Samantha Osaki, # 2 Certificate of Good Standing, # 3 Proposed Order)(Adcock, John)
                     (Entered: 03/29/2022)

03/29/2022      11   Ex Parte MOTION for Sarah E. Brannon to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2410959) by All Plaintiffs. (Attachments: # 1 Declaration of
                     Sarah E. Brannon, # 2 Certificate of Good Standing, # 3 Proposed Order)(Adcock, John)
                     (Entered: 03/29/2022)

03/31/2022           MOTION(S) REFERRED: 10 Ex Parte MOTION for Samantha Osaki to Appear Pro Hac
                     Vice (Filing fee $100.00, Receipt Number ALAMDC-2410955), 9 Ex Parte MOTION for
                     Sophia Lin Lakin to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2410950), 8 Ex Parte MOTION for Alora Thomas to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2410948), 11 Ex Parte MOTION for
                     Sarah E. Brannon to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2410959). This motion is now pending before the USMJ. (NLT) (Entered:
                     03/31/2022)

03/31/2022      12   ORDER granting 8 , 9 , 10 , and 11 Motions for Alora Thomas, Sophia Lin Lakin,
                     Samantha Osaki and Sarah E. Brannon to Appear Pro Hac Vice.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     . Signed by Magistrate Judge Scott D. Johnson on 3/31/2022. (This is a TEXT ENTRY
                     ONLY. There is no hyperlink or PDF document associated with this entry.) (KAH)
                     (Entered: 03/31/2022)

04/04/2022      13   MOTION of The Presiding Officers of the Louisiana Legislature to Intervene by Clay
                     Schexnayder, Patrick Page Cortez. (Attachments: # 1 Exhibit A, # 2 Proposed Pleading;
                     proposed Answer, # 3 Proposed Pleading; proposed Order)(Mengis, Michael) Modified on
                     4/5/2022 to edit text (ELW). (Entered: 04/04/2022)

04/04/2022      14

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                     AMENDED COMPLAINT filed by all Plaintiffs against R. Kyle Ardoin, filed by Dorothy
                     Nairne.(Adcock, John) (Entered: 04/04/2022)

04/05/2022           MOTION(S) REFERRED: 13 MOTION to Intervene . This motion is now pending before
                     the USMJ. (ELW) (Entered: 04/05/2022)

04/06/2022           MOTION(S) REFERRED: 13 MOTION to Intervene . This motion is now pending before
                     the USMJ. (NLT) (Entered: 04/06/2022)

04/08/2022      15   MOTION for Katherine L. McKnight to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2415220) by Patrick Page Cortez, Clay Schexnayder.
                     (Attachments: # 1 Exhibit Exhibit A, # 2 Proposed Pleading; proposed Order)(Mengis,
                     Michael) (Entered: 04/08/2022)

04/08/2022      16   Ex Parte MOTION for Patrick T. Lewis to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2415251) by Patrick Page Cortez, Clay Schexnayder.
                     (Attachments: # 1 Exhibit A, # 2 Proposed Pleading; proposed Order)(Mengis, Michael)
                     (Entered: 04/08/2022)

04/08/2022      17   Ex Parte MOTION for Erika D. Prouty to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2415256) by Patrick Page Cortez, Clay Schexnayder.
                     (Attachments: # 1 Exhibit A, # 2 Proposed Pleading; proposed Order)(Mengis, Michael)
                     (Entered: 04/08/2022)

04/08/2022      18   Ex Parte MOTION for Kathryn C. Sadasivan to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2415270) by All Plaintiffs. (Attachments: # 1 Cert. of good
                     standing, # 2 Declaration of Kathryn C. Sadasivan, # 3 Proposed Order)(Adcock, John)
                     (Entered: 04/08/2022)

04/08/2022      19   Ex Parte MOTION for Leah C. Aden to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2415272) by All Plaintiffs. (Attachments: # 1 Cert. of good standing,
                     # 2 Declaration of Leah C. Aden, # 3 Proposed Order)(Adcock, John) (Entered:
                     04/08/2022)

04/08/2022      20   Ex Parte MOTION for Stuart C. Naifeh to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2415275) by All Plaintiffs. (Attachments: # 1 Cert. of good
                     standing, # 2 Declaration of Stuart C. Naifeh, # 3 Proposed Order)(Adcock, John)
                     (Entered: 04/08/2022)

04/08/2022      21   Ex Parte MOTION for Victoria Wenger to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2415281) by All Plaintiffs. (Attachments: # 1 Cert. of good
                     standing, # 2 Declaration of Victoria Wenger, # 3 Proposed Order)(Adcock, John)
                     (Entered: 04/08/2022)

04/08/2022           MOTION(S) REFERRED: 16 Ex Parte MOTION for Patrick T. Lewis to Appear Pro Hac
                     Vice (Filing fee $100.00, Receipt Number ALAMDC-2415251), 20 Ex Parte MOTION
                     for Stuart C. Naifeh to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2415275), 17 Ex Parte MOTION for Erika D. Prouty to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2415256), 21 Ex Parte MOTION for
                     Victoria Wenger to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2415281), 15 MOTION for Katherine L. McKnight to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2415220), 19 Ex Parte MOTION for
                     Leah C. Aden to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2415272), 18 Ex Parte MOTION for Kathryn C. Sadasivan to Appear Pro Hac
                     Vice (Filing fee $100.00, Receipt Number ALAMDC-2415270). This motion is now
                     pending before the USMJ. (EDC) (Entered: 04/08/2022)

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04/08/2022      22   ORDER granting 15 , 16 , 17 , 18 , 19 , 20 , and 21 Motions for Katherine L. McKnight,
                     Patrick T. Lewis, Erika D. Prouty, Kathryn C. Sadasivan, Leah C. Aden, Stuart C. Naifeh,
                     and Victoria Wenger to Appear Pro Hac Vice. Signed by Magistrate Judge Scott D.
                     Johnson on 4/8/2022.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 04/08/2022)

04/12/2022      23   ORDER: Considering that the above titled actions involve common questions of law and
                     fact, and further that judicial efficiency will be achieved. Civil Action No.
                     22-211-SDD-RLB and Civil Action No. 22-214-BAJ-RLB shall be reassigned to Chief
                     Judge Shelly D. Dick and Magistrate Judge Scott D. Johnson for all further proceedings.
                     Signed by Chief Judge Shelly D. Dick and Judge Brian A. Jackson on 4/12/2022. (LLH)
                     (Entered: 04/12/2022)

04/13/2022      24   Ex Parte MOTION for John E. Branch, III to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2416856) by R. Kyle Ardoin. (Attachments: # 1 Exhibit A, #
                     2 Exhibit B, # 3 Proposed Pleading; Proposed Order)(Walsh, John) (Entered: 04/13/2022)

04/13/2022      25   Ex Parte MOTION for Thomas A. Farr to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2416859) by R. Kyle Ardoin. (Attachments: # 1 Exhibit A, #
                     2 Exhibit B, # 3 Proposed Pleading; Proposed Order)(Walsh, John) (Entered: 04/13/2022)

04/13/2022      26   Ex Parte MOTION for Cassie A. Holt to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2416866) by R. Kyle Ardoin. (Attachments: # 1 Exhibit A, #
                     2 Exhibit B, # 3 Proposed Pleading; Proposed Order)(Walsh, John) (Entered: 04/13/2022)

04/13/2022      27   Ex Parte MOTION for Alyssa M. Riggins to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2416867) by R. Kyle Ardoin. (Attachments: # 1 Exhibit A, #
                     2 Exhibit B, # 3 Proposed Pleading; Proposed Order)(Walsh, John) (Entered: 04/13/2022)

04/13/2022      28   Ex Parte MOTION for Phillip J. Strach to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2416870) by R. Kyle Ardoin. (Attachments: # 1 Exhibit A, #
                     2 Exhibit B, # 3 Proposed Pleading; Proposed Order)(Walsh, John) (Entered: 04/13/2022)

04/13/2022           MOTION(S) REFERRED: 27 Ex Parte MOTION for Alyssa M. Riggins to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2416867), 24 Ex Parte
                     MOTION for John E. Branch, III to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2416856), 28 Ex Parte MOTION for Phillip J. Strach to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2416870), 26 Ex Parte
                     MOTION for Cassie A. Holt to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2416866), 25 Ex Parte MOTION for Thomas A. Farr to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2416859). This motion is now
                     pending before the USMJ. (ELW) (Entered: 04/13/2022)

04/13/2022      29   ORDER granting 24 , 25 , 26 , 27 , and 28 Motions for John E. Branch, III, Thomas A.
                     Farr, Cassie A. Holt, Alyssa M. Riggins, and Phillip J. Strach to Appear Pro Hac Vice.
                     Signed by Magistrate Judge Scott D. Johnson on 4/13/2022.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register


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                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 04/13/2022)

04/14/2022      30   Ex Parte MOTION for Richard B. Raile to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2417491) by Patrick Page Cortez, Clay Schexnayder.
                     (Attachments: # 1 Exhibit A, # 2 Proposed Pleading; proposed Order)(Mengis, Michael)
                     (Entered: 04/14/2022)

04/14/2022           MOTION(S) REFERRED: 30 Ex Parte MOTION for Richard B. Raile to Appear Pro Hac
                     Vice (Filing fee $100.00, Receipt Number ALAMDC-2417491). This motion is now
                     pending before the USMJ. (ELW) (Entered: 04/14/2022)

04/14/2022      31   ORDER granting 30 Motion for Richard B. Raile to Appear Pro Hac Vice. Signed by
                     Magistrate Judge Scott D. Johnson on 4/14/2022.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 04/14/2022)

04/18/2022      32   ANSWER to 14 Amended Complaint by R. Kyle Ardoin.(Strach, Phillip) (Entered:
                     04/18/2022)

04/19/2022      33   MOTION to Intervene by State of Louisiana -Attorney General Jeff Landry.
                     (Attachments: # 1 Proposed Pleading; Order, # 2 Proposed Pleading; Answer)(Freel,
                     Angelique) (Entered: 04/19/2022)

04/22/2022      34   MOTION to Convene a Three-Judge Court or in the Alternative, To Certify An
                     Interlocutory Appeal by R. Kyle Ardoin. (Attachments: # 1 Memorandum in
                     Support)(Strach, Phillip) Modified on 4/22/2022 to edit text (ELW). (Entered:
                     04/22/2022)

04/25/2022      35   Ex Parte MOTION for Jared Evans to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2420741) by All Plaintiffs. (Attachments: # 1 Cert. of good standing,
                     # 2 Declaration of Jared Evans, # 3 Proposed order)(Adcock, John) (Entered: 04/25/2022)

04/25/2022      36   Ex Parte MOTION for Sara Rohani to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2420743) by All Plaintiffs. (Attachments: # 1 Cert. of good standing,
                     # 2 Declaration of Sara Rohani, # 3 Proposed Order)(Adcock, John) (Entered:
                     04/25/2022)

04/25/2022           MOTION(S) REFERRED: 33 MOTION to Intervene . This motion is now pending before
                     the USMJ. (NLT) (Entered: 04/25/2022)

04/25/2022           MOTION(S) REFERRED: 35 Ex Parte MOTION for Jared Evans to Appear Pro Hac
                     Vice (Filing fee $100.00, Receipt Number ALAMDC-2420741). This motion is now
                     pending before the USMJ. (JEG) (Entered: 04/25/2022)

04/25/2022           MOTION(S) REFERRED: 36 Ex Parte MOTION for Sara Rohani to Appear Pro Hac
                     Vice (Filing fee $100.00, Receipt Number ALAMDC-2420743). This motion is now
                     pending before the USMJ. (JEG) (Entered: 04/25/2022)



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04/25/2022      37   ORDER granting 35 and 36 Motions for Jared Evans and Sara Rohani to Appear Pro Hac
                     Vice. Signed by Magistrate Judge Scott D. Johnson on 4/25/2022.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 04/25/2022)

04/28/2022      38   ORDER: Before the Court is a 33 Motion to Intervene, filed by the State of Louisiana on
                     April 19, 2022. Any opposition(s) to the Motion to Intervene (R. Doc. 33) must be filed
                     by Plaintiffs no later than May 2, 2022. If any Plaintiff does not oppose the Motion to
                     Intervene (R. Doc. 33), they must file a Notice of No Opposition as soon as possible, but
                     again no later than May 2, 2022. Signed by Magistrate Judge Scott D. Johnson on
                     4/28/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.)(KAH) (Entered: 04/28/2022)

05/02/2022      39   RESPONSE in Opposition to 33 MOTION to Intervene filed by Black Voters Matter
                     Capacity Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington. (Brannon,
                     Sarah) (Entered: 05/02/2022)

05/08/2022      40   RESPONSE in Opposition to 34 MOTION to convene a three-judge panel filed by Black
                     Voters Matter Capacity Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton,
                     Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington. (Attachments: # 1 Exhibit 1, # 2 Proposed Order)(Brannon, Sarah) (Entered:
                     05/08/2022)

05/13/2022      41   MOTION to Move Scheduling Conference to an Earlier Date in Order to Preventa
                     Situation in which Final Judgment Comes too Close to the Election Deadlines by All
                     Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2 Proposed Order, # 3 Exhibit A,
                     # 4 Exhibit B)(Adcock, John) Modified on 5/17/2022 to edit the text (NLT). (Entered:
                     05/13/2022)

05/16/2022           MOTION(S) REFERRED: 41 MOTION to Continue To move Scheduling Conference .
                     This motion is now pending before the USMJ. (ELW) (Entered: 05/16/2022)

05/17/2022      42   ORDER granting 13 Motion of the Presiding Officers of the Louisiana Legislature to
                     Intervene and 33 Motion to Intervene. Signed by Magistrate Judge Scott D. Johnson on
                     5/17/2022. (KAH) (Entered: 05/17/2022)

05/17/2022      43   ANSWER to 1 Complaint, by Patrick Page Cortez, Clay Schexnayder.(NLT) (Entered:
                     05/18/2022)

05/17/2022      44   ANSWER to 1 Complaint, by State Of Louisiana.(NLT) (Entered: 05/18/2022)

05/18/2022      45   MOTION for Expedited Hearing on 41 MOTION to Move Scheduling Conference to an
                     Earlier Date in Order to Preventa Situation in which Final Judgment Comes too Close to
                     the Election Deadlines by All Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
                     Proposed Order)(Adcock, John) Modified on 7/17/2023 to correct text (ELW) (Entered:
                     05/18/2022)

05/19/2022      46   ORDER: Plaintiffs' 45 Motion for Expedited Consideration is GRANTED. Plaintiffs' 41
                     Motion to Move the Scheduling Conference is DENIED, as unnecessary. Signed by
                     Magistrate Judge Scott D. Johnson on 5/19/2022. (KAH) (Entered: 05/19/2022)

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05/20/2022      47   Ex Parte MOTION for Efrem Mark Braden to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2431250) by Patrick Page Cortez, Clay Schexnayder.
                     (Attachments: # 1 Exhibit Exhibit A, # 2 Proposed Pleading; proposed Order)(Mengis,
                     Michael) (Entered: 05/20/2022)

05/20/2022      48   ANSWER to 14 Amended Complaint by Patrick Page Cortez, Clay Schexnayder.(Mengis,
                     Michael) (Entered: 05/20/2022)

05/23/2022           MOTION(S) REFERRED: 47 Ex Parte MOTION for Efrem Mark Braden to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2431250). This motion is now
                     pending before the USMJ. (ELW) (Entered: 05/23/2022)

05/23/2022      49   ORDER granting 47 Motion for Efrem Mark Braden to Appear Pro Hac Vice. Signed by
                     Magistrate Judge Scott D. Johnson on 5/23/2022.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 05/23/2022)

06/03/2022      50   MOTION to Substitute Stephanie Willis in place of Megan E. Snider as Attorney by
                     Black Voters Matter Capacity Building Institute, Alexis Calhoun, Steven Harris, Jarrett
                     Lofton, Clee E. Lowe, Dorothy Nairne, Rose Thompson, Alice Washington.
                     (Attachments: # 1 Proposed Order)(Snider, Megan) (Entered: 06/03/2022)

06/03/2022           MOTION(S) REFERRED: 50 MOTION to Substitute Stephanie Willis in place of Megan
                     E. Snider as Attorney . This motion is now pending before the USMJ. (ELW) (Entered:
                     06/03/2022)

06/03/2022      51   ORDER granting 50 Motion to Substitute Attorney. Stephanie Legros for Black Voters
                     Matter Capacity Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton,
                     Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Rose
                     Thompson, Alice Washington replacing Megan E. Snider. Signed by Magistrate Judge
                     Scott D. Johnson on 6/3/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                     PDF document associated with this entry.) (KAH) (Entered: 06/03/2022)

06/09/2022      52   Joint STATUS REPORT by All Plaintiffs. (Adcock, John) (Entered: 06/09/2022)

06/22/2022      53   Ex Parte MOTION for Michael B. De Leeuw to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2442163) by All Plaintiffs (Attachments: # 1 Cert. of good
                     standing, # 2 Declaration of Michael B. De Leeuw, # 3 Proposed Order)(Adcock, John)
                     (Entered: 06/22/2022)

06/22/2022      54   Ex Parte MOTION for Amanda Giglio to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2442164) by All Plaintiffs (Attachments: # 1 Cert. of good
                     standing, # 2 Declaration of Amanda Giglio, # 3 Proposed Order)(Adcock, John)
                     (Entered: 06/22/2022)

06/23/2022           MOTION(S) REFERRED: 53 Ex Parte MOTION for Michael B. De Leeuw to Appear
                     Pro Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2442163), 54 Ex Parte
                     MOTION for Amanda Giglio to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2442164). This motion is now pending before the USMJ. (ELW)
                     (Entered: 06/23/2022)



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06/23/2022      55   ORDER granting 53 and 54 Motions for Michael B. De Leeuw and Amanda Giglio to
                     Appear Pro Hac Vice. Signed by Magistrate Judge Scott D. Johnson on 6/23/2022.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 06/23/2022)

06/23/2022      66   Minute Entry for proceedings held before Magistrate Judge Scott D. Johnson: Scheduling
                     Conference held on 6/23/2022. The Court addressed its two main areas of concern, given
                     the disagreements outlined in the parties' joint Status Report. The Court issues the instant
                     Scheduling Order pursuant to Rule 16(b) of the Federal Rules of Civil Procedure:
                     Amended Pleadings due by 7/1/2022. Discovery due by 10/17/2022. F.R.C.P. 26(a)(1)
                     disclosures due by 6/16/2022. Plaintiff's Expert Witness List due by 7/15/2022.
                     Defendant's Expert Witness List due by 9/2/2022. Plaintiff's Expert Reports due by
                     7/22/2022. Defendant's Expert Reports due by 9/9/2022. Discovery from Experts due by
                     9/30/2022. Motions shall be filed by 10/28/2022. Proposed Pretrial Order due by
                     12/5/2022. Pretrial Conference set for 12/19/2022 at 02:30 PM in chambers before Chief
                     Judge Shelly D. Dick. Joint jury instructions, voir dire, verdict forms, and trial briefs due
                     by 12/23/2022. Bench Trial set for 1/17/2023 - 1/25/2023 at 09:00 AM in Courtroom 3
                     before Chief Judge Shelly D. Dick. (KAH) (Entered: 08/10/2022)

06/30/2022      56   First MOTION for Jason Torchinsky to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2445221) by State Of Louisiana (Attachments: # 1 Affidavit, # 2
                     Attachment Certificate of Good Standing, # 3 Attachment List of Admissions)(Wale,
                     Jeffrey) (Entered: 06/30/2022)

06/30/2022      57   First MOTION for Phillip Gordon to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2445240) by State Of Louisiana (Attachments: # 1 Affidavit, # 2
                     Exhibit, # 3 Proposed Pleading;)(Wale, Jeffrey) (Entered: 06/30/2022)

06/30/2022      58   First MOTION for Andrew B. Pardue to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2445243) by State Of Louisiana (Attachments: # 1 Affidavit,
                     # 2 Attachment, # 3 Proposed Pleading;)(Wale, Jeffrey) (Attachment 2 replaced on
                     7/1/2022) (ELW). Modified on 7/1/2022 to correct page orientation (ELW). (Entered:
                     06/30/2022)

06/30/2022      59   Proposed Order to 56 First MOTION for Jason Torchinsky to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2445221) by State Of Louisiana. (Wale,
                     Jeffrey) Modified on 7/1/2022 to edit text (ELW). (Entered: 06/30/2022)

07/01/2022           MOTION(S) REFERRED: 57 First MOTION for Phillip Gordon to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2445240), 58 First MOTION for Andrew
                     B. Pardue to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2445243), 56 First MOTION for Jason Torchinsky to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2445221). This motion is now pending
                     before the USMJ. (ELW) (Entered: 07/01/2022)

07/05/2022      60   ORDER granting 56 , 57 , and 58 Motions for Jason Torchinsky, Phillip Gordon, and
                     Andrew B. Pardue to Appear Pro Hac Vice. Signed by Magistrate Judge Scott D. Johnson
                     on 7/5/2022.




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                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 07/05/2022)

07/18/2022      61   Joint MOTION to Stay by State Of Louisiana (Attachments: # 1 Memorandum in Support,
                     # 2 Proposed Order)(Torchinsky, Jason) (Entered: 07/18/2022)

07/29/2022      62   MOTION for Samantha Osaki to Withdraw as Attorney by Black Voters Matter Capacity
                     Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington
                     (Attachments: # 1 Proposed Order)(Osaki, Samantha) (Entered: 07/29/2022)

08/01/2022           MOTION(S) REFERRED: 62 MOTION for Samantha Osaki to Withdraw as Attorney .
                     This motion is now pending before the USMJ. (JEG) (Entered: 08/01/2022)

08/01/2022      63   ORDER granting 62 Motion to Withdraw Samantha Osaki as Attorney. Signed by
                     Magistrate Judge Scott D. Johnson on 8/1/2022. (This is a TEXT ENTRY ONLY. There
                     is no hyperlink or PDF document associated with this entry.) (KAH) (Entered:
                     08/01/2022)

08/08/2022      64   MEMORANDUM in Opposition to 61 Joint MOTION to Stay filed by All Plaintiffs.
                     (Attachments: # 1 Exhibit A, # 2 Proposed Order)(Brannon, Sarah) (Entered: 08/08/2022)

08/09/2022      65   Notice of Deficiency with Administrative Procedure III(A)(1) as to 64 Memorandum in
                     Opposition to. Pursuant to Administrative Procedure III(A)(1), Each exhibit should be
                     submitted individually in CM/ECF with an exhibit number and short description (e.g.,
                     Ex.1 Plaintiff Depo). REQUIRED CORRECTION: The filer is directed to refile the
                     exhibits in the proper format using the event Exhibit located under Other Documents in
                     the CM/ECF system and link the exhibits to the previously filed document. The main
                     document for this event shall be an exhibit list of the exhibits being attached. (JEG)
                     (Entered: 08/09/2022)

08/10/2022      67   Exhibit(s) to 64 Memorandum in Opposition to by All Plaintiffs. (Attachments: # 1
                     Exhibit A - Def. Discovery Responses, # 2 Proposed Order)(Brannon, Sarah) (Entered:
                     08/10/2022)

08/11/2022      68   MOTION for Status Conference by All Plaintiffs (Attachments: # 1 Memorandum in
                     Support of Motion for Status Conference, # 2 Proposed Order for Status
                     Conference)(Brannon, Sarah) (Entered: 08/11/2022)

08/12/2022      69   RESPONSE to 68 MOTION for Status Conference filed by Patrick Page Cortez, Clay
                     Schexnayder. (Attachments: # 1 Ex. A, # 2 Ex. B, # 3 Ex. C)(Prouty, Erika) (Entered:
                     08/12/2022)

08/12/2022           MOTION(S) REFERRED: 68 MOTION for Status Conference . This motion is now
                     pending before the USMJ. (EDC) (Entered: 08/12/2022)

08/12/2022      70   ORDER granting 68 Motion for Status Conference. A Telephone Status Conference is set
                     for 8/15/2022 at 02:00 PM before Magistrate Judge Scott D. Johnson. Counsel
                     participating in the Conference shall call using the AT&T Teleconference System five
                     minutes prior to the conference. Counsel will receive a separate e-mail containing dial-in
                     information prior to the conference. Signed by Magistrate Judge Scott D. Johnson on
                     8/12/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document


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                     associated with this entry.) (KAH) (Entered: 08/12/2022)

08/15/2022      71   Notice of Deficiency with Administrative Procedure III(A)(1) as to 69 Response to
                     Motion for Status Conference. Pursuant to Administrative Procedure III(A)(1), Each
                     exhibit should be submitted individually in CM/ECF with an exhibit number and short
                     description (e.g., Ex.1 Plaintiff Depo). REQUIRED CORRECTION: The filer is directed
                     to refile the exhibits in the proper format using the event Exhibit located under Other
                     Documents in the CM/ECF system and link the exhibits to the previously filed document.
                     The main document for this event shall be an exhibit list of the exhibits being attached.
                     (EDC) (Entered: 08/15/2022)

08/15/2022      72   Exhibit(s) to 69 Response by Patrick Page Cortez, Clay Schexnayder. (Attachments: # 1
                     Exhibit Exhibit A - ESI Protocol, # 2 Exhibit Exhibit B - Topics for Meet & Confer
                     08.01.2022, # 3 Exhibit Exhibit C - 2022.08.09 Response Letter to Plaintiffs)(Mengis,
                     Michael) (Entered: 08/15/2022)

08/15/2022      73   Joint MOTION for Leave to File Reply in Support of Joint Motion to Stay Proceedings
                     (ECF No. 61) by State Of Louisiana (Attachments: # 1 Proposed Order Proposed Order, #
                     2 Proposed Pleading; Reply in Support of Joint Motion to Stay)(Torchinsky, Jason)
                     (Entered: 08/15/2022)

08/15/2022      74   Minute Entry/Order for proceedings held before Magistrate Judge Scott D. Johnson:
                     Status Conference held on 8/15/2022. The Court addressed the three discovery-related
                     issues described in both Plaintiffs' Motion for Status Conference (R. Doc. 68) and the
                     Response (R. Doc.69). The Court gave the parties guidance, emphasizing the value of
                     practical problem solving in the place of costly litigation of inflexible, adversarial
                     positions. (KAH) (Entered: 08/16/2022)

08/19/2022      75   Consent MOTION to Modify Scheduling Order by Black Voters Matter Capacity
                     Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington
                     (Attachments: # 1 Proposed Order)(Brannon, Sarah) Modified on 8/22/2022 to edit the
                     text (NLT). (Entered: 08/19/2022)

08/22/2022      76   ORDER granting 73 Joint MOTION for Leave to File Reply in Support of Joint Motion to
                     Stay Proceedings (ECF No. 61) filed by State Of Louisiana. Signed by Chief Judge Shelly
                     D. Dick on 8/22/2022. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                     document associated with this entry.) (SWE) (Entered: 08/22/2022)

08/22/2022      77   REPLY in Support of 61 Joint MOTION to Stay Proceedings filed by State Of Louisiana.
                     (LLH) (Entered: 08/22/2022)

08/22/2022           MOTION(S) REFERRED: 75 Consent MOTION to Amend 66 Scheduling
                     Conference,Set Scheduling Order Deadlines. This motion is now pending before the
                     USMJ. (ELW) (Entered: 08/22/2022)

08/23/2022      78   ORDER granting 75 Motion to Modify. The deadlines listed below, which were
                     previously set by the Court's June 23, 2022 Scheduling Order (R. Doc. 66), are modified
                     as follows: Completing fact discovery and filing any related motions due by 10/17/2022.
                     Completing expert discovery and filing any related motions due by 10/21/2022. Defendant
                     and Intervenors' Expert Reports due by 9/9/2022. Plaintiffs' Rebuttal Expert Reports due
                     by 9/23/2022. Defendant and Intervenors' Sur- Rebuttal Expert Reports due by 10/7/2022.
                     Signed by Magistrate Judge Scott D. Johnson on 8/23/2022. (KAH) (Entered: 08/23/2022)

08/30/2022      79   RULING granting 61 Joint Motion to Stay Proceedings. Signed by Chief Judge Shelly D.
                     Dick on 8/30/2022. (SWE) (Entered: 08/30/2022)

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09/01/2022      80   ORDER of ADMINISTRATIVE CLOSURE: The bench trial set for January 17, 2023 and
                     pretrial conference set for December 19, 2022 are CANCELLED. These proceedings are
                     ADMINISTRATIVELY CLOSED, pending the stay of this matter. Signed by Chief Judge
                     Shelly D. Dick on 08/31/2022. (ELW) (Entered: 09/01/2022)

12/02/2022      81   NOTICE of Change of Address by Tiffany Alora Thomas (Thomas, Tiffany Alora)
                     (Entered: 12/02/2022)

06/09/2023      82   MOTION to Vacate 79 Order on Motion to Stay by All Plaintiffs (Attachments: # 1
                     Attachment Memorandum in Support, # 2 Attachment Proposed Order)(Brannon, Sarah)
                     (Entered: 06/09/2023)

06/09/2023      83   MOTION for Expedited Hearing on 82 MOTION to Vacate 79 Order on Motion to Stay
                     & Forthcoming Motion for Preliminary Injunction by All Plaintiffs (Attachments: # 1
                     Attachment Memorandum in Support, # 2 Attachment Proposed Order)(Brannon, Sarah)
                     (Entered: 06/09/2023)

06/12/2023      84   Ex Parte MOTION for Dayton Campbell-Harris to Appear Pro Hac Vice (Filing fee
                     $100.00, Receipt Number ALAMDC-2593413) by All Plaintiffs (Attachments: # 1
                     Exhibit 1- Declaration of Applicant, # 2 Exhibit 2 - Certificate of Good Standing, # 3
                     Proposed Order)(Adcock, John) (Entered: 06/12/2023)

06/12/2023      85   Ex Parte MOTION for Luis Manuel Rico Roman to Appear Pro Hac Vice (Filing fee
                     $100.00, Receipt Number ALAMDC-2593416) by All Plaintiffs (Attachments: # 1
                     Exhibit 1- Declaration of Applicant, # 2 Exhibit 2 - Certificate of Good Standing, # 3
                     Proposed Order)(Adcock, John) (Entered: 06/12/2023)

06/12/2023      86   Ex Parte MOTION for Megan C. Keenan to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2593418) by All Plaintiffs (Attachments: # 1 Exhibit 1-
                     Declaration of Applicant, # 2 Exhibit 2 - Certificate of Good Standing, # 3 Proposed
                     Order)(Adcock, John) (Entered: 06/12/2023)

06/12/2023      87   Notice to Counsel: Telephone Conference set for 6/21/2022 at 11:00 AM before Chief
                     Judge Shelly D. Dick. Participant instructions will be sent separately by email.

                     Evidence, in electronic format, shall be provided in accordance with Local Rule 79 and
                     Administrative Procedures.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.)(SWE) (Entered: 06/12/2023)

06/20/2023      88   MOTION to Enroll Amanda M. LaGroue as Attorney by State of Louisiana (Attachments:
                     # 1 Proposed Pleading; Proposed Order)(Jones, Carey) (Entered: 06/20/2023)

06/20/2023      89   NOTICE of Fax Filing Correspondence to Court by Black Voters Matter Capacity
                     Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Rose Thompson, Alice
                     Washington. (LLH) (Entered: 06/20/2023)

06/21/2023           MOTION(S) REFERRED: 88 MOTION to Enroll Amanda M. LaGroue as Attorney .
                     This motion is now pending before the USMJ. (ELW) (Entered: 06/21/2023)

06/21/2023           MOTION(S) REFERRED: 86 Ex Parte MOTION for Megan C. Keenan to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2593418), 84 Ex Parte
                     MOTION for Dayton Campbell-Harris to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2593413), 85 Ex Parte MOTION for Luis Manuel Rico


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                     Roman to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2593416), 88 MOTION to Enroll Amanda M. LaGroue as Attorney . This
                     motion is now pending before the USMJ. (LLH) (Entered: 06/21/2023)

06/21/2023      90   ORDER granting 84 , 85 , and 86 Motions for Dayton Campbell-Harris, Luis Manuel
                     Rico Roman, and Megan C. Keenan to Appear Pro Hac Vice. Signed by Magistrate Judge
                     Scott D. Johnson on 6/21/2023.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 06/21/2023)

06/21/2023      91   ORDER granting 88 Motion to Enroll as Attorney. Added attorney Amanda Marie
                     LaGroue for State of Louisiana. Signed by Magistrate Judge Scott D. Johnson on
                     6/21/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.) (KAH) (Entered: 06/21/2023)

06/21/2023      92   NOTICE of Defendants Joint Notice Regarding Trial Dates by R. Kyle Ardoin
                     (Attachments: # 1 Exhibit Secretary of State November and December Election
                     Timeline)(Strach, Phillip) (Entered: 06/21/2023)

06/21/2023      93   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Telephone
                     Conference held on 6/21/2023. The Court advised that the Motion to Vacate Order on
                     Motion to Stay will be granted and will set this for an expedited trial. The Court refers this
                     matter to the Magistrate Judge for a scheduling order. The Court and parties discussed
                     potential trial dates. The parties shall confer and report back to the Court with the
                     mutually agreed upon date (SWE) (Entered: 06/21/2023)

06/22/2023      94   RESPONSE to 92 Notice of (other) Regarding Trial Dates filed by All Plaintiffs.
                     (Brannon, Sarah) (Entered: 06/22/2023)

06/22/2023      95   ORDER granting 82 Motion to Vacate 79 Order on Motion to Stay . Signed by Chief
                     Judge Shelly D. Dick on 6/22/2023. (This is a TEXT ENTRY ONLY. There is no
                     hyperlink or PDF document associated with this entry.) (SWE) (Entered: 06/22/2023)

06/22/2023      96   ORDER denying as MOOT 83 Motion for Expedited Hearing on 82 MOTION to Vacate
                     79 Order on Motion to Stay & Forthcoming Motion for Preliminary Injunction. Signed by
                     Chief Judge Shelly D. Dick on 6/22/2023. (This is a TEXT ENTRY ONLY. There is no
                     hyperlink or PDF document associated with this entry.) (SWE) (Entered: 06/22/2023)

06/22/2023      97   ORDER: The Court has received 92 Notice of Defendants' Joint Position on Trial
                     Schedule and Plaintiffs' 94 Response. Trial for this matter is set to commence on
                     11/27/2023 through 12/8/2023 at 09:00 AM in Courtroom 3 before Chief Judge Shelly D.
                     Dick. The Court refers this matter to the Magistrate Judge for a scheduling order
                     consistent with the trial date. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                     PDF document associated with this entry.)(SWE) (Entered: 06/22/2023)

06/23/2023      98   ORDER: A Telephone Scheduling Conference is set for 6/29/2023 at 03:00 PM before
                     Magistrate Judge Scott D. Johnson to discuss issuing a scheduling order consistent with
                     97 Order. Counsel participating in the Conference shall call using the AT&T
                     Teleconference System five minutes prior to the conference. Counsel will receive a
                     separate e-mail containing dial in information prior to the conference. Signed by
                     Magistrate Judge Scott D. Johnson on 6/23/2023. (This is a TEXT ENTRY ONLY. There

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                     is no hyperlink or PDF document associated with this entry.)(KAH) (Entered: 06/23/2023)

06/29/2023      99   NOTICE of Defendants' Joint Notice of Proposed Pre-Trial Schedule by Patrick Page
                     Cortez, Clay Schexnayder (Prouty, Erika) (Entered: 06/29/2023)

06/29/2023     100   NOTICE of Plaintiffs Proposed Pre-trial Schedule 99 Notice of (other) by Black Voters
                     Matter Capacity Building Institute, Alexis Calhoun, Patrick Page Cortez, Steven Harris,
                     Jarrett Lofton, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne
                     (Attachments: # 1 Exhibit A)(Brannon, Sarah) (Entered: 06/29/2023)

07/03/2023     101   NOTICE of Defendants' Joint Supplemental Notice of Proposed Pre-Trial Schedule by
                     Patrick Page Cortez, Clay Schexnayder (Prouty, Erika) (Entered: 07/03/2023)

07/04/2023     102   Opposition to Defendants Supplemental Notice on Proposed Pre-trial Schedule 101 Notice
                     of (other) by Black Voters Matter Capacity Building Institute, Alexis Calhoun, Steven
                     Harris, Jarrett Lofton, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy
                     Nairne, Alice Washington (Attachments: # 1 Exhibit proposed discovery
                     schedule)(Brannon, Sarah) Modified on 7/5/2023 to edit text (ELW). (Entered:
                     07/04/2023)

07/05/2023     103   Joint Reply Notice to 102 Plaintiffs' Opposition and Request for Supplemental Scheduling
                     Conference by Patrick Page Cortez, Clay Schexnayder (Prouty, Erika) Modified on
                     7/6/2023 to edit text (ELW) (Entered: 07/05/2023)

07/07/2023     104   NOTICE of Change of Address by R. Kyle Ardoin (Strach, Phillip) (Entered: 07/07/2023)

07/11/2023     105   Ex Parte MOTION for Josephine M. Bahn to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2605171) by All Plaintiffs (Attachments: # 1 Certificate of
                     Good Standing, # 2 Declaration)(Adcock, John) (Entered: 07/11/2023)

07/12/2023           MOTION(S) REFERRED: 105 Ex Parte MOTION for Josephine M. Bahn to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2605171). This motion is now
                     pending before the USMJ. (EDC) (Entered: 07/12/2023)

07/12/2023     106   NOTICE of Filing of Updated Certificate of Good Standing 105 Ex Parte MOTION for
                     Josephine M. Bahn to Appear Pro Hac Vice by Black Voters Matter Capacity Building
                     Institute, Alexis Calhoun, Patrick Page Cortez, Steven Harris, Jarrett Lofton, Louisiana
                     State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Clay Schexnayder, State
                     of Louisiana, Rose Thompson, Alice Washington (Adcock, John) Modified on 7/12/2023
                     to edit docket text. (JEG). (Entered: 07/12/2023)

07/12/2023     107   MOTION to Continue November 27, 2023, Trial Date by R. Kyle Ardoin, Patrick Page
                     Cortez, Clay Schexnayder, State of Louisiana (Attachments: # 1 Exhibit Exhibit
                     A)(Mengis, Michael) (Entered: 07/12/2023)

07/12/2023     108   ORDER granting 105 Motion for Josephine M. Bahn to Appear Pro Hac Vice. Signed by
                     Magistrate Judge Scott D. Johnson on 7/12/2023.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 07/12/2023)

07/14/2023     109   MEMORANDUM in Opposition to 107 MOTION to Continue November 27, 2023, Trial


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                     Date filed by All Plaintiffs. (Attachments: # 1 Exhibit A - Expert Report)(Brannon, Sarah)
                     (Entered: 07/14/2023)

07/17/2023     110   Minute Entry/ Scheduling Order for proceedings held before Magistrate Judge Scott D.
                     Johnson. Pretrial Conference held on 7/17/2023. Discovery due by 9/1/2023. Defendant`s
                     Expert Witness List due by 7/13/2023. Third Party Defendant`s Expert Witness List due
                     by 8/15/2023. Plaintiff`s Expert Reports due by 6/30/2023. Defendant`s Expert Reports
                     due by 7/28/2023. Third Party Defendant`s Expert Reports due by 8/21/2023. Discovery
                     from Experts due by 9/29/2023. Motions shall be filed by 10/6/2023. Proposed Pretrial
                     Order due by 10/20/2023. Findings of Facts and Conclusion of Law due by 10/27/2023.
                     Pretrial Conference set for 11/14/2023 at 02:30 PM in chambers before Chief Judge
                     Shelly D. Dick. Trial briefs due by 11/20/2023. Bench Trial set for 11/27/2023 through
                     12/1/2023 at 09:30 AM in Courtroom 3 before Chief Judge Shelly D. Dick. Bench Trial
                     set for 12/4/2023 AND 12/5/2023 at 09:30 AM in Courtroom 3 before Chief Judge Shelly
                     D. Dick. (ELW) (Entered: 07/17/2023)

07/19/2023     111   Ex Parte MOTION for Robert J. Tucker to Appear Pro Hac Vice (Filing fee $100.00,
                     Receipt Number ALAMDC-2608458) by Patrick Page Cortez, Clay Schexnayder
                     (Attachments: # 1 Exhibit Exhibit A - Declaration of Robert Tucker in Support of Motion
                     for Admission Pro Hac Vice, # 2 Exhibit Exhibit 1 - Certificate of Good Standing from
                     Ohio for Robert Tucker, # 3 Proposed Pleading; proposed Order Granting PHV
                     Admission of Robert Tucker)(Mengis, Michael) (Entered: 07/19/2023)

07/19/2023     112   MOTION to Continue Trial by State of Louisiana (Attachments: # 1 Attachment
                     Memorandum in Support, # 2 Exhibit Letter from U.S. Supreme Court, # 3 Proposed
                     Pleading; Proposed Order Granting Motion)(Jones, Carey) (Entered: 07/19/2023)

07/19/2023     113   MOTION to Expedite by State of Louisiana (Attachments: # 1 Proposed Pleading;
                     Proposed Order)(Jones, Carey) (Entered: 07/19/2023)

07/19/2023     114   ORDER: denying 113 MOTION to Expedite. Opposition to 112 MOTION to Continue
                     Trial shall be filed by 7/26/2023. Replies will not be permitted. Signed by Chief Judge
                     Shelly D. Dick on 7/19/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or
                     PDF document associated with this entry.)(SWE) (Entered: 07/19/2023)

07/20/2023           MOTION(S) REFERRED: 111 Ex Parte MOTION for Robert J. Tucker to Appear Pro
                     Hac Vice (Filing fee $100.00, Receipt Number ALAMDC-2608458). This motion is now
                     pending before the USMJ. (ELW) (Entered: 07/20/2023)

07/20/2023     115   ORDER granting 111 Motion for Robert J. Tucker to Appear Pro Hac Vice. Signed by
                     Magistrate Judge Scott D. Johnson on 7/20/2023.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 07/20/2023)

07/21/2023     116   MOTION for Brennan Bowen to Appear Pro Hac Vice (Filing fee $100.00, Receipt
                     Number ALAMDC-2609994) by State of Louisiana (Attachments: # 1 Affidavit Exhibit
                     A, # 2 Attachment Certificate of Good Standing, # 3 Proposed Pleading; Proposed
                     Order)(Wale, Jeffrey) (Entered: 07/21/2023)

07/21/2023           MOTION(S) REFERRED: 116 MOTION for Brennan Bowen to Appear Pro Hac Vice
                     (Filing fee $100.00, Receipt Number ALAMDC-2609994). This motion is now pending

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                     before the USMJ. (LLH) (Entered: 07/21/2023)

07/24/2023     117   ORDER granting 116 Motion for Brennan Bowen to Appear Pro Hac Vice. Signed by
                     Magistrate Judge Scott D. Johnson on 7/24/2023.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 07/24/2023)

07/26/2023     118   MEMORANDUM in Opposition to 112 MOTION to Continue Trial filed by All
                     Plaintiffs. (Brannon, Sarah) (Entered: 07/26/2023)

08/09/2023     119   MOTION for Protective Order by Black Voters Matter Capacity Building Institute, Alexis
                     Calhoun, Steven Harris, Jarrett Lofton, Louisiana State Conference of the NAACP, Clee
                     E. Lowe, Dorothy Nairne, Rose Thompson, Alice Washington (Attachments: # 1
                     Memorandum, # 2 I. Sara Rohani Declaration, # 3 Exhibit 1 - Sec'y of State First Set of
                     Interrogatories and Requests for Production, # 4 Exhibit 2 - NAACP Louisiana Discovery
                     Responses, # 5 Exhibit 3 - July 20, 2023 Sec'y of State Letter to Plaintiffs, # 6 Exhibit 4 -
                     July 25, 2023 Plaintiffs Letter to Sec'y of State, # 7 Exhibit 5 - Aug. 2023 Email
                     Correspondence, # 8 Michael W. McClanahan Declaration, # 9 Proposed Order)(Rohani,
                     Sara) (Entered: 08/09/2023)

08/10/2023     120   Notice to Counsel Resetting Hearing: (TIME CHANGE ONLY) Pretrial Conference
                     re-set for 11/14/2023 at 10:00 AM in chambers before Chief Judge Shelly D. Dick. (This
                     is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                     entry.)(SWE) (Entered: 08/10/2023)

08/10/2023           MOTION(S) REFERRED: 119 MOTION for Protective Order . This motion is now
                     pending before the USMJ. (ELW) (Entered: 08/10/2023)

08/16/2023     121   MEMORANDUM in Opposition to 119 MOTION for Protective Order filed by R. Kyle
                     Ardoin. (Attachments: # 1 Exhibit 1 - Plaintiffs' Fact Witness List, # 2 Exhibit 2 -
                     Defendant's Proposed Order)(Strach, Phillip) (Entered: 08/16/2023)

08/16/2023     122   RESPONSE to 119 MOTION for Protective Order filed by Patrick Page Cortez, Clay
                     Schexnayder. (Attachments: # 1 Attachment Proposed Order)(Prouty, Erika) (Entered:
                     08/16/2023)

08/17/2023     123   ORDER : The 119 Motion for Protective Order be DENIED without prejudice as Plaintiff
                     failed to sufficiently confer with its opponents in good faith. The parties are additionally
                     ORDERED to confer by phone, video, or inperson, as soon as possible. But in any event,
                     this conference must occur no later than 5:00 p.m. CST on Monday, August 21, 2023.
                     Signed by Magistrate Judge Scott D. Johnson on 8/17/2023. (ELW) (Entered: 08/17/2023)

08/18/2023     124   MOTION to Enroll John C. Conine, Jr. as Additional Attorney by R. Kyle Ardoin
                     (Attachments: # 1 Proposed Pleading; Proposed Order)(Walsh, John) (Entered:
                     08/18/2023)

08/21/2023           MOTION(S) REFERRED: 124 MOTION to Enroll John C. Conine, Jr. as Additional
                     Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 08/21/2023)

08/21/2023     125   ORDER granting 124 Motion to Enroll Additional Attorney. Added attorney John Clifton
                     Conine, Jr. for R. Kyle Ardoin. Signed by Magistrate Judge Scott D. Johnson on


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                     8/21/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.) (KAH) (Entered: 08/21/2023)

08/23/2023     126   Motion for Joint Request for a Status Conference by Black Voters Matter Capacity
                     Building Institute, Alexis Calhoun, Steven Harris, Jarrett Lofton, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Rose Thompson, Alice
                     Washington (Naifeh, Stuart) Modified on 8/25/2023 to edit text and event type (ELW).
                     Modified on 8/29/2023 (KAH). (Entered: 08/23/2023)

08/28/2023           MOTION(S) REFERRED: 126 MOTION. This motion is now pending before the USMJ.
                     (ELW) (Entered: 08/28/2023)

08/29/2023     127   ORDER granting 126 Motion for Status Conference. A video Status Conference is set for
                     8/30/2023 at 03:00 PM before Magistrate Judge Scott D. Johnson. The participant
                     instructions are attached. Finally, given the September 1, 2023 discovery deadline, the
                     parties are ORDERED to continue their efforts to confer and resolve this issue ahead of
                     the conference. Signed by Magistrate Judge Scott D. Johnson on 8/29/2023. (KAH)
                     (Entered: 08/29/2023)

08/30/2023     130   Minute Entry for proceedings held before Magistrate Judge Scott D. Johnson: A video
                     Status Conference was held on 8/30/2023. The Conference stemmed from the Court's
                     recent denial of the NAACPs Motion for Protective Order.The parties have resolved the
                     discovery issue first raised in the Motion for Protective Order. The Court ORDERS that
                     any Stipulation agreed on by the parties must be filed in the record for the Court's review.
                     (JEG) (Entered: 09/01/2023)

08/31/2023     128   Consent MOTION for Protective Order Governing SOS_000948 by R. Kyle Ardoin
                     (Attachments: # 1 Exhibit Proposed Consent Protective Order)(Strach, Phillip) (Entered:
                     08/31/2023)

09/01/2023     129   NOTICE of Hearing: A Status Conference is set for 9/1/2023 at 11:00 AM by video
                     before Magistrate Judge Scott D. Johnson. (KAH) (Entered: 09/01/2023)

09/01/2023     131   Minute Entry/Order for proceedings held before Magistrate Judge Scott D. Johnson:
                     Video Status Conference held on 9/1/2023 to discuss the substantive issue that 119
                     Motion for Protective Order raised. The parties are therefore ORDERED to again confer
                     either in-person, by video, or by phone and make every effort to resolve this discovery
                     issue without the Court's involvement. The Court will automatically deny any discovery
                     motion filed before this additional conference has taken place. And as always, the Court
                     encourages the parties to request a conference with the Court if its guidance could avoid
                     the need for motion practice. (EDC) (Entered: 09/01/2023)

09/01/2023     132   MOTION to Compel Plaintiffs' Response to Defendant's Interrogatory No. 3 by R. Kyle
                     Ardoin (Attachments: # 1 Attachment Memo ISO Motion to Compel, # 2 Exhibit Exhibit
                     1 - Aug. 29, 2023 Corresopndence, # 3 Exhibit Exhibit 2 - Proposed Order)(Strach,
                     Phillip) (Entered: 09/01/2023)

09/01/2023     133   Consent MOTION to Withdraw Plaintiffs Mr. Jarrett Lofton and Ms. Alexis Calhoun by
                     All Plaintiffs (Attachments: # 1 Memorandum in Support, # 2 Proposed Pleading;
                     Order)(Brannon, Sarah) (Entered: 09/01/2023)

09/05/2023           MOTION(S) REFERRED: 132 MOTION to Compel Plaintiffs' Response to Defendant's
                     Interrogatory No. 3 . This motion is now pending before the USMJ. (LLH) (Entered:
                     09/05/2023)

09/05/2023


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                     MOTION(S) REFERRED: 128 Consent MOTION for Protective Order Governing
                     SOS_000948. This motion is now pending before the USMJ. (ELW) (Entered:
                     09/05/2023)

09/05/2023     134   NOTICE of ABBREVIATED Briefing Schedule on 132 MOTION to Compel Plaintiffs'
                     Response to Defendant's Interrogatory No. 3 : Any response by the NAACP to the
                     Secretary of States recent Motion to Compel (R. Doc. 132) must be filed as soon as
                     possible, but in any event, no later than midnight on Wednesday, September 6, 2023. The
                     NAACPs response should clearly identify every Louisiana Senate District and Louisiana
                     House District at issue in this litigation. (This is a TEXT ENTRY ONLY. There is no
                     hyperlink or PDF document associated with this entry.) (Johnson, Scott) (Entered:
                     09/05/2023)

09/06/2023     135   RESPONSE in Opposition to 132 MOTION to Compel Plaintiffs' Response to
                     Defendant's Interrogatory No. 3 filed by All Plaintiffs. (Attachments: # 1 Exhibit A -
                     Suppl. Interrog. Resp., # 2 Exhibit B - McClanahan Decl.)(Rohani, Sara) (Entered:
                     09/06/2023)

09/08/2023     136   ORDER denying 132 Motion to Compel. Signed by Magistrate Judge Scott D. Johnson on
                     9/8/2023. (Johnson, Scott) (Entered: 09/08/2023)

09/08/2023     137   TRANSCRIPT REQUEST by Patrick Page Cortez, Clay Schexnayder for proceedings
                     held on 9/1/2023 before Judge Scott D. Johnson.. (Mengis, Michael) Modified on
                     9/8/2023 form sent to Magistrate Judges CRD via email (ELW). (Entered: 09/08/2023)

09/14/2023     138   ORDER granting 128 Consent Motion for Protective Order Governing SOS_000948.
                     Signed by Magistrate Judge Scott D. Johnson on 9/13/2023. (LLH) (Entered: 09/14/2023)

09/14/2023     139   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Status Conference
                     hearing before Judge Scott D. Johnson held on 9/1/23. Court Reporter: Janice Russell.
                     Phone Number: (757) 422-9089; e-mail: trussell31@tdsmail.com.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 10/5/2023. Redacted
                     Transcript Deadline set for 10/16/2023. Release of Transcript Restriction set for
                     12/13/2023. (Russell, J.) (Entered: 09/14/2023)

09/14/2023     140   TRANSCRIPT REQUEST by Black Voters Matter Capacity Building Institute, Alexis
                     Calhoun, Steven Harris, Jarrett Lofton, Louisiana State Conference of the NAACP, Clee
                     E. Lowe, Dorothy Nairne, Rose Thompson, Alice Washington for proceedings held on
                     9/1/23 before Judge Scott D. Johnson.. (Rohani, Sara) Modified on 9/15/2023 form sent to
                     Magistrate Judges CRD via email. (ELW). (Entered: 09/14/2023)

09/18/2023     141   Ex Parte MOTION for Daniel J. Hessel to Appear Pro Hac Vice for Plaintiffs (Filing fee
                     $100.00, Receipt Number ALAMDC-2637996) by All Plaintiffs (Attachments: # 1
                     Declaration of Applicant, # 2 Certificate of Good Standing, # 3 Proposed Order)(Adcock,
                     John) (Entered: 09/18/2023)

09/18/2023     142

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                     Ex Parte MOTION for Rob Clark to Appear Pro Hac Vice for Plaintiffs (Filing fee
                     $100.00, Receipt Number ALAMDC-2638008) by All Plaintiffs (Attachments: # 1 Oath
                     and Declaration of Applicant, # 2 Certificate of Good Standing, # 3 Proposed
                     Order)(Adcock, John) (Entered: 09/18/2023)

09/18/2023           MOTION(S) REFERRED: 141 Ex Parte MOTION for Daniel J. Hessel to Appear Pro
                     Hac Vice for Plaintiffs (Filing fee $100.00, Receipt Number ALAMDC-2637996), 142 Ex
                     Parte MOTION for Rob Clark to Appear Pro Hac Vice for Plaintiffs (Filing fee $100.00,
                     Receipt Number ALAMDC-2638008). This motion is now pending before the USMJ.
                     (LLH) (Entered: 09/18/2023)

09/18/2023     143   ORDER granting 141 and 142 Motions for Daniel J. Hessel and Rob Clark to Appear Pro
                     Hac Vice.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     Signed by Magistrate Judge Scott D. Johnson on 9/18/2023. (This is a TEXT ENTRY
                     ONLY. There is no hyperlink or PDF document associated with this entry.) (KAH)
                     (Entered: 09/18/2023)

09/22/2023     144   MOTION Review and Objections to Magistrate Judge's Order Denying Defendant's
                     Motion to Compel by R. Kyle Ardoin (Attachments: # 1 Attachment Memorandum in
                     Support)(Strach, Phillip) (Entered: 09/22/2023)

10/05/2023     145   ORDER denying 107 Motion to Continue Trial. Signed by Chief Judge Shelly D. Dick on
                     10/5/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.) (Dick, Shelly) (Entered: 10/05/2023)

10/05/2023     146   ORDER denying 112 Motion to Continue Trial. Signed by Chief Judge Shelly D. Dick on
                     10/5/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.) (Dick, Shelly) (Entered: 10/05/2023)

10/05/2023     147   ORDER granting 133 Consent MOTION to Withdraw Plaintiffs Mr. Jarrett Lofton and
                     Ms. Alexis Calhoun. Signed by Chief Judge Shelly D. Dick on 10/5/2023. (This is a TEXT
                     ENTRY ONLY. There is no hyperlink or PDF document associated with this entry.)
                     (SWE) (Entered: 10/05/2023)

10/06/2023     148   Joint MOTION in Limine to Exclude Dr. Lisa Handley's Testimony and Reports by R.
                     Kyle Ardoin (Attachments: # 1 Attachment Joint Memorandum in Support, # 2 Exhibit 1 -
                     Dr. Handley June 30, 2023 Report, # 3 Exhibit 2 - Dr. Handley Deposition Excerpts, # 4
                     Exhibit 3 - Dr. Handley Excel Metadata, # 5 Exhibit 4 - Dr. Solanky July 28, 2023 Report,
                     # 6 Exhibit 5 - Dr. Solanky Aug. 21, 2023 Rebuttal Report)(Strach, Phillip) (Entered:
                     10/06/2023)

10/06/2023     149   Joint MOTION for Summary Judgment by R. Kyle Ardoin (Attachments: # 1 Attachment
                     Joint Memorandum in Support, # 2 Attachment Joint Statement of Undisputed Material
                     Facts, # 3 Exhibit 1 - Individual Plaintiffs' Responses to Def. Ardoin's First Set of
                     Discovery, # 4 Exhibit 2 - William S. Cooper Corrected Exhibits H-I and I-I, # 5 Exhibit 3
                     - Louisiana NAACP 30(b)(6) Depo. Transcript Excerpts, # 6 Exhibit 4 - BVM 30(b)(6)
                     Depo. Transcript Excerpts, # 7 Exhibit List 5 - Louisiana NAACP's Supplemental
                     Response to Interrogatory No. 3)(Strach, Phillip) (Entered: 10/06/2023)

10/06/2023     150   Consent MOTION for Leave to Exceed Page Limitation by Black Voters Matter Capacity
                     Building Institute, Steven Harris, Louisiana State Conference of the NAACP, Clee E.

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                     Lowe, Dorothy Nairne, Alice Washington (Attachments: # 1 Proposed Pleading; - Motion
                     to Exclude Proposed Expert Testimony, # 2 Proposed Pleading; - Memorandum in
                     Support of Motion to Exclude Proposed Expert Testimony, # 3 Exhibit A, # 4 Exhibit B, #
                     5 Exhibit C, # 6 Exhibit D, # 7 Exhibit E, # 8 Exhibit F, # 9 Exhibit G, # 10 Exhibit H, #
                     11 Exhibit I, # 12 Exhibit J, # 13 Exhibit K, # 14 Exhibit L, # 15 Exhibit M, # 16 Exhibit
                     N, # 17 Exhibit O, # 18 Exhibit P, # 19 Exhibit Q, # 20 Exhibit R, # 21 Exhibit S, # 22
                     Attachment Proposed Order Granting Consent Motion to Exceed Page Limit)(Brannon,
                     Sarah) (Entered: 10/06/2023)

10/10/2023     151   Notice of Deficiency with Administrative Procedure III(A)(1) as to 150 Motion for Leave.
                     Pursuant to Administrative Procedure III(A)(1), Each exhibit should be submitted
                     individually in CM/ECF with an exhibit number and short description (e.g., Ex.1 Plaintiff
                     Depo).

                     REQUIRED CORRECTION: The filer is directed to refile the exhibits in the proper
                     format using the event Exhibit located under Other Documents in the CM/ECF system
                     and link the exhibits to the previously filed document. The main document for this event
                     shall be an exhibit list of the exhibits being attached. Each exhibit MUST include a
                     description (e.g., Ex.1 Plaintiff Depo). (ELW) (Entered: 10/10/2023)

10/10/2023     152   Exhibit(s) to 150 Consent MOTION for Leave to Exceed Page Limitation by Black
                     Voters Matter Capacity Building Institute, Steven Harris, Louisiana State Conference of
                     the NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington. (Attachments: # 1 Exhibit
                     A - Trende Report, # 2 Exhibit B - Trende Dep. Tr., # 3 Exhibit C - Chen & Rodden
                     Article, # 4 Exhibit D - Trende Reply, # 5 Exhibit E - Johnson Surrebuttal, # 6 Exhibit F -
                     Johnson Report, # 7 Exhibit G - Johnson Dep. Tr., # 8 Exhibit H - Cooper Rebuttal, # 9
                     Exhibit I - Common Cause v. Lewis, # 10 Exhibit J - Covington v. North Carolina, # 11
                     Exhibit K - Colten Rebuttal, # 12 Exhibit L - Cooper Report, # 13 Exhibit M - Solanky
                     Dep. Tr., # 14 Exhibit N - Solanky Report, # 15 Exhibit O - Handley Rebuttal, # 16
                     Exhibit P - Alford Report, # 17 Exhibit Q - Lewis Report, # 18 Exhibit R - Solanky
                     Rebuttal, # 19 Exhibit S - Handley Report)(Brannon, Sarah) (Entered: 10/10/2023)

10/13/2023     153   RESPONSE in Opposition to 144 MOTION Review and Objections to Magistrate Judge's
                     Order Denying Defendant's Motion to Compel filed by Black Voters Matter Capacity
                     Building Institute, Steven Harris, Louisiana State Conference of the NAACP, Clee E.
                     Lowe, Dorothy Nairne, Alice Washington. (Attachments: # 1 Exhibit A - Michael
                     McClanahan Dep. Tr. Excerpts)(Rohani, Sara) (Entered: 10/13/2023)

10/16/2023     154   ORDER granting unopposed 150 MOTION for Leave to Exceed Page Limitation. All
                     parties are hereby granted leave to file Memorandum in response to Motions to exclude
                     opposing experts in excess of the 25-page limit proscribed in Local Rule 7(g).Signed by
                     Chief Judge Shelly D. Dick on 10/16/2023. (This is a TEXT ENTRY ONLY. There is no
                     hyperlink or PDF document associated with this entry.) (Dick, Shelly) (Entered:
                     10/16/2023)

10/16/2023     155   Consent MOTION to Amend Scheduling Order by R. Kyle Ardoin (Attachments: # 1
                     Attachment Proposed Order Granting Consent Motion to Amend)(Strach, Phillip)
                     (Entered: 10/16/2023)

10/16/2023     156   MOTION to Exclude the Proposed Expert Testimony of Sean Trende, Dr. Douglas
                     Johnson, and Dr. Tumulesh K.S. Solanky, by Black Voters Matter Capacity Building
                     Institute, Steven Harris, Clee E. Lowe, Dorothy Nairne (Attachments: # 1 Attachment
                     Memo in Support, # 2 Exhibit A - Trende Report, # 3 Exhibit B - Trende Dep. Tr., # 4
                     Exhibit C - Chen & Rodden Article, # 5 Exhibit D - Trende Reply, # 6 Exhibit E -
                     Johnson Surrebuttal, # 7 Exhibit F - Johnson Report, # 8 Exhibit G - Johnson Dep. Tr., # 9

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                     Exhibit H - Cooper Rebuttal, # 10 Exhibit I - Common Cause v. Lewis, # 11 Exhibit J -
                     Covington v. North Carolina, # 12 Exhibit K - Colten Rebuttal, # 13 Exhibit L - Cooper
                     Report, # 14 Exhibit M - Solanky Dep. Tr., # 15 Exhibit N - Solanky Report, # 16 Exhibit
                     O - Handley Rebuttal, # 17 Exhibit P - Alford Report, # 18 Exhibit Q - Lewis Report, # 19
                     Exhibit R - Solanky Rebuttal, # 20 Exhibit S - Handley Report, # 21 Attachment
                     Order).(LLH) (Entered: 10/17/2023)

10/17/2023           MOTION(S) REFERRED: 155 Consent MOTION to Amend Scheduling Order. This
                     motion is now pending before the USMJ. (ELW) (Entered: 10/17/2023)

10/17/2023     157   For good cause shown, the parties consent Motion to Amend (R. Doc. 155) the
                     Scheduling Order (R. Doc. 110) is GRANTED, and the deadlines at issue are
                     AMENDED, as follows: the Pre-Trial Order must now be filed by October 27, 2023; the
                     Findings of Fact and Conclusions of Law must now be filed by November 9, 2023; and
                     the Counter Deposition Designations must now be filed by November 6, 2023. Signed by
                     Magistrate Judge Scott D. Johnson on 10/17/2023. (This is a TEXT ENTRY ONLY.
                     There is no hyperlink or PDF document associated with this entry.) (Johnson, Scott)
                     (Entered: 10/17/2023)

10/24/2023     158   ORDER granting 144 Objections to Magistrate Judge's Order Denying Defendant's
                     Motion to Compel. The Court finds that standing has been raised by the Defendant. The
                     Motion to Compel is hereby referred back to the Magistrate Judge for reconsideration.
                     Signed by Chief Judge Shelly D. Dick on 10/24/2023. (This is a TEXT ENTRY ONLY.
                     There is no hyperlink or PDF document associated with this entry.) (Dick, Shelly)
                     (Entered: 10/24/2023)

10/27/2023     159   ORDER: The issue before the Court for reconsideration concerns the scope of discovery
                     related to the Louisiana NAACPs associational standing. As to 132 MOTION to Compel
                     Plaintiffs' Response to Defendant's Interrogatory No. 3 Video Conference before the
                     Magistrate Judge set for 11/2/2023 at 11:00 AM in by video before Magistrate Judge Scott
                     D. Johnson. Signed by Magistrate Judge Scott D. Johnson on 10/26/2023. (Attachments: #
                     1 Attachment Zoom instructions)(ELW) (Entered: 10/27/2023)

10/27/2023     160   Joint MEMORANDUM in Opposition to 156 MOTION in Limine filed by R. Kyle
                     Ardoin. (Attachments: # 1 Exhibit 1 - Murray Dep. Tr. Excerpts, # 2 Exhibit 2 -
                     Covington Hr'g Tr. Excerpts, # 3 Exhibit 3 - Colten Dep. Tr. Excerpts, # 4 Exhibit 4 -
                     Cooper Dep. Tr. Excerpts)(Strach, Phillip) (Entered: 10/27/2023)

10/27/2023     161   Proposed Pretrial Order by Black Voters Matter Capacity Building Institute, Steven
                     Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington (For your free look at document, enter your Individual PACER login and pw
                     to confirm your right to view). (Brannon, Sarah) (Entered: 10/27/2023)

10/27/2023     162   STRICKEN FROM THE RECORD MEMORANDUM in Opposition to 148 Joint
                     MOTION in Limine to Exclude Dr. Lisa Handley's Testimony and Reports filed by All
                     Plaintiffs. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
                     Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Brannon, Sarah) Modified on
                     11/2/2023 to remove document as it has been stricken by Order #166 (LLH). (Entered:
                     10/27/2023)

10/27/2023     163   MEMORANDUM in Opposition to 149 Joint MOTION for Summary Judgment filed by
                     Black Voters Matter Capacity Building Institute, Steven Harris, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington.
                     (Attachments: # 1 Opposing Statement of Material Facts, # 2 Exhibit 1 - Omari Ho-Sang
                     Dep. Tr., # 3 Exhibit 2 - BVM-LA-Leg 000517881, # 4 Exhibit 3 - Omari Ho-Sang


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                     Declaration, # 5 Exhibit 4 - BVM-LA-LEG 0002891-93, # 6 Exhibit 5 - BVM-LA-LEG
                     0000383-84, # 7 Exhibit 6 - BVM-LA-LEG 0003053, 0005833-36, 0005840, # 8 Exhibit
                     7 - Michael McClanahan Dep. Tr., # 9 Exhibit 8 - NAACP Bylaws, # 10 Exhibit 9 -
                     Michael McClanahan Declaration, # 11 Exhibit 10 - Dr. Dorothy Nairne Declaration, # 12
                     Exhibit 11 - Rev. Clee Earnest Lowe Declaration, # 13 Exhibit 12 - Dr. Alice Washington
                     Declaration, # 14 Exhibit 13 Rev. Steven Harris Declaration)(Rohani, Sara) (Entered:
                     10/27/2023)

11/01/2023     164   Notice of Deficiency with Administrative Procedure III(A)(1) as to 162 Memorandum in
                     Opposition to,. Pursuant to Administrative Procedure III(A)(1), Each exhibit should be
                     submitted individually in CM/ECF with an exhibit number and short description (e.g.,
                     Ex.1 Plaintiff Depo).

                     REQUIRED CORRECTION: The filer is directed to refile the exhibits in the proper
                     format using the event Exhibit located under Other Documents in the CM/ECF system
                     and link the exhibits to the previously filed document. The main document for this event
                     shall be an exhibit list of the exhibits being attached. Each exhibit MUST include a
                     description (e.g., Ex.1 Plaintiff Depo). (ELW) (Entered: 11/01/2023)

11/02/2023     165   MEMORANDUM in Opposition to 148 Joint MOTION in Limine to Exclude Dr. Lisa
                     Handley's Testimony and Reports filed by Black Voters Matter Capacity Building
                     Institute, Steven Harris, Louisiana State Conference of the NAACP, Clee E. Lowe,
                     Dorothy Nairne, Alice Washington. (Attachments: # 1 Exhibit 1 - Handley initial report, #
                     2 Exhibit 2 - Solanky initial report, # 3 Exhibit 3 - Handley deposition excerpts, # 4
                     Exhibit 4 - Alford deposition excerpts, # 5 Exhibit 5 - Solanky deposition excerpts, # 6
                     Exhibit Handley supplemental report, # 7 Exhibit 7 - LA data details VEST, # 8 Exhibit 8
                     - report Dr. Lichtman)(Brannon, Sarah) (Entered: 11/02/2023)

11/02/2023     166   ORDER: Considering that Plaintiffs filed 165 Memorandum in Opposition to 148 Joint
                     MOTION in Limine to Exclude Dr. Lisa Handley's Testimony and Reports to correct the
                     164 Notice of Deficiency, the Clerk's Office is directed to strike 162 Memorandum in
                     Opposition to maintain clarity of the record. Signed by Chief Judge Shelly D. Dick on
                     11/2/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.)(SWE) (Entered: 11/02/2023)

11/02/2023     167   TRANSCRIPT REQUEST by R. Kyle Ardoin for proceedings held on 11/02/2023 before
                     Judge Hon. Scott D. Johnson.. (Conine, John) (Entered: 11/02/2023)

11/02/2023     168   TRANSCRIPT REQUEST by Black Voters Matter Capacity Building Institute, Steven
                     Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington for proceedings held on 11/02/2023 before Judge Hon. Scott D. Johnson..
                     (Rohani, Sara) Modified on 11/6/2023 form sent to Magistrate Judges CRD via email
                     (ELW). (Entered: 11/02/2023)

11/02/2023     169   Minute Entry for proceedings held before Magistrate Judge Scott D. Johnson: Motion
                     Hearing held on 11/2/2023. The parties discussed the issue before the Court on
                     reconsideration (R. Doc. 158). The NAACP clearly has the burden of establishing
                     associational standing. The Court ORDERS the Louisiana NAACP to supplement its
                     Answer to Interrogatory No. 3 by providing both the name and address of the individual
                     member(s) from the challenged districts that the NAACP intends to offer at trial to
                     establish associational standing, or any other part of its claim. Any member not identified
                     in the NAACP's supplemental response will be presumed to be outside the scope of
                     evidence to be offered in the matter by the NAACP. The NAACP must supplement its
                     Answer by 5:00 p.m. (CST) on November 6, 2023. To protect the First Amendment rights
                     of any identified NAACP member, the parties jointly made, and the Court GRANTED, an

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                     oral Motion to Modify the current Protective Order (R. Doc. 138) to include information
                     identifying individual members of the Louisiana NAACP, who are not named parties. The
                     Court ORDERS that any discovery or information produced after this Order - whether
                     provided in response to Interrogatory No. 3 or otherwise that concerns the identity of a
                     Louisiana NAACP member, who is not a party to this lawsuit, will be protected by and
                     subject to the terms of the Protective Order (R. Doc. 138) previously entered by the Court.
                     (KAH) (Entered: 11/05/2023)

11/06/2023     170   ORDER: In light of the 169 Minute Entry/Order, the parties are hereby ordered to submit
                     supplemental briefs, if any, in support or opposition of the 149 Joint Motion for Summary
                     Judgment by 11/7/23. Any supplemental briefing should be limited to five pages on the
                     issue of NAACP associational standing. Signed by Chief Judge Shelly D. Dick on
                     11/6/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.)(SWE) (Entered: 11/06/2023)

11/07/2023     171   RULING denying 148 Motion in Limine. Signed by Chief Judge Shelly D. Dick on
                     11/7/2023. (SWE) (Entered: 11/07/2023)

11/07/2023     172   Joint SUPPLEMENTAL BRIEF TO 149 Joint MOTION for Summary Judgment filed by
                     R. Kyle Ardoin. (Strach, Phillip) (Entered: 11/07/2023)

11/07/2023     173   SUPPLEMENTAL BRIEF TO 163 Memorandum in Opposition to,,, Defendants'
                     Summary Judgment Motion filed by All Plaintiffs. (Attachments: # 1 Exhibit 1 - Second
                     Supplemental Responses to Interrogatories to Organizational Plaintiffs')(Rohani, Sara)
                     (Entered: 11/07/2023)

11/08/2023     174   RULING granting in part and denying in part 156 Motion in Limine. The 156 Motion is
                     DENIED as to Sean Trende, GRANTED in part, and DENIED in part as to Dr. Douglas
                     Johnson, and GRANTED as to Dr. Tumulesh K.S. Solanky. Signed by Chief Judge Shelly
                     D. Dick on 11/8/2023. (SWE) (Entered: 11/08/2023)

11/08/2023     175   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Status hearing
                     before Judge Scott D. Johnson held on 11/2/23. Court Reporter: Janice Russell. Phone
                     Number: (757) 422-9089; e-mail: trussell31@tdsmail.com.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 11/29/2023. Redacted
                     Transcript Deadline set for 12/11/2023. Release of Transcript Restriction set for 2/6/2024.
                     (Russell, J.) (Entered: 11/08/2023)

11/09/2023     176   RULING denying 34 Motion to Convene a Three-Judge Court or in the Alternative, To
                     Certify An Interlocutory Appeal. Signed by Chief Judge Shelly D. Dick on 11/9/2023.
                     (SWE) (Entered: 11/09/2023)

11/09/2023     177   Proposed Findings of Fact by R. Kyle Ardoin. (Strach, Phillip) (Entered: 11/09/2023)

11/09/2023     178   NOTICE of Constitutional Question by R. Kyle Ardoin (Strach, Phillip) (Entered:
                     11/09/2023)


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11/09/2023     179   Proposed Findings of Fact by Black Voters Matter Capacity Building Institute, Steven
                     Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington. (Brannon, Sarah) (Entered: 11/09/2023)

11/13/2023     180   Joint REPLY in Support of 149 Joint MOTION for Summary Judgment filed by R. Kyle
                     Ardoin. (Attachments: # 1 Attachment Reply Statement of Undisputed Material
                     Facts)(Strach, Phillip) (Entered: 11/13/2023)

11/14/2023     181   RULING denying 149 Motion for Summary Judgment. (SWE) (Entered: 11/14/2023)

11/14/2023     182   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Pretrial Conference
                     held on 11/14/2023. Parties discussed matters related to trial. Parties shall comply with the
                     deadlines set forth as stated. (SWE) (Entered: 11/14/2023)

11/22/2023     183   MOTION to Enroll Charlton J. Meginley as Additional Attorney by R. Kyle Ardoin
                     (Attachments: # 1 Proposed Pleading; Proposed Order)(Walsh, John) (Entered:
                     11/22/2023)

11/22/2023     184   Joint MOTION to Stay by R. Kyle Ardoin (Attachments: # 1 Attachment Memorandum in
                     Support of Joint Motion to Stay)(Strach, Phillip) (Entered: 11/22/2023)

11/24/2023     185   MEMORANDUM in Opposition to 184 Joint MOTION to Stay filed by All Plaintiffs.
                     (Brannon, Sarah) (Entered: 11/24/2023)

11/27/2023     186   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                     on 11/27/2023. For oral reasons given, the Court DENIES the 184 Joint Motion to Stay
                     Proceedings. Stipulations and Joint Exhibits are admitted into the record. Witnesses sworn
                     and testified. Court recesses until 11/28/2023 at 9:00 a.m. (Court Reporter S. Thompson.)
                     Pursuant to Local Rules, offering parties shall retain custody of exhibits..(SWE) (Entered:
                     11/28/2023)

11/27/2023     198   ELECTRONIC EXHIBIT List for Bench Trial dated 11/27/2023 to 12/5/2023. (SWE)
                     (Additional attachment(s) added on 2/20/2024: # 1 Legislative Defendants Exhibit 42, # 2
                     Legislative Defendants Exhibit 43, # 3 Legislative Defendants Exhibit 44, # 4 Legislative
                     Defendants Exhibit 45, # 5 Legislative Defendants Exhibit 46, # 6 Legislative Defendants
                     Exhibit 47, # 7 Legislative Defendants Exhibit 48, # 8 Legislative Defendants Exhibit 49,
                     # 9 Legislative Defendants Exhibit 50, # 10 Legislative Defendants Exhibit 51, # 11
                     Legislative Defendants Exhibit 51 part 2, # 12 Legislative Defendants Exhibit 52, # 13
                     Legislative Defendants Exhibit 53, # 14 Legislative Defendants Exhibit 54, # 15
                     Legislative Defendants Exhibit 58, # 16 Legislative Defendants Exhibit 58 part 2, # 17
                     Legislative Defendants Exhibit 59, # 18 Legislative Defendants Exhibit 62, # 19
                     Defendant Exhibit 1, # 20 Defendant Exhibit 2, # 21 Defendant Exhibit 3, # 22 Defendant
                     Exhibit 4, # 23 Defendant Exhibit 5, # 24 Defendant Exhibit 6, # 25 Defendant Exhibit 39,
                     # 26 Joint Exhibit 1, # 27 Joint Exhibit 2, # 28 Joint Exhibit 3, # 29 Joint Exhibit 4, # 30
                     Joint Exhibit 5, # 31 Joint Exhibit 6, # 32 Joint Exhibit 7, # 33 Joint Exhibit 8, # 34 Joint
                     Exhibit 9, # 35 Joint Exhibit 10, # 36 Joint Exhibit 11, # 37 Joint Exhibit 12, # 38 Joint
                     Exhibit 13, # 39 Joint Exhibit 14, # 40 Joint Exhibit 15, # 41 Joint Exhibit 16, # 42 Joint
                     Exhibit 17, # 43 Joint Exhibit 18, # 44 Joint Exhibit 19, # 45 Joint Exhibit 20, # 46 Joint
                     Exhibit 21, # 47 Joint Exhibit 22, # 48 Joint Exhibit 23, # 49 Joint Exhibit 24, # 50 Joint
                     Exhibit 25, # 51 Joint Exhibit 26, # 52 Joint Exhibit 27, # 53 Joint Exhibit 28, # 54 Joint
                     Exhibit 29, # 55 Joint Exhibit 30, # 56 Joint Exhibit 31, # 57 Joint Exhibit 32, # 58 Joint
                     Exhibit 33, # 59 Joint Exhibit 34, # 60 Joint Exhibit 35) (NLT). (Additional attachment(s)
                     added on 2/20/2024: # 61 Joint Exhibit 36, # 62 Joint Exhibit 37, # 63 Joint Exhibit 38, #
                     64 Joint Exhibit 39, # 65 Joint Exhibit 40, # 66 Joint Exhibit 41, # 67 Joint Exhibit 42, #
                     68 Joint Exhibit 43, # 70 Joint Exhibit 44, # 71 Joint Exhibit 45, # 72 Joint Exhibit 46, #


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       73 Joint Exhibit 47, # 74 Joint Exhibit 48, # 75 Joint Exhibit 49, # 76 Joint Exhibit 50, #
       77 Joint Exhibit 51, # 78 Joint Exhibit 52, # 79 Joint Exhibit 53, # 80 Joint Exhibit 54, #
       81 Joint Exhibit 55, # 82 Joint Exhibit 56, # 83 Plaintiff Exhibit 1, # 84 Plaintiff Exhibit 2,
       # 85 Plaintiff Exhibit 3, # 86 Plaintiff Exhibit 4, # 87 Plaintiff Exhibit 5, # 88 Plaintiff
       Exhibit 6, # 89 Plaintiff Exhibit 7, # 90 Plaintiff Exhibit 8, # 91 Plaintiff Exhibit 9, # 92
       Plaintiff Exhibit 10, # 93 Plaintiff Exhibit 11, # 94 Plaintiff Exhibit 12, # 95 Plaintiff
       Exhibit 13, # 96 Plaintiff Exhibit 14, # 97 Plaintiff Exhibit 15, # 98 Plaintiff Exhibit 16, #
       99 Plaintiff Exhibit 17, # 100 Plaintiff Exhibit 18, # 101 Plaintiff Exhibit 19, # 102
       Plaintiff Exhibit 20, # 103 Plaintiff Exhibit 21, # 104 Plaintiff Exhibit 22, # 105 Plaintiff
       Exhibit 23, # 106 Plaintiff Exhibit 24, # 107 Plaintiff Exhibit 25, # 108 Plaintiff Exhibit
       26, # 109 Plaintiff Exhibit 27, # 110 Plaintiff Exhibit 28, # 111 Plaintiff Exhibit 29, # 112
       Plaintiff Exhibit 30, # 113 Plaintiff Exhibit 31, # 114 Plaintiff Exhibit 32, # 115 Plaintiff
       Exhibit 33, # 116 Plaintiff Exhibit 34, # 117 Plaintiff Exhibit 35, # 118 Plaintiff Exhibit
       36, # 119 Plaintiff Exhibit 37, # 120 Plaintiff Exhibit 38, # 121 Plaintiff Exhibit 39, # 122
       Plaintiff Exhibit 40, # 123 Plaintiff Exhibit 41, # 124 Plaintiff Exhibit 42, # 125 Plaintiff
       Exhibit 43, # 126 Plaintiff Exhibit 44, # 127 Plaintiff Exhibit 45, # 128 Plaintiff Exhibit
       46, # 129 Plaintiff Exhibit 47, # 130 Plaintiff Exhibit 48, # 131 Plaintiff Exhibit 49, # 132
       Plaintiff Exhibit 50, # 133 Plaintiff Exhibit 51, # 135 Plaintiff Exhibit 53, # 136 Plaintiff
       Exhibit 54, # 137 Plaintiff Exhibit 55, # 138 Plaintiff Exhibit 56, # 139 Plaintiff Exhibit
       57, # 140 Plaintiff Exhibit 58, # 141 Plaintiff Exhibit 52, # 142 Plaintiff Exhibit 59, # 143
       Plaintiff Exhibit 60, # 144 Plaintiff Exhibit 61, # 145 Plaintiff Exhibit 62, # 146 Plaintiff
       Exhibit 63, # 147 Plaintiff Exhibit 64, # 148 Plaintiff Exhibit 65, # 149 Plaintiff Exhibit
       66, # 150 Plaintiff Exhibit 57, # 151 Plaintiff Exhibit 68, # 152 Plaintiff Exhibit 69, # 153
       Plaintiff Exhibit 70, # 154 Plaintiff Exhibit 71, # 155 Plaintiff Exhibit 72, # 156 Plaintiff
       Exhibit 73, # 157 Plaintiff Exhibit 74, # 158 Plaintiff Exhibit 75, # 159 Plaintiff Exhibit
       76, # 160 Plaintiff Exhibit 77, # 161 Plaintiff Exhibit 78, # 162 Plaintiff Exhibit 79, # 163
       Plaintiff Exhibit 80, # 164 Plaintiff Exhibit 81, # 165 Plaintiff Exhibit 82, # 166 Plaintiff
       Exhibit 83, # 167 Plaintiff Exhibit 84, # 168 Plaintiff Exhibit 85, # 169 Plaintiff Exhibit
       86) (NLT). (Additional attachment(s) added on 2/20/2024: # 170 Plaintiff Exhibit 87, #
       171 Plaintiff Exhibit 88, # 172 Plaintiff Exhibit 89, # 173 Plaintiff Exhibit 90, # 174
       Plaintiff Exhibit 91, # 175 Plaintiff Exhibit 92, # 176 Plaintiff Exhibit 93, # 177 Plaintiff
       Exhibit 94, # 178 Plaintiff Exhibit 95, # 179 Plaintiff Exhibit 96, # 180 Plaintiff Exhibit
       97, # 181 Plaintiff Exhibit 98, # 182 Plaintiff Exhibit 99, # 183 Plaintiff Exhibit 100, #
       184 Plaintiff Exhibit 101, # 185 Plaintiff Exhibit 102, # 186 Plaintiff Exhibit 103, # 187
       Plaintiff Exhibit 104, # 188 Plaintiff Exhibit 105, # 189 Plaintiff Exhibit 106, # 191
       Plaintiff Exhibit 107, # 192 Plaintiff Exhibit 108, # 193 Plaintiff Exhibit 109, # 194
       Plaintiff Exhibit 110, # 195 Plaintiff Exhibit 111, # 196 Plaintiff Exhibit 112, # 197
       Plaintiff Exhibit 113, # 198 Plaintiff Exhibit 114, # 199 Plaintiff Exhibit 115, # 200
       Plaintiff Exhibit 120, # 201 Plaintiff Exhibit 122, # 202 Plaintiff Exhibit 124, # 203
       Plaintiff Exhibit 125, # 204 Plaintiff Exhibit 116, # 205 Plaintiff Exhibit 126, # 206
       Plaintiff Exhibit 127, # 207 Plaintiff Exhibit 128, # 208 Plaintiff Exhibit 129, # 209
       Plaintiff Exhibit 130, # 210 Plaintiff Exhibit 131, # 211 Plaintiff Exhibit 132, # 212
       Plaintiff Exhibit 133, # 213 Plaintiff Exhibit 134, # 214 Plaintiff Exhibit 135, # 215
       Plaintiff Exhibit 163a, # 216 Plaintiff Exhibit 163b, # 217 Plaintiff Exhibit 117, # 218
       Plaintiff Exhibit 164, # 219 Plaintiff Exhibit 165, # 220 Plaintiff Exhibit 166, # 221
       Plaintiff Exhibit 167, # 222 Plaintiff Exhibit 168, # 223 Plaintiff Exhibit 169, # 225
       Plaintiff Exhibit 170, # 226 Plaintiff Exhibit 171, # 227 Plaintiff Exhibit 172, # 228
       Plaintiff Exhibit 173, # 229 Plaintiff Exhibit 174, # 230 Plaintiff Exhibit 175, # 231
       Plaintiff Exhibit 176, # 232 Plaintiff Exhibit 177, # 233 Plaintiff Exhibit 178, # 234
       Plaintiff Exhibit 179, # 235 Plaintiff Exhibit 180, # 237 Plaintiff Exhibit 184, # 238
       Plaintiff Exhibit 185, # 239 Plaintiff Exhibit 187, # 240 Plaintiff Exhibit 201, # 241
       Plaintiff Exhibit 204, # 242 Plaintiff Exhibit 249, # 243 Plaintiff Exhibit 249a, # 244
       Plaintiff Exhibit 250, # 245 Plaintiff Exhibit 250a, # 246 Plaintiff Exhibit 251, # 247

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                     Plaintiff Exhibit 251a, # 248 Plaintiff Exhibit 252, # 249 Plaintiff Exhibit 252a, # 250
                     Plaintiff Exhibit 253, # 251 Plaintiff Exhibit 253a, # 252 Plaintiff Exhibit 254, # 253
                     Plaintiff Exhibit 254a, # 254 Plaintiff Exhibit 255, # 255 Plaintiff Exhibit 255a, # 256
                     Plaintiff Exhibit 256, # 257 Plaintiff Exhibit 256a, # 258 Plaintiff Exhibit 257) (NLT).
                     (Entered: 12/07/2023)

11/28/2023     189   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                     on 11/28/2023. Witnesses sworn and testified; exhibits filed. Court recesses until
                     Wednesday, November 29, 2023, at 9:00 a.m. (Court Reporter Gina Delatte-Richard and
                     Natalie Breaux.) Pursuant to Local Rules, offering parties shall retain custody of
                     exhibits..(SWE) (Entered: 11/29/2023)

11/29/2023           MOTION(S) REFERRED: 183 MOTION to Enroll Charlton J. Meginley as Additional
                     Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 11/29/2023)

11/29/2023     187   Joint MOTION to Dismiss by R. Kyle Ardoin (Attachments: # 1 Attachment
                     Memorandum ISO Motion to Dismiss)(Strach, Phillip) (Entered: 11/29/2023)

11/29/2023     188   ORDER granting 183 Motion to Enroll Additional Attorney. Added attorney Charlton J
                     Meginley for R. Kyle Ardoin. Signed by Magistrate Judge Scott D. Johnson on
                     11/29/2023. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document
                     associated with this entry.) (KAH) (Entered: 11/29/2023)

11/29/2023     190   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                     on 11/29/2023. Witnesses sworn and testified. Exhibits filed. Court recessed until
                     Thursday, 11/30/2023. (Court Reporter S. Thompson and N. Breaux.) Pursuant to Local
                     Rules, offering parties shall retain custody of exhibits..(SWE) (Entered: 11/30/2023)

11/29/2023     191   Amended Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench
                     Trial held on 11/29/2023. Witnesses sworn and testified. Plaintiffs rested. Court recessed
                     until Thursday, November 30, 2023, at 9:00 a.m. (Court Reporter S. Thompson and N.
                     Breaux.) (SWE) (Entered: 11/30/2023)

11/30/2023     192   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                     on 11/30/2023. Parties present argument relative to 187 Joint MOTION to Dismiss. Court
                     takes under advisement until the close of evidence. Witnesses sworn and testified.
                     Exhibits filed. Court recesses until Friday, December 1, 2023, at 9:00 a.m. (Court
                     Reporter T. Norton.) Pursuant to Local Rules, offering parties shall retain custody of
                     exhibits..(SWE) Modified on 12/1/2023 to edit file date (SWE). (Entered: 12/01/2023)

11/30/2023     202   Amended Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench
                     Trial held on 11/30/2023. Counsel present argument relative to Defendants' Rule 52 c
                     Motion. Court takes under advisement until close of evidence. Witnesses sworn and
                     testified. Exhibits filed. Court recessed until Friday, 12/1/2023, at 9:00 a.m. (Court
                     Reporter T. Norton.) Pursuant to Local Rules, offering parties shall retain custody of
                     exhibits..(SWE) (Entered: 12/11/2023)

12/01/2023     193   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                     on 12/1/2023. Witnesses sworn and testified. Exhibits filed. Court recessed until Monday,
                     December 4, 2023, at 9:00 a.m. (Court Reporter S. Thompson and G. Delatte-Richard.)
                     Pursuant to Local Rules, offering parties shall retain custody of exhibits..(SWE) (Entered:
                     12/04/2023)

12/04/2023     195   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial held
                     on 12/4/2023. Witnesses sworn and testified. Exhibits filed. Court recesses until Tuesday,
                     December 5, 2023, at 10:00 a.m. (Court Reporter S. Thompson and G. Delatte-Richard.)

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                     Pursuant to Local Rules, offering parties shall retain custody of exhibits..(SWE) (Entered:
                     12/05/2023)

12/05/2023     194   Ex Parte MOTION for Garrett Muscatel to Appear Pro Hac Vice for Plaintiffs (Filing fee
                     $100.00, Receipt Number ALAMDC-2678970) by All Plaintiffs (Attachments: # 1
                     Exhibit 1- Declaration of Applicant, # 2 Exhibit 2 - Certificate of Good
                     Standing)(Adcock, John) (Entered: 12/05/2023)

12/05/2023     203   Minute Entry for proceedings held before Chief Judge Shelly D. Dick: Bench Trial
                     completed on 12/5/2023. Witnesses sworn and testified on rebuttal. The Court advised the
                     parties that no argument at the close of hearing will be necessary but will allow the parties
                     to submit simultaneous briefs with citations, not to exceed 40 pages. Briefing shall be
                     submitted by close of business on 12/19/2023. Defendants renew their Rule 52c Motion.
                     Court takes matter under advisement. (Court Reporter N. Breaux.) Pursuant to Local
                     Rules, offering parties shall retain custody of exhibits..(SWE) (Entered: 12/11/2023)

12/06/2023           MOTION(S) REFERRED: 194 Ex Parte MOTION for Garrett Muscatel to Appear Pro
                     Hac Vice for Plaintiffs (Filing fee $100.00, Receipt Number ALAMDC-2678970). This
                     motion is now pending before the USMJ. (ELW) (Entered: 12/06/2023)

12/06/2023     196   ORDER granting 194 Motion for Garrett Muscatel to Appear Pro Hac Vice. Signed by
                     Magistrate Judge Scott D. Johnson on 12/6/2023.

                     ATTENTION: Local counsel shall provide the following link to those attorneys granted
                     leave to proceed pro hac vice in the Middle District of Louisiana who choose to register
                     for e-file access www.lamd.uscourts.gov/pro-hac-vice-e-filing-registration.

                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 12/06/2023)

12/07/2023     197   TRANSCRIPT REQUEST by Black Voters Matter Capacity Building Institute, Steven
                     Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington for proceedings held on 11/27/2023-12/05/2023 before Judge Hon. Shelly D.
                     Dick.. (Naifeh, Stuart) (Entered: 12/07/2023)

12/07/2023     199   NOTICE of Intervention Pursuant to 28 U.S.C. § 2403(a) by United States of America
                     (Jack, Justin) (Entered: 12/07/2023)

12/07/2023     200   NOTICE of Appearance of Attorney Representing the United States of America by United
                     States of America (Jack, Justin) (Entered: 12/07/2023)

12/07/2023     201   Certificate of Interested Persons by United States of America identifying
                     Affiliate/Interested Person Louisiana State Conference of the NAACP, Affiliate/Interested
                     Person Dorothy Nairne, Affiliate/Interested Person Black Voters Matter Capacity
                     Building Institute, Affiliate/Interested Person Rose Thompson, Affiliate/Interested Person
                     Steven Harris, Affiliate/Interested Person Nora Ahmed, Affiliate/Interested Person
                     American Civil Liberties Union Foundation of Louisiana, Affiliate/Interested Person
                     Nelson Mullins Riley & Scarborough LLP, Affiliate/Interested Person Clee E. Lowe,
                     Affiliate/Interested Person Adcock Law LLC, Affiliate/Interested Person John Adcock,
                     Affiliate/Interested Person Ronald Lawrence Wilson, Affiliate/Interested Person Sarah E.
                     Brannon, Affiliate/Interested Person Megan C. Keenan, Affiliate/Interested Person Sophia
                     Lin Lakin, Affiliate/Interested Person Dayton Campbell-Harris, Affiliate/Interested
                     Person Luis Manuel Rico Roman, Affiliate/Interested Person the ACLU Foundation of
                     Louisiana, Affiliate/Interested Person Stephanie Legros, Affiliate/Interested Person Cozen
                     O'Connor, Affiliate/Interested Person Michael de Leeuw, Affiliate/Interested Person


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                     Amanda Giglio, Affiliate/Interested Person Josephine Bahn, Affiliate/Interested Person
                     Robert S. Clark, Affiliate/Interested Person NAACP Legal Defense & Educational Fund,
                     Affiliate/Interested Person NAACP Legal Defense & Educational Fund, Inc.,
                     Affiliate/Interested Person Jared Evans, Affiliate/Interested Person Kathryn C. Sadasivan,
                     Affiliate/Interested Person Leah C. Aden, Affiliate/Interested Person Stuart C. Naifeh,
                     Affiliate/Interested Person Victoria Wenger, Affiliate/Interested Person I. Sara Rohani,
                     Affiliate/Interested Person National Association for the Advancement of Colored People,
                     Affiliate/Interested Person Daniel J. Hessel, Affiliate/Interested Person Tiffany Alora
                     Thomas, Affiliate/Interested Person R. Kyle Ardoin, Affiliate/Interested Person Shows,
                     Cali & Walsh LLP, Affiliate/Interested Person John Carroll Walsh, Affiliate/Interested
                     Person John Clifton Conine, Jr., Affiliate/Interested Person Baker & Hostetler LLP,
                     Affiliate/Interested Person Michael W. Mengis, Affiliate/Interested Person Michael W.
                     Mengis, Affiliate/Interested Person Efrem Mark Braden, Affiliate/Interested Person Erika
                     Dackin Prouty, Affiliate/Interested Person Katherine L. McKnight, Affiliate/Interested
                     Person Patrick T. Lewis, Affiliate/Interested Person Richard B. Raile, Affiliate/Interested
                     Person Robert J. Tucker, Affiliate/Interested Person Alyssa Riggins, Affiliate/Interested
                     Person Cassie Holt, Affiliate/Interested Person Phillip J. Strach, Affiliate/Interested
                     Person Thomas A. Farr, Affiliate/Interested Person Charlton J. Meginley,
                     Affiliate/Interested Person John E. Branch, III, Affiliate/Interested Person Patrick Page
                     Cortez, Affiliate/Interested Person Office of the Louisiana Attorney General,
                     Affiliate/Interested Person Elizabeth Baker Murrill, Affiliate/Interested Person Amanda
                     Marie LaGrone, Affiliate/Interested Person Andrew B. Pardue, Affiliate/Interested Person
                     Angelique Duhon Freel, Affiliate/Interested Person Holtzman Vogel Josefiak Torchinsky
                     PLLC, Affiliate/Interested Person U.S. Attorney's Office, Affiliate/Interested Person
                     MDLA, Affiliate/Interested Person Brennan Bowen, Affiliate/Interested Person Carey T.
                     Jones, Affiliate/Interested Person Jason Brett Torchinsky, Affiliate/Interested Person
                     Jeffrey Michael Wade, Affiliate/Interested Person Phillip Michael Gordon,
                     Affiliate/Interested Person U.S. Department of Justice, Affiliate/Interested Person Alice
                     Washington, Affiliate/Interested Person United States of America, Affiliate/Interested
                     Person State of Louisiana, Affiliate/Interested Person Clay Schexnayder for United States
                     of America. (Jack, Justin) (Entered: 12/07/2023)

12/12/2023     204   TRANSCRIPT REQUEST by R. Kyle Ardoin for proceedings held on
                     11/27/2023-12/5/2023 before Judge Shelly D. Dick.. (Conine, John) (Main Document 204
                     replaced on 12/13/2023) (ELW). (Entered: 12/12/2023)

12/19/2023     205   BRIEF regarding the Constitutionality of Section 2 of the Voting Rights Act. (Freeman,
                     Daniel) (Entered: 12/19/2023)

12/19/2023     206   Post-Trial Memorandum by R. Kyle Ardoin. (Attachments: # 1 Attachment 1 - Day 1
                     Trial Transcript, # 2 Attachment 2 - Day 2 Trial Transcript, # 3 Attachment 3A - Day 3
                     A.M. Trial Transcript, # 4 Attachment 3B - Day 3 P.M. Trial Transcript, # 5 Attachment 4
                     - Day 4 Trial Transcript, # 6 Attachment 5 - Day 5 Trial Transcript, # 7 Attachment 6 -
                     Day 6 Trial Transcript, # 8 Attachment 7 - Day 7 Trial Transcript, # 9 Exhibit 1 - Trende
                     Figures 5 and 6)(Strach, Phillip) (Entered: 12/19/2023)

12/19/2023     207   TRIAL BRIEF by Black Voters Matter Capacity Building Institute, Steven Harris,
                     Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington. (Keenan, Megan) (Entered: 12/19/2023)

12/20/2023     208   Joint MOTION to Strike by R. Kyle Ardoin (Attachments: # 1 Attachment Memorandum
                     in Support, # 2 Exhibit 1 - Day 6 AM Transcript Excerpt)(Strach, Phillip) (Entered:
                     12/20/2023)

12/20/2023     209

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                     RESPONSE in Opposition to 208 Joint MOTION to Strike Plaintiffs' Trial Brief filed by
                     Black Voters Matter Capacity Building Institute, Steven Harris, Louisiana State
                     Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington.
                     (Attachments: # 1 Pls.' Mem. in Opp. to Mot. to Strike, # 2 Pls.' Trial Br. (corrected
                     signature block))(Keenan, Megan) (Entered: 12/20/2023)

12/20/2023     210   MEMORANDUM in Opposition to 187 Joint MOTION to Dismiss filed by Black Voters
                     Matter Capacity Building Institute, Steven Harris, Louisiana State Conference of the
                     NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington. (Keenan, Megan) (Entered:
                     12/20/2023)

12/21/2023     211   ORDER denying 208 Joint MOTION to Strike . Signed by Chief Judge Shelly D. Dick on
                     12/21/2023. (LLH) (Entered: 12/21/2023)

12/29/2023     212   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 2
                     (afternoon session) before Chief Judge Shelly D. Dick held on November 28, 2023. Court
                     Reporter: Natalie W. Breaux. Phone Number: 225-389-3565.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/19/2024. Redacted
                     Transcript Deadline set for 1/29/2024. Release of Transcript Restriction set for 3/28/2024.
                     (Breaux, Natalie) (Entered: 12/29/2023)

12/29/2023     213   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 3
                     (afternoon session) before Chief Judge Shelly D. Dick held on November 29, 2023. Court
                     Reporter: Natalie W. Breaux. Phone Number: 225-389-3565.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/19/2024. Redacted
                     Transcript Deadline set for 1/29/2024. Release of Transcript Restriction set for 3/28/2024.
                     (Breaux, Natalie) (Entered: 12/29/2023)

12/29/2023     214   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 7
                     before Chief Judge Shelly D. Dick held on December 5, 2023. Court Reporter: Natalie W.
                     Breaux. Phone Number: 225-389-3565.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at


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                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/19/2024. Redacted
                     Transcript Deadline set for 1/29/2024. Release of Transcript Restriction set for 3/28/2024.
                     (Breaux, Natalie) (Entered: 12/29/2023)

01/03/2024     215   First MOTION for Angelique Freel to Withdraw as Attorney by State of Louisiana
                     (Attachments: # 1 Proposed Pleading; Proposed Order)(Wale, Jeffrey) (Entered:
                     01/03/2024)

01/03/2024     216   First MOTION for Jeffrey Wale to Withdraw as Attorney by State of Louisiana
                     (Attachments: # 1 Proposed Pleading; Proposed Order)(Wale, Jeffrey) (Entered:
                     01/03/2024)

01/03/2024     217   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 2
                     (morning Session) before Chief Judge Shelly D. Dick held on November 28th, 2023.
                     Court Reporter: Gina Delatte-Richard. Phone Number: 225-389-3564.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/24/2024. Redacted
                     Transcript Deadline set for 2/5/2024. Release of Transcript Restriction set for 4/2/2024.
                     (Delatte-Richard, Gina) (Entered: 01/03/2024)

01/03/2024     218   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings: Bench Trial Day 6
                     (afternoon session) before Chief Judge Shelly D. Dick held on December 4, 2023. Court
                     Reporter: Gina Delatte-Richard. Phone Number: 225-389-3564.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/24/2024. Redacted
                     Transcript Deadline set for 2/5/2024. Release of Transcript Restriction set for 4/2/2024.
                     (Delatte-Richard, Gina) (Entered: 01/03/2024)

01/04/2024           MOTION(S) REFERRED: 216 First MOTION for Jeffrey Wale to Withdraw as Attorney
                     , 215 First MOTION for Angelique Freel to Withdraw as Attorney . This motion is now
                     pending before the USMJ. (ELW) (Entered: 01/04/2024)

01/04/2024     219   ORDER granting 216 Motion to Withdraw Jeffrey Wale as Attorney. Signed by
                     Magistrate Judge Scott D. Johnson on 1/4/2024. (This is a TEXT ENTRY ONLY. There
                     is no hyperlink or PDF document associated with this entry.) (KAH) (Entered:

                                                                                                        24-30115.57
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                     01/04/2024)

01/09/2024     220   MOTION for Charlton J. Meginley to Withdraw as Attorney by R. Kyle Ardoin
                     (Attachments: # 1 Proposed Pleading; Proposed Order)(Walsh, John) Modified on
                     1/17/2024 to replace document as per Order # 231 (LLH). (Entered: 01/09/2024)

01/09/2024     221   NOTICE of Substitution by R. Kyle Ardoin (Strach, Phillip) (Entered: 01/09/2024)

01/10/2024     222   ORDER granting 215 Motion to Withdraw Angelique Freel as Attorney. Signed by
                     Magistrate Judge Scott D. Johnson on 1/10/2024. (This is a TEXT ENTRY ONLY. There
                     is no hyperlink or PDF document associated with this entry.) (KAH) (Entered:
                     01/10/2024)

01/10/2024     223   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                     Dick held on 11/27/2023. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                     225-389-3567.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/31/2024. Redacted
                     Transcript Deadline set for 2/12/2024. Release of Transcript Restriction set for 4/9/2024.
                     (Thompson, Shannon) (Entered: 01/10/2024)

01/10/2024     225   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                     Dick held on 11/29/2023. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                     225-389-3567.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/31/2024. Redacted
                     Transcript Deadline set for 2/12/2024. Release of Transcript Restriction set for 4/9/2024.
                     (Thompson, Shannon) (Entered: 01/10/2024)

01/10/2024     226   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                     Dick held on 12/4/2023. Court Reporter: Shannon L. Thompson, CCR. Phone Number:
                     225-389-3567.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.


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                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/31/2024. Redacted
                     Transcript Deadline set for 2/12/2024. Release of Transcript Restriction set for 4/9/2024.
                     (Thompson, Shannon) (Entered: 01/10/2024)

01/10/2024     227   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial - Proffered testimony
                     of Michael Barber, Ph.D. before Judge Shelly D. Dick held on 12/4/2023. Court Reporter:
                     Shannon L. Thompson, CCR. Phone Number: 225-389-3567.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/31/2024. Redacted
                     Transcript Deadline set for 2/12/2024. Release of Transcript Restriction set for 4/9/2024.
                     (Thompson, Shannon) (Entered: 01/10/2024)

01/10/2024     228   NOTICE OF FILING OF OFFICIAL TRANSCRIPT: Bench Trial before Judge Shelly D.
                     Dick held on 11/30/2023. Court Reporter: Teri Norton. Phone Number: (601)608-4186.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/31/2024. Redacted
                     Transcript Deadline set for 2/12/2024. Release of Transcript Restriction set for 4/9/2024.
                     (Thompson, Shannon) (Entered: 01/10/2024)

01/10/2024     229   NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Bench Trial before Judge Shelly
                     D. Dick held on 12/01/2023. Court Reporter: Teri Norton. Phone Number:
                     (601)608-4186.

                     NOTICE RE: REDACTION OF TRANSCRIPTS: The parties have seven (7) calendar
                     days to file with the Court a Notice of Intent to Request Redaction of this transcript. If no
                     such Notice is filed, the transcript will be made remotely electronically available to the
                     public without redaction after 90 calendar days. The policy is located on our website at
                     www.lamd.uscourts.gov.

                     Transcript may be viewed at the court public terminal or purchased through the Court
                     Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
                     date it may be obtained through PACER.. Redaction Request due 1/31/2024. Redacted
                     Transcript Deadline set for 2/12/2024. Release of Transcript Restriction set for 4/9/2024.
                     (Thompson, Shannon) (Entered: 01/10/2024)

01/10/2024


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                     MOTION(S) REFERRED: 220 MOTION for Charlton J. Meginley to Withdraw as
                     Attorney . This motion is now pending before the USMJ. (ELW) (Entered: 01/10/2024)

01/11/2024     230   MOTION to Substitute 220 Motion to Withdraw Counsel of Record by R. Kyle Ardoin
                     (Attachments: # 1 Proposed Pleading; Motion to Withdraw Counsel of Record, # 2
                     Proposed Pleading; Proposed Order)(Walsh, John) Modified on 1/17/2024 to create
                     motion linkage (ELW). (Entered: 01/11/2024)

01/17/2024           MOTION(S) REFERRED: 230 MOTION to Substitute Motion to Withdraw Counsel of
                     Record . This motion is now pending before the USMJ. (ELW) (Entered: 01/17/2024)

01/17/2024     231   ORDER granting 230 MOTION to Substitute Motion to Withdraw Counsel of Record
                     filed by R. Kyle Ardoin. Signed by Magistrate Judge Scott D. Johnson on 1/17/2024.
                     (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with
                     this entry.) (KAH) (Entered: 01/17/2024)

01/18/2024     232   ORDER granting 220 Motion to Withdraw Charlton J. Meginley as Attorney. Signed by
                     Magistrate Judge Scott D. Johnson on 1/18/2024. (This is a TEXT ENTRY ONLY. There
                     is no hyperlink or PDF document associated with this entry.) (KAH) (Entered:
                     01/18/2024)

02/08/2024     233   RULING AND ORDER: The Court finds that the State House and Senate electoral maps
                     enacted by the Louisiana legislature (S.B. 1 and H.B. 14) violate § 2 of the Voting Rights
                     Act. Elections under S.B. 1 and H.B. 14 be and are hereby ENJOINED. The State is
                     hereby permitted a reasonable period of time, to be determined by the Court following
                     submittals by the parties, to address the Court's findings and implement State House and
                     Senate election maps that comply with § 2 of the Voting Rights Act. Signed by Chief
                     Judge Shelly D. Dick on 2/8/2024. (DCB) (Entered: 02/08/2024)

02/08/2024     234   Appendix to 233 Ruling and Order. Signed by Chief Judge Shelly D. Dick on 2/8/2024.
                     (DCB) (Entered: 02/08/2024)

02/12/2024     235   MOTION to Set Schedule for Remedial Proceedings by Black Voters Matter Capacity
                     Building Institute, Steven Harris, Louisiana State Conference of the NAACP, Clee E.
                     Lowe, Dorothy Nairne, Alice Washington (Attachments: # 1 Memorandum in Support, #
                     2 Exhibit 1 - Proposed Scheduling Order)(Keenan, Megan) (Entered: 02/12/2024)

02/12/2024     236   MOTION for Scheduling Conference by Black Voters Matter Capacity Building Institute,
                     Steven Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne,
                     Alice Washington (Attachments: # 1 Memorandum in Support, # 2 Proposed
                     Order)(Keenan, Megan) (Entered: 02/12/2024)

02/13/2024     237   MOTION for Special Election and Expedited Briefing Schedule by Black Voters Matter
                     Capacity Building Institute, Steven Harris, Louisiana State Conference of the NAACP,
                     Clee E. Lowe, Dorothy Nairne, Alice Washington (Attachments: # 1 Memorandum in
                     Support, # 2 Proposed Order Granting Expedited Briefing, # 3 Proposed Order Granting
                     Special Election)(Keenan, Megan). Added MOTION for Expedited Briefing Schedule on
                     2/14/2024 (ELW). (Entered: 02/13/2024)

02/14/2024     238   ORDER: Defendants and Intervenors are hereby ORDERED to file responses to Plaintiffs
                     Motion to Set Schedule for Remedial Proceedings 235 and Motion for Special Election
                     237 on or before 10 AM on Tuesday, February 20, 2024. The Court hereby sets this
                     matter for a Scheduling Conference at 2pm on February 21, 2024, in Courtroom 3.
                     Enrolled Counsel only. Set Hearings: Scheduling Conference set for 2/21/2024 at 02:00
                     PM in Courtroom 3 before Chief Judge Shelly D. Dick. Enrolled Counsel only. Counsel
                     may participate by telephone upon seeking leave of Court. Signed by Chief Judge Shelly

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                     D. Dick on 02/14/2024. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                     document associated with this entry.)(ELW) Modified on 2/14/2024 to edit text (ELW).
                     (Entered: 02/14/2024)

02/15/2024     239   Consent MOTION for Leave to Appear by Videoconference by United States of America
                     (Attachments: # 1 Attachment Proposed Order)(Freeman, Daniel) (Entered: 02/15/2024)

02/16/2024     240   Ex Parte MOTION for Leave to Participate Remotely by Phillip DeVillier, Cameron
                     Henry (Attachments: # 1 Proposed Pleading; proposed Order)(Mengis, Michael) (Entered:
                     02/16/2024)

02/19/2024     241   NOTICE OF APPEAL to the USCA for the 5th Circuit by R. Kyle Ardoin. Filing fee $
                     605, receipt number ALAMDC-2714527. The transcript request form for appeal cases is
                     located at www.lamd.uscourts.gov/local-forms/all-local-forms. (Strach, Phillip) (Entered:
                     02/19/2024)

02/19/2024     242   NOTICE OF APPEAL to the USCA for the 5th Circuit of 233 Order,, by State of
                     Louisiana. Filing fee $ 605, receipt number BLAMDC-2714637. The transcript request
                     form for appeal cases is located at www.lamd.uscourts.gov/local-forms/all-local-forms.
                     (Jones, Carey) (Entered: 02/19/2024)

02/19/2024     243   Ex Parte MOTION for Leave to Permit Some Plaintiffs' Counsel to Participate Remotely
                     in Scheduling Conference by Black Voters Matter Capacity Building Institute, Steven
                     Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Alice
                     Washington (Attachments: # 1 Proposed Order)(Keenan, Megan) (Entered: 02/19/2024)

02/20/2024     244   MEMORANDUM in Opposition to 237 MOTION for Special Election and Expedited
                     Briefing Schedule MOTION for Expedited Hearing filed by State of Louisiana. (Jones,
                     Carey) (Entered: 02/20/2024)

02/20/2024     245   ORDER granting 239 MOTION filed by United States of America for Leave to Appear at
                     the status conference remotely. Counsel for the United States be is hereby granted leave to
                     participate by Telephone.. Signed by Chief Judge Shelly D. Dick on 2/20/2024. (This is a
                     TEXT ENTRY ONLY. There is no hyperlink or PDF document associated with this
                     entry.) (Dick, Shelly) (Entered: 02/20/2024)

02/20/2024     246   ORDER granting 240 Ex Parte MOTION for Leave to Participate Remotely filed by
                     Phillip DeVillier, Cameron Henry. Movants are hereby granted leave to participant in the
                     status conference scheduled on 2/21/2024 by telephone.Signed by Chief Judge Shelly D.
                     Dick on 2/20/2024. (This is a TEXT ENTRY ONLY. There is no hyperlink or PDF
                     document associated with this entry.) (Dick, Shelly) (Entered: 02/20/2024)

02/20/2024     247   ORDER granting 243 Ex Parte MOTION for Leave to Permit Some Plaintiffs' Counsel to
                     Participate Remotely in Scheduling Conference filed by Black Voters Matter Capacity
                     Building Institute, Steven Harris, Louisiana State Conference of the NAACP, Clee E.
                     Lowe, Dorothy Nairne, Alice Washington. Movants are hereby granted leave to
                     participate in the Status Conference scheduled on 2/21/2024 by telephone.. Signed by
                     Chief Judge Shelly D. Dick on 2/21/2024. (This is a TEXT ENTRY ONLY. There is no
                     hyperlink or PDF document associated with this entry.) (Dick, Shelly) (Entered:
                     02/20/2024)

02/21/2024     248   ORDER: The Scheduling Conference set for February 21, 2024, at 2:00 pm in Courtroom
                     3 is CANCELLED. Signed by Chief Judge Shelly D. Dick on 2/21/2024. (This is a TEXT
                     ENTRY ONLY. There is no hyperlink or PDF document associated with this
                     entry.)(SWE) (Entered: 02/21/2024)



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02/22/2024     249   MOTION for Leave to File Reply Motion in Support of Special Elections by Black Voters
                     Matter Capacity Building Institute, Steven Harris, Louisiana State Conference of the
                     NAACP, Clee E. Lowe, Dorothy Nairne, Alice Washington (Keenan, Megan) (Entered:
                     02/22/2024)

02/26/2024     250   USCA Case Number 24-30115 for 241 Notice of Appeal to the USCA for the 5th Circuit,
                     filed by R. Kyle Ardoin, 242 Notice of Appeal to the USCA for the 5th Circuit, filed by
                     State of Louisiana. (NLT) (Entered: 02/26/2024)

02/29/2024     251   MOTION for John E. Branch, III to Withdraw as Attorney by R. Kyle Ardoin
                     (Attachments: # 1 Attachment - Proposed Order)(Branch, John) (Entered: 02/29/2024)

03/01/2024     252   TRANSCRIPT REQUEST by State of Louisiana re 242 Notice of Appeal to the USCA
                     for the 5th Circuit, (Torchinsky, Jason) (Entered: 03/01/2024)

03/01/2024           MOTION(S) REFERRED: 251 MOTION for John E. Branch, III to Withdraw as
                     Attorney . This motion is now pending before the USMJ. (NLT) (Entered: 03/01/2024)

03/01/2024     253   ORDER granting 251 Motion to Withdraw John E. Branch, III as Attorney. Signed by
                     Magistrate Judge Scott D. Johnson on 3/1/2024. (This is a TEXT ENTRY ONLY. There
                     is no hyperlink or PDF document associated with this entry.) (KAH) (Entered:
                     03/01/2024)

03/05/2024     254   MOTION for Scheduling Conference by Black Voters Matter Capacity Building Institute,
                     Steven Harris, Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne,
                     Alice Washington (Attachments: # 1 Memorandum in Support, # 2 Exhibit A - Proposed
                     Order Granting Alternative Remedial Schedule)(Keenan, Megan) (Entered: 03/05/2024)

03/06/2024     255   NOTICE OF APPEAL to the USCA for the 5th Circuit of 233 Order,, 234 Order by
                     Phillip DeVillier, Cameron Henry. Filing fee $ 605, receipt number ALAMDC-2723066.
                     The transcript request form for appeal cases is located at
                     www.lamd.uscourts.gov/local-forms/all-local-forms. (Mengis, Michael) (Entered:
                     03/06/2024)

03/06/2024     256   NOTICE of Briefing Schedule on 254 MOTION for Scheduling Conference : Opposition
                     to the motion shall be filed BY 3/13/2024. (This is a TEXT ENTRY ONLY. There is no
                     hyperlink or PDF document associated with this entry.) (SWE) (Entered: 03/06/2024)

03/06/2024     257   MOTION for Colin Burke to Appear Pro Hac Vice (Filing fee $100.00, Receipt Number
                     ALAMDC-2723483) by Black Voters Matter Capacity Building Institute, Steven Harris,
                     Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Rose
                     Thompson, Alice Washington (Attachments: # 1 Certificate of Good Standing, # 2
                     Declaration/Oath, # 3 Proposed Order)(Adcock, John) (Entered: 03/06/2024)

03/11/2024     258   TRANSCRIPT REQUEST by R. Kyle Ardoin re 241 Notice of Appeal to the USCA for
                     the 5th Circuit, (Strach, Phillip) (Entered: 03/11/2024)

03/11/2024     259   TRANSCRIPT REQUEST by R. Kyle Ardoin re 241 Notice of Appeal to the USCA for
                     the 5th Circuit, (Strach, Phillip) (Entered: 03/11/2024)

03/11/2024     260   TRANSCRIPT REQUEST by R. Kyle Ardoin re 241 Notice of Appeal to the USCA for
                     the 5th Circuit, (Strach, Phillip) (Entered: 03/11/2024)

03/11/2024     261   TRANSCRIPT REQUEST by R. Kyle Ardoin re 241 Notice of Appeal to the USCA for
                     the 5th Circuit, (Strach, Phillip) (Entered: 03/11/2024)

03/11/2024     262


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                      TRANSCRIPT REQUEST by R. Kyle Ardoin re 241 Notice of Appeal to the USCA for
                      the 5th Circuit, (Strach, Phillip) (Entered: 03/11/2024)

 03/11/2024     263   MOTION to Substitute Transcript Order Form by State of Louisiana (Attachments: # 1
                      Proposed Pleading; Transcript Order Form, # 2 Proposed Pleading; Order to Allow
                      Substitution)(Jones, Carey) (Entered: 03/11/2024)

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                                                                                                 24-30115.63
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                    Tab 2
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                                UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF LOUISIANA

DOROTHY NAIRNE, et al
                                                                            CIVIL ACTION
versus
                                                                          22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana

                                     RULING AND ORDER

         Plaintiffs, a group of Black Louisianans and two nonprofit organizations, brought

this suit against Kyle Ardoin, the Louisiana Secretary of State in his official capacity,

alleging that the 2022 redistricting plans for the Louisiana House of Representatives and

State Senate unlawfully dilute Black voting strength in violation of § 2 of the Voting Rights

Act of 1965 (“VRA”), 52 U.S.C. § 10301. 1 Patrick Page Cortez, the President of the

Louisiana State Senate, and Clay Schexnayder, the Speaker of the Louisiana House of

Representatives, intervened in the suit as Defendants, as did Louisiana Attorney General

Jeff Landry (collectively, “the Intervenor Defendants”). 2

         This matter came before the Court for a seven-day non-jury trial on the merits

beginning November 27, 2023 and ending December 5, 2023. Thereafter, Plaintiffs and

Defendants (along with the Intervenor Defendants) filed post-hearing briefs. 3 The Court

has considered the Parties' pre-trial and post-trial submissions, the evidence admitted at

trial, and the arguments presented, and the Court finds that Plaintiffs have satisfied their

burden of proving that the Louisiana State House and Senate electoral maps enacted by

the Louisiana Legislature (S.B. 1 and H.B. 14) violate § 2 of the VRA.


1 Rec. Doc. 14.
2 Rec. Doc. 13; Rec. Doc. 33.
3 Rec. Doc. 206; Rec. Doc. 207.


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         Throughout the reasons that follow, the Court makes credibility findings, findings

of fact, and conclusions of law. In fidelity to Rule 52(a) and for ease of review, the Court

appends separately enumerated findings of facts and conclusions of law to its opinion.

I.       FACTUAL BACKGROUND

         The Louisiana State Legislature is responsible for drawing the boundaries of the

state legislative districts. The number of state legislative districts is set by the Louisiana

State Constitution. Pursuant to La. Const. art. III, § 3, there are 39 State Senate districts

and 105 State House districts. In 2021, the Legislature adopted Joint Rule 21, which sets

forth the criteria that any redistricting plan submitted for consideration by the Legislature

must satisfy. Each redistricting plan must comply with the Equal Protection Clause of the

Fourteenth Amendment and the Fifteenth Amendment to the U.S. Constitution; § 2 of the

VRA, and all other applicable federal and state laws. 4 Joint Rule 21 also requires that

each legislative redistricting plan: (1) provide for single-member districts; (2) comprise

districts that have a population as nearly equal to the ideal district population as

practicable; and (3) be a whole plan which assigns all of the geography of the State. 5

Additionally, “[a]ll redistricting plans shall respect the established boundaries of parishes,

municipalities, and other political subdivisions and natural geography of this state to the

extent practicable.”6

         Plaintiffs, a group of Black Louisianans and Louisiana nonprofit organizations, filed

this suit seeking a preliminary injunction on March 14, 2022, alleging that the 2022

redistricting plans for the Louisiana House of Representatives and State Senate



4 Joint-56, Joint Rule 21.
5 Id., § D.
6 Id., § H.


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unlawfully diluted their votes in violation of § 2 of the VRA. 7 The Court converted the

matter to a trial on the merits on June 21, 2023. 8

II.      APPLICABLE LAW

         “The essence of a § 2 claim is that a certain electoral law, practice, or structure

interacts with social and historical conditions to cause an inequality in the opportunities

enjoyed by black and white voters to elect their preferred representatives.” 9 Thornburg v.

Gingles sets forth three threshold conditions for a claim of vote dilution under § 2: “first,

that [the minority group] is sufficiently large and geographically compact to constitute a

majority in a single-member district”; second, “that it is politically cohesive”; and third, “that

the white majority votes sufficiently as a bloc to enable it ... usually to defeat the minority's

preferred candidate.” 10

         “The ‘geographically compact majority’ and ‘minority political cohesion’ showings

are needed to establish that the minority has the potential to elect a representative of its

own choice in some single-member district. And the ‘minority political cohesion’ and

‘majority bloc voting’ showings are needed to establish that the challenged districting

thwarts a distinctive minority vote by submerging it in a larger white voting population.” 11

“Unless these points are established, there neither has been a wrong nor can [there] be

a remedy.”12 Consequently, if Plaintiffs fail to establish any one of these three conditions,

the Court need not consider the other two. 13




7 Rec. Doc. 14.
8 Rec. Doc. 93.
9 Thornburg v. Gingles, 478 U.S. 30, 47 (1986).
10 Growe v. Emison, 507 U.S. 25, 40 (1993) (citing Gingles, 478 U.S. at 50–51).
11 Id. (citations omitted).
12 Id. at 40–41.
13 See Voinovich v. Quilter, 507 U.S. 146, 158 (1993).


                                                    3

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        Under the first prong of Gingles, “a party asserting § 2 liability must show by a

preponderance of the evidence that the minority population in the potential election district

is greater than 50 percent.”14 Because “only eligible voters affect a group’s opportunity to

elect candidates,”15 this requirement is analyzed in terms of Black voting-age population

(or “BVAP”). Proving the existence of a sufficiently large minority population does not end

the inquiry; compactness is also required. If the minority population is dispersed such that

a reasonably compact majority-minority district cannot be drawn, “§ 2 does not require a

majority-minority district....”16

        “While no precise rule has emerged governing § 2 compactness, the inquiry should

take into account traditional districting principles such as maintaining communities of

interest and traditional boundaries.”17 “Community of interest” is a term of art that has no

universal definition in the districting context. Visual assessments are appropriate when

assessing compactness. “[B]izarre shaping of” a district that, for example, “cut[s] across

pre-existing precinct lines and other natural or traditional divisions,” suggests “a level of

racial manipulation that exceeds what § 2 could justify.” 18

        Other traditional districting principles that should be considered are contiguity and

protecting of incumbents. “Contiguity as a traditional redistricting principle does not mean

that that the concentrations of [Black] voters in the proposed district must be contiguous.

Rather, it means that the illustrative district be connected in one piece.” 19 Regarding the



14 Bartlett v. Strickland, 556 U.S. 1, 19–20 (2009).
15 League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 429 (2006).
16 Bush v. Vera, 517 U.S. 952, 979 (1996).
17 LULAC, 548 U.S. at 433 (internal quotation marks omitted).
18 Vera, 517 U.S. at 980–81.
19 See Ala. State Conf. of Nat’l Ass’n for Advancement of Colored People v. Ala., 612 F. Supp. 3d 1232,

1263 (M.D. Ala. 2020) (quoting Terrebonne Par. Branch NAACP v. Jindal, 274 F. Supp. 3d 395, 424 (M.D.
La. 2017)).

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protection of incumbents, the redistricting process should “avoid contests between

incumbent officer-holders.” 20

        To determine whether Plaintiffs satisfy the first Gingles requirement, the Court

compares the Enacted Map with Plaintiffs’ Illustrative Plan. 21 The Court’s comparison is

for the limited purpose of evaluating Gingles I, which requires a district that is “reasonably

compact and regular”; 22 compactness is not a “beauty contest[]” 23 where the most

attractively shaped district carries the day.

        The second and third requirements of Gingles require Plaintiffs to establish that

voting in the challenged districts is racially polarized. 24 As the Supreme Court has

explained, “in the absence of significant white bloc voting it cannot be said that the ability

of minority voters to elect their chosen representatives is inferior to that of white voters.” 25

        If Plaintiffs establish all three Gingles requirements, the Court then analyzes

whether a § 2 violation has occurred based on the “totality of the circumstances.” At this

step, the Court considers the Senate Factors, which include:

        the history of voting-related discrimination in the State or political
        subdivision; the extent to which voting in the elections of the State or
        political subdivision is racially polarized; the extent to which the State or
        political subdivision has used voting practices or procedures that tend to
        enhance the opportunity for discrimination against the minority group, such
        as unusually large election districts, majority vote requirements, and
        prohibitions against bullet voting; the exclusion of members of the minority
        group from candidate slating processes; the extent to which minority group
        members bear the effects of past discrimination in areas such as education,
        employment, and health, which hinder their ability to participate effectively
        in the political process; the use of overt or subtle racial appeals in political


20 See id. at 1263 (citing Karcher v. Daggett, 462 U.S. 725, 740 (1983)).
21 LULAC, 548 U.S. at 430 (citing Johnson v. De Grandy, 512 U.S. 997, 1008 (1994) (requiring “a

comparison between a challenger's proposal and the ‘existing number of reasonably compact districts’”).
22 Vera, 517 U.S. at 977 (emphasis in original).
23 Id.
24 See, e.g., LULAC, 548 U.S. at 427.
25 Voinovich v. Quilter, 507 U.S. 146, 158 (1993) (quoting Gingles, 478 U.S. at 49 n.15).


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        campaigns; and the extent to which members of the minority group have
        been elected to public office in the jurisdiction. 26

Supreme Court precedent also dictates that the Court must consider whether the number

of majority-Black districts in the Enacted Map is roughly proportional to the Black share

of the population in Louisiana. 27

        Not relevant to the Court’s inquiry is whether the Louisiana Legislature intended to

dilute the votes of Black Louisianans. The Court’s § 2 analysis “assess[es] the impact of

the contested structure or practice on minority electoral opportunities on the basis of

objective factors.” 28 The Legislature’s intent is therefore “the wrong question.”29 “The ‘right

question . . . is whether ‘as a result of the challenged practice or structure plaintiffs do not

have an equal opportunity to participate in the political processes and to elect candidates

of their choice.’” 30

        Prior to analyzing the substantive merits of Plaintiffs’ claim under the applicable

law, the Court will address procedural/preliminary matters raised by Defendants.

III.    PRELIMINARY MATTERS

        A. Standing

        Defendants moved for summary dismissal of Plaintiffs’ claims prior to trial by

alleging that Plaintiffs lacked the requisite standing to proceed. 31 Four Individual Plaintiffs

remain in this matter: Dr. Dorothy Nairne, Reverend Clee Earnest Lowe, Dr. Alice

Washington, and Steven Harris. There are also two entity Plaintiffs: Black Voters Matter



26 Caster v. Merrill, No. 2:21-CV-1536-AMM, 2022 WL 264819, at *20 (N.D. Ala. Jan. 24, 2022) (citing

Johnson v. De Grandy, 512 U.S. 997, 1010 n.9 (1994)).
27 See LULAC, 548 U.S. at 426; De Grandy, 512 U.S. at 1000.
28 Gingles, 478 U.S. at 44 (internal quotation marks and citation omitted).
29 Id. (internal quotation marks and citation omitted).
30 Id. (internal citation omitted).
31 Rec. Doc. 149.


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Capacity Building Institute (“BVM”) and the Louisiana State Conference of the National

Association for the Advancement of Colored People (the “Louisiana NAACP” or

“NAACP”).

         The Court denied Defendants’ Motion for Summary Judgment. 32 In its Ruling, the

Court found that based on the summary judgment evidence presented, Plaintiffs met the

constitutional standing requirements for purposes of defeating Defendants’ summary

judgment Motion. 33 Additional evidence has since been introduced at trial proving that all

Plaintiffs have standing.

         “Article III standing is a jurisdictional prerequisite.” 34 If the plaintiff lacks standing

to bring a claim, the Court lacks subject matter jurisdiction over the claim. 35 The party

seeking to invoke federal jurisdiction bears the burden of showing that standing existed

at the time the lawsuit was filed. 36 Article III of the Constitution limits federal courts’

jurisdiction to certain “cases” and “controversies.” “[N]o principle is more fundamental to

the judiciary’s proper role in our system of government than the constitutional limitation

of federal-court jurisdiction to actual cases or controversies.”37 “One element of the case-

or-controversy requirement” is that Plaintiffs “must establish that they have standing to




32 Rec. Doc. 181.
33 Id.
34 Crenshaw-Logal v. City of Abilene, Tex., 436 F. App’x. 306, 308 (5th Cir. 2011) (citing Steel Co. v. Citizens

for a Better Env’t, 523 U.S. 83, 101 (1998); Xerox Corp. v. Genmoora Corp., 888 F.2d 345, 350 (5th Cir.
1989)).
35 See Whitmore v. Ark., 495 U.S. 149, 154–55 (1990); Chair King, Inc. v. Hous. Cellular Corp., 131 F.3d

507, 509 (5th Cir. 1997), abrogated by Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012).
36 See Howery v. Allstate Ins. Co., 243 F.3d 912, 916 (5th Cir. 2001); Ramming v. U.S., 281 F.3d 158, 161

(5th Cir. 2001); The M.D. Anderson Cancer Ctr. v. Novak, 52 S.W.3d 704, 708 (Tex. 2001).
37 DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006) (internal quotation marks omitted) (quoting

Raines v. Byrd, 521 U.S. 811, 818 (1997) (internal quotation marks omitted)). See, e.g., Summers v. Earth
Island Inst., 555 U.S. 488, 492–493 (2009).

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sue.” 38 The United States Supreme Court has held that “the irreducible constitutional

minimum of standing contains three elements”: 39

        First, the plaintiff must have suffered an injury in fact—an invasion of a
        legally protected interest which is (a) concrete and particularized, and (b)
        actual or imminent, not conjectural or hypothetical. Second, there must be
        a causal connection between the injury and the conduct complained of—
        the injury has to be fairly traceable to the challenged action of the defendant,
        and not the result of the independent action of some third party not before
        the court. Third, it must be likely, as opposed to merely speculative, that the
        injury will be redressed by a favorable decision. 40

        To establish Article III standing, an injury must be “concrete, particularized, and

actual or imminent.”41 A particularized injury is one which “affect[s] the plaintiff in a

personal and individual way.” 42 “Although imminence is concededly a somewhat elastic

concept, it cannot be stretched beyond its purpose, which is to ensure that the alleged

injury is not too speculative for Article III purposes—that the injury is certainly

impending.” 43 “Allegations of possible future injury” do not suffice. 44

        i.      Standing of Individual Plaintiffs

        To have standing, the Individual Plaintiffs must allege that they are Black,

registered voters who reside in a cracked or packed voting district under the Enacted

Map. “In vote dilution cases, the ‘harm arises from the particular composition of the voter’s

own district, which causes his vote—having been packed or cracked—to carry less weight




38 Raines, 521 U.S. at 818. See also Summers, 555 U.S. at 492–493; DaimlerChrysler Corp., 547 U.S. at

342; Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).
39 Lujan, 504 U.S. at 560.
40 Id. at 560–61 (internal citations and quotation marks omitted).
41 Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 149 (2010).
42 Gill v. Whitford, 138 S. Ct. 1916, 1929 (2018) (quoting Lujan, 504 U.S. at 560 n.1).
43 Lujan, 504 U.S. at 564 n.2 (internal quotation marks omitted).
44 Whitmore v. Ark., 495 U.S. 149, 158 (1990) (emphasis added).


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than it would carry in another, hypothetical district.’” 45 The Plaintiffs alleged and the trial

evidence established that:

         Dr. Dorothy Nairne is a Black registered voter and NAACP member who resides

in Assumption Parish and House District 60. Under the Illustrative House Plan created by

Plaintiffs’ expert William Cooper and introduced into evidence at trial, Dr. Nairne would

reside within the boundaries of Illustrative House District 58. 46

         Reverend Clee Earnest Lowe is a Black registered voter who resides in East Baton

Rouge Parish and House District 66, but who would reside within the boundaries of

Illustrative House District 101. 47

         Dr. Alice Washington is a Black registered voter who resides in East Baton Rouge

Parish and House District 66, but who would reside within the boundaries of Illustrative

House District 101. 48

         Steven Harris is a Black registered voter and NAACP member who resides in

Natchitoches Parish and House District 25, but who would reside within the boundaries

of Illustrative House District 23. 49

         The Plaintiffs allege and the record establishes that each Individual Plaintiff

currently lives in a packed or cracked district in the Enacted Map and would live in a

majority-Black district under the Illustrative Plan. The Individual Plaintiffs alleged that

cracked and packed legislative districts effectively denied them an equal opportunity to




45 Anne Harding v. Cnty. of Dallas, Tex., 948 F.3d 302, 307 (5th Cir. 2020).
46 Rec. Doc. 225, p. 52, line 17–p. 53, line 11.
47 Id. at p. 58, line 25–p. 59, line 14.
48 Id.
49 Id. at p. 49, lines 10–20.


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elect a candidate of their choice. The Court finds that individual Plaintiffs have standing

to challenge the alleged vote dilution.

        ii.     Standing of Organizational Plaintiffs

        When a plaintiff is an organization, “the standing requirements of Article III can be

satisfied in two ways. Either the organization can claim that it suffered an injury in its own

right or, alternatively, it can assert ‘standing solely as the representative of its

members.’” 50 Organizational and associational standing are alternative paths for the

plaintiff organization to satisfy Article III standing. For example, “[e]ven in the absence of

injury to itself, an association may have standing solely as the representative of its

members.” 51 A plaintiff’s specific claims determine which one type of standing must be

satisfied, as it depends on who suffered the injury alleged and what relief is sought. 52

        The Plaintiffs’ alleged and the trial evidence established the standing of both BVM

and the Louisiana NAACP.

                a. Associational Standing of the NAACP

        An organization has associational standing to bring suit on behalf of its members

when: “(a) its members would otherwise have standing to sue in their own right; (b) the

interests it seeks to protect are germane to the organization’s purpose; and (c) neither

the claim asserted nor the relief requested requires the participation of individual




50 Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 199 (2023)

(quoting Warth v. Seldin, 422 U.S. 490, 511 (1975)).
51 Warth v. Seldin, 422 U.S. at 511.
52 Id. at 515 (“whether an association has standing to invoke the court’s remedial powers on behalf of its

members depends in substantial measure on the nature of the relief sought. If in a proper case the
association seeks a declaration, injunction, or some other form of prospective relief, it can reasonably be
supposed that the remedy, if granted, will inure to the benefit of those members of the association actually
injured. Indeed, in all cases in which we have expressly recognized standing in associations to represent
their members, the relief sought has been of this kind.”).

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members in the lawsuit.” 53 Because the organization’s members should otherwise have

standing to sue in their own right, “[t]he association must allege that its members, or any

one of them, are suffering immediate or threatened injury as a result of the challenged

action of the sort that would make out a justiciable case had the members themselves

brought suit.” 54 The relief sought, such as a declaration, injunction, or other form of

prospective relief, also must be for “the benefit of those members of the association

actually injured.”55

       At trial, the Louisiana NAACP presented evidence of members who would have

standing in their own right. Plaintiffs identified Louisiana NAACP members who are Black

registered voters whose vote is allegedly diluted by the district where they live. The

Louisiana NAACP’s president Michael McClanahan testified under seal to the names and

addresses of those individuals. 56 Redressability was demonstrated by the testimony of

William Cooper, who testified to the unpacked or uncracked majority-Black illustrative

districts in which the identified members would reside under the Illustrative Plan. 57

       Contrary to Defendants’ assertions, the NAACP’s membership structure does not

preclude it from demonstrating associational standing. Testimony was introduced at trial

demonstrating that members of the NAACP are simultaneously members of the local

NAACP branch in their area, the Louisiana NAACP, and the national NAACP. 58 The Fifth

Circuit has instructs that courts should not “exalt form over substance” when assessing




53 Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 343 (1977).
54 Id. at 432 U.S. at 342 (quoting Warth, 422 U.S. at 511).
55 Warth, 422 U.S. at 515.
56 Rec. Doc. 224 (SEALED), p. 5, line 22–p. 31, line 12.
57 Rec. Doc. 225, p. 38, line 23–p. 59, line 14.
58 Rec. Doc. 223, p. 120, lines 2–7.


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membership for associational standing. 59 Accordingly, the individuals who make up the

branches of the Louisiana NAACP can be said to be “members” of the NAACP for

purposes of associational standing.

       The remaining elements for associational standing were also demonstrated. As the

Fifth Circuit has previously held, “protecting the strength of votes . . . [is] surely germane

to the NAACP’s expansive mission” at all levels of the organization. 60 Finally, because

the Louisiana NAACP seeks prospective and injunctive relief instead of individualized

damages, participation of individual members is not required. 61 Plaintiffs established the

associational standing of the Louisiana NAACP.

                 b. Organizational Standing of NAACP and BVM

        An organization “can establish standing in its own name if it ‘meets the same

standing test that applies to individuals.’”62 An organizational Plaintiff must demonstrate

the same “injury-in-fact,” traceability, and redressability required of individual plaintiffs.

The Fifth Circuit has held that nonprofit organizations can suffer an Article III injury when

a defendant’s actions frustrate their missions and force them to “divert [] significant

resources to counteract the defendant’s conduct.”63 Organizational standing based on

resource diversion arises when “the defendant’s conduct significantly and ‘perceptibly

impair[s]’ the organization’s ability to [conduct] its ‘activities—with the consequent drain



59 Friends of the Earth, Inc. v. Chevron Chem. Co., 129 F.3d 826, 828 (5th Cir. 1997) (citing Hunt, 432 U.S.

at 345).
60 Hancock Cnty. Bd. of Supervisors v. Ruhr, 487 F. App’x 189, 197 (5th Cir. 2012) (“Maintaining

proportional districts, protecting the strength of votes, and safeguarding the fairness of elections are surely
germane to the NAACP’s expansive mission.”).
61 Consumer Data Indus. Ass’n v. Tex. ex rel Paxton, 21-51038, 2023 WL 4744918, at *4 n.7 (5th Cir. 2023)

(“Participation of individual members generally is not required when the association seeks prospective or
injunctive relief, as opposed to damages.”).
62 OCA-Greater Hous. v. Tex., 867 F.3d 604, 610 (5th Cir. 2017) (quoting Fowler, 178 F.3d at 356).
63 NAACP v. City of Kyle, Texas, 626 F.3d 233, 238 (5th Cir. 2010).


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on the organization’s resources . . . .’ Such injury must be ‘concrete and demonstrable.’” 64

“Not every diversion of resources to counteract the defendant’s conduct, however,

establishes an injury in fact.”65

         At trial, the Court was presented with testimony that, in response to the Enacted

Map, BVM diverted resources away from its core mission of expanding Black voter

engagement and building capacity in partner organizations. 66 Instead, BVM launched

new accountability initiatives to hold elected officials accountable to Black voters in order

to counteract the map’s dilutive effect. 67 The Court also heard testimony that the Enacted

Map caused voter apathy, requiring BVM to devote additional staff time and resources

toward convincing Black voters that their votes matter. 68 The Court finds that Black

registered voters were discouraged by what they perceived as deafness to their appeals

at the redistricting roadshows. This voter frustration manifested in increased voter apathy,

causing BVM to divert mission-specific resources to voter retention efforts.

         Following the passage of the Enacted Maps, the Louisiana NAACP also undertook

additional organization and mobilization efforts to counteract the effects of the Enacted

Maps on voter disillusionment, potential candidates, and funders’ willingness to invest

resources into Black communities in Louisiana. 69

         Plaintiffs presented testimony proving that in an effort to counteract the Enacted

Maps’ dilutive effect, the organizational Plaintiffs diverted resources from their core




64 Id. (internal citations omitted).
65 Id.
66 Rec. Doc. 223, p. 164, line 22–p. 165, line 3; p. 167, line 8–p. 186, line 13; p. 201, line 20–p. 202, line 5.
67 Rec. Doc. 223, p. 177, line 2–p. 179, line 19; Pla-207; Pla-208.
68 Rec. Doc. 223, p. 175, lines 7–17; p. 179, line 20–p. 183, line 5.
69 Rec. Doc. 223, p. 128, line 9–p. 131, line 20.


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activities toward previously unplanned response strategies. 70 Additionally, the core

missions of BVM and the Louisiana NAACP—to increase power in marginalized,

predominantly Black communities—are impaired by the Enacted Maps’ dilutive effects. 71

        The Court concludes that the NAACP and BVM established standing at trial.

        B. Defendants’ Motion to Dismiss

        During trial, Defendants jointly moved to dismiss this case pursuant to Rule

12(b)(1), or alternatively, Rule 12(b)(6) of the Federal Rules of Civil Procedure. 72 Prior to

this, Defendants filed a Joint Motion to Stay Proceedings73 “pending resolution by the

Supreme Court or the Fifth Circuit of whether Section 2 [of the Voting Rights Act] grants

a private right of action and, thus, whether Plaintiffs have standing to pursue their VRA

claim.” 74 The Defendants brought this motion because in the separate, but related case,

Robinson v. Ardoin, the Fifth Circuit granted Defendant, the State of Louisiana an

extension of time to file a Petition for En Banc Rehearing. 75 However, the Fifth Circuit

ultimately denied this petition. 76 In the petition, the State addressed whether Section 2 of

the VRA confers a private right of action. 77 At trial, this Court orally denied the Motion to

Stay Proceedings, but took the Motion to Dismiss under advisement until the close of

evidence. 78



70 Rec. Doc. 223, p. 172, line 3–p. 173, line 7; p. 174, line 17–p. 177, line 19; p. 181, line 15–p. 183, line 5

(BVM is prevented from engaging in get-out-the-vote efforts and capacity building work with its partners in
order to focus its resources on its accountability strategy and 365 voter engagement strategy); p. 131, lines
8–14 (NAACP has to pull members from working on health, education, and other projects in order to focus
their efforts on combating the dilutive effects of the Enacted Maps).
71 Rec. Doc. 223, p. 113, line 3–p. 114, line 1; p. 164, line 25–p. 165, line 3.
72 Rec. Doc. 187.
73 Rec. Doc. 184.
74 Rec. Doc. 187-1, p. 3.
75 Id. at p. 2.
76 Id.; Rec. Doc. 210, p. 2.
77 Rec. Doc. 187-1, p. 2.
78 Rec. Doc. 186; Rec. Doc. 192.


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        In Defendants’ 12(b)(1) Motion to Dismiss, Defendants argue the Court lacks

subject matter jurisdiction over Plaintiffs’ claims because Section 2 of the VRA does not

provide a private right of action, and, as such, Plaintiffs “do not have authority to bring

their Section 2 claim.” 79 On a Rule 12(b)(1) motion, the party asserting the jurisdiction

bears the burden of proving that jurisdiction exists. 80 Moreover, a party may challenge the

Court’s subject matter jurisdiction at any stage of the proceedings. 81

        Defendants rely on the Eighth Circuit’s recent ruling in Arkansas State Conference

NAACP v. Arkansas Board of Apportionment, where the Circuit Court found that § 2 of

the Voting Rights Act does not confer a private right of action. The Eighth Circuit wrote,

“[e]veryone agrees that § 2 itself contains no private enforcement mechanism” and the

section does not state “who can enforce it.”82 Analyzing § 2 in conjunction with § 12 of

the VRA, the Eighth Circuit discerned that § 2 of the Voting Rights Act empowers the

Attorney General to “bring ‘an action for preventive relief….for a temporary or permanent

injunction restraining order, or other order.’” 83 Therefore, the Circuit Court concluded that

Congress intended to limit the enforcement power of § 2 to the Attorney General and not

extend this right to private parties.




79 Rec. Doc. 187-1, p. 3.
80 Cell Sci. Sys. Corp. v. La.Health Serv., 804 F. App'x 260, 262 (5th Cir. 2020) (citing Ramming v. United

States, 281 F.3d 158, 161 (5th Cir. 2001)).
81 See id. (“A ‘factual attack’ [sic] challenges the existence of subject matter jurisdiction in fact, irrespective

of the pleadings, and matters outside the pleadings, such as testimony and affidavits, are considered.
Moreover, a ‘factual attack’ under 12(b)(1) may occur at any stage of the proceedings, and plaintiff bears
the burden of proof that jurisdiction does in fact exist.”) (citing Menchaca v. Chrysler Credit Corp., 613 F.2d
507, 511 (5th Cir. 1980)) (citation omitted.)
82 Ark. State Conf. NAACP v. Ark. Bd. of Apportionment, 86 F.4th 1204, 1210 (8th Cir. 2023).
83 See id. (“We must look elsewhere for the who. Another provision, § 12, empowers the Attorney General

to bring ‘an action for preventive relief….for a temporary or permanent injunction, restraining order, or other
order.’”) (citing 52 U.S.C. § 10308(d)).

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         Although Defendants seek to use this case and task the Court with a thorough

analysis of previous Supreme Court decisions and the intentions of Congress, the Court

finds these steps unnecessary as the Fifth Circuit has already addressed this issue and

reached a different conclusion from the Eighth Circuit, a point acknowledged by the

Defendants and the Plaintiffs. 84 Defendants concede that the Fifth Circuit has addressed

this issue, but argue the appellate court “did not thoroughly analyze [it].” 85

         In Robinson v. Ardoin, the Fifth Circuit concluded that § 2 of the Voting Rights Act

confers a private right of action. The Circuit Court acknowledged that “[t]here is no cause

of action expressly created in the text of Section 2” but explained that a plurality of the

Supreme Court “stated that ‘the existence of the private right of action under Section 2. .

. has been clearly intended by Congress since 1965.’”86 Moreover, the Fifth Circuit

pointed to the Eleventh Circuit and the Sixth Circuit, both of which analyzed this issue

and concluded that § 2 conveys a private right of action. 87 Finally, the Court of Appeals

also relied on its precedent in OCA-Greater Houston v. Texas, under which it held that

“the Voting Rights Act abrogated the state sovereign immunity anchored in the Eleventh

Amendment.” 88 The Robinson Court concluded that Congress “should not be accused of

abrogating sovereign immunity without some purpose. The purpose surely is to allow the

States to be sued by someone.” 89 Unlike the Eighth Circuit decision, the Fifth Circuit

turned to 52 U.S.C § 10302 of the VRA and determined that “proceedings to enforce

voting guarantees in any state or political subdivision can be brought by the Attorney



84 Rec. Doc. 187-1, p. 4–5; Rec. Doc. 210, p. 2.
85 Rec. Doc. 187-1, p. 5.
86 Robinson v. Ardoin, 86 F.4th 574, 587 (5th Cir. 2023).
87 Id.
88 Id. (discussing OCA-Greater Houst. v. Tex., 867 F.3d 604 (5th Cir. 2017)).
89 Id.


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general or by an ‘aggrieved person.’” 90 From here, the Court concluded the plaintiffs in

Robinson were “aggrieved persons” and therefore had a right to bring their claims. 91

         District courts are bound by their circuit’s decisions unless a decision is overturned

by an en banc decision of their circuit court or the Supreme Court. 92 As the Fifth Circuit

has already concluded that Section 2 provides a right of action to private plaintiffs, this

Court is bound to this decision and will not rule counter to its precedent. Especially so

because the Plaintiffs in this case are almost identical to the plaintiffs in Robinson. 93 For

these reasons, Defendants’ 12(b)(1) motion is denied.

         In the alternative, Defendants move to dismiss for the same reasons, but pursuant

to Rule 12(b)(6) of the Federal Rules of Civil Procedure. A 12(b)(6) motion must be filed

before filing an answer. 94 However, pursuant to Rule 12(h)(2)(C) of the Federal Rules of

Civil Procedure, a party may move to dismiss at trial for “[f]ailure to state a claim upon

which relief can be granted.” 95 Plaintiffs argue that Rule 12(h)(2) “does not supersede this

Court’s inherent power to manage its own affairs and set deadlines for motions asserting

that claim.”96 The Court agrees and points out that the motion deadline in this matter was

October 6, 2023. 97 However, the Court recognizes that the Defendants rely on an Eighth


90 Id.
91 Id.
92 In re ASARCO LLC, 477 B.R. 661, 670 (S.D. Tex. 2012) (“District courts are bound by the law of their

circuit.”) (citing Campbell v. Sonat Offshore Drilling Inc., 979 F.2d 1115, 1121 n.8 (5th Cir. 1992); Sturgeon
v. Strachan Shipping Co., 698 F.2d 798, 800 (5th Cir.1983)). See also La Union del Pueblo Entero v. Abbott,
618 F. Supp. 3d 449, 501 (W.D. Tex. 2022) (The Court “is bound by a circuit decision unless or until it is
overturned by an en banc decision of the circuit court or a decision of the Supreme Court.”) (quoting Perez
v. Abbott, 250 F. Supp. 3d 123, 139 (W.D. Tex. 2017) (citing Soc’y of Separationists, Inc. v. Herman, 939
F.2d 1207, 1211 (5th Cir. 1991)).
93 Dr. Dorothy Nairne and Dr. Alice Washington are individual plaintiffs in Robinson and are plaintiffs in this

case. Additionally, the Louisiana State Conference of the NAACP is a plaintiff in Robinson and is one in
this case.
94 Fed. Rul. Civ. P. 12(b)(6).
95 Fed. Rul. Civ. P. 12(h)(2)(C).
96 Rec. Doc. 210, p. 6.
97 Rec. Doc. 110, p. 10.


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Circuit case, which was decided in November 2023 after the Court’s deadlines had

passed. Under these circumstances, the Court will consider the Defendants’ out of time

Motion. But, as the Court has stated with respect to the 12(b)(1) motion, the Fifth Circuit

has already addressed this issue. Accordingly, for the same reasons the Court denies

Defendants’ 12(b)(1) motion, the Court denies Defendants’ 12(b)(6) motion.

         Having dismissed Defendants’ Rule 12 motions, Defendants request that the

Court certify the private right of action challenge for interlocutory appeal. 98 “Title 28, §

1292(b) of the United States Code permits a court to certify an interlocutory appeal where

(1) a controlling question of law is involved, (2) there is substantial ground for difference

of opinion about the question of law, and (3) immediate appeal will materially advance the

ultimate termination of the litigation.” 99 “A district court cannot certify an order for

interlocutory appeal unless all three criteria are present.”100 Moreover, “[i]nterlocutory

appeals are generally disfavored, and statutes permitting them must be strictly

construed.” 101 “An interlocutory appeal should be granted pursuant to 1292(b) only in

exceptional cases that meet the statutory criteria.” 102 The Fifth Circuit cautions that

interlocutory appeals “‘do not lie simply to determine the correctness’ of an order.” 103


98 Rec. Doc. 187-1, p. 8 (“In the event this Court denies Defendants’ motion to dismiss Plaintiffs’ amended

complaint (including on the basis that the Court deems itself bound by Robinson or OCA-Houston),
Defendants respectfully request that the Court certify its order denying the motion to dismiss for immediate
appeal pursuant to 28 U.S.C. § 1292(b).”)
99 La. State Conf. of Nat’l Ass’n for the Advancement of Colored People v. La., 495 F. Supp. 3d 400, 409

(M.D. La. 2020) (citing Rico v. Flores, 481 F.3d 234, 238 (5th Cir. 2007)).
100 Id. at 410 (citing Gruver v. La. Through Bd. of Supervisors of La. State Univ. & Agric. & Mech. Coll., No.

18-772, 2019 WL 6245421, at *1 (M.D. La. Nov. 22, 2019) (citing Aparicio v. Swan Lake, 643 F.2d 1109,
1110 n.2 (5th Cir. 1981))).
101 Id. (citing Fannie Mae v. Hurst, 613 F. App’x 314, 318 (5th Cir. 2015) (quoting Allen v. Okam Holdings,

Inc., 116 F.3d 153, 154 (5th Cir. 1997))).
102 Id. (citing U.S. v. Garner, 749 F.2d 281, 286 (5th Cir. 1985), opinion supplemented, 752 F.2d 116 (5th

Cir. 1985); U.S. v. Bear Marine Servs., 696 F.2d 1117, 1119 (5th Cir. 1983).
103 Johnson v. Ardoin, No. 18-625, 2019 WL 4318487 at *1 (M.D. La. Sept. 12, 2019) (quoting Clark–Dietz

& Associates–Engineers, Inc. v. Basic Constr. Co., 702 F.2d 67, 67–69 (5th Cir. 1983); Tolson v. U.S., 732
F.2d 998, 1002 (D.C. Cir. 1984)).

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        To determine if an issue is a controlling question of law, the Court asks where the

issue has “potential to have some impact on the course of the litigation.” 104 It is not

disputed that whether § 2 confers a private right of action is a controlling question of law.

The answer determines whether this Court has jurisdiction to hear Plaintiffs’ claims; this

certainly “ha[s] some impact on the course of the litigation.”

        A substantial ground for difference of opinion exists where:

        a trial court rules in a manner which appears contrary to the rulings of all
        Courts of Appeals which have reached the issue, if the circuits are in dispute
        on the question and the Court of Appeals of the circuit has not spoken on
        the point, if complicated questions arise under foreign law, or if novel and
        difficult questions of first impression are presented. 105

Defendants argue that this question is “novel,” “difficult,” and “of first impression” and the

Eighth Circuit’s decision has resulted in a circuit split. 106 Defendants contend that the

Supreme Court will have to weigh in on this “unsettled law.”107 While a circuit split does

exist, the Fifth Circuit Court of Appeals has spoken on the point. The Fifth Circuit

concluded that § 2 confers a private right of action and analyzed this issue through some

of the very same plaintiffs in this case. Although Defendants are critical of the Circuit’s

resolution in Robinson, an interlocutory appeal is not meant to “determine the

correctness” of this decision or this Court’s abidance to it. 108 A “[d]isagreement with the




104 La. State Conf. of Nat’l Ass’n for the Advancement of Colored People, 495 F. Supp. 3d at 409 (M.D. La.

2020) (citing U.S. v. La. Generating LLC, No. 09-100, 2012 WL 4588437, at *1 (M.D. La. Oct. 2, 2012)
(quoting Tesco Corp. v. Weatherford Int’l, Inc., 722 F. Supp. 2d 755, 766 (S.D. Tex. 2010))).
105 Johnson, No. 18-625, 2019 WL 4318487, at *1 (M.D. La. Sept. 12, 2019) (citing Mitchell v. Hood, No.

13-5875, 2014 WL 1764779, at *5 (E.D. La. May 2, 2014) (quoting Couch v. Telescope Inc., 611 F.3d 629,
633 (9th Cir. 2010))).
106 Rec. Doc. 187-1, p. 10.
107 Id.
108 Johnson, No. 18-625, 2019 WL 4318487 at *1 (M.D. La. Sept. 12, 2019) (quoting Clark–Dietz &

Associates–Engineers, Inc. v. Basic Constr. Co., 702 F.2d 67, 67–69 (5th Cir. 1983); Tolson v. U.S., 732
F.2d 998, 1002 (D.C. Cir. 1984)).

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Court’s ruling is insufficient to establish a substantial ground for a difference of opinion.” 109

Consequently because Defendants cannot satisfy the second requirement, the Court

denies Defendants’ request 110 to certify this order to the Court of Appeals. 111

        C. Notice of Constitutional Question

        Defendants filed a Notice of Constitutional Question pursuant to Federal Rule of

Civil Procedure 5.1(a), asserting that “finding for Plaintiffs requires interpreting the Voting

Rights Act in a way that calls its constitutionality into question.”112 Defendants claim that

“[t]o grant the relief Plaintiffs seek, the Court must interpret the Voting Rights Act in a way

that violates the U.S. Constitution.”113 Thereafter, the United States intervened in this

case to defend the constitutionality of § 2 and submitted a brief to that end for the Court’s

consideration. 114

        The Court rejects Defendants’ arguments, which do not facially challenge the

constitutionality of § 2 itself. Instead, Defendants argue that any interpretation of § 2 that

would support finding liability would necessarily call the constitutionality of § 2 into

question, and any interpretation supporting a remedy in favor of Plaintiffs would violate

the Constitution. In doing so, Defendants misapply the canon of constitutional avoidance,

which is a means for differentiating between two competing plausible statutory



109 Id. at *4 (quoting June Med. Services LLC v. Gee, No 16-00444 2018 WL 1041301, at *2 (M.D. La. Feb.

23, 2018) (citing Ryan v. Flowserve Corp., 444 F. Supp. 2d 718, 724 (N.D. Tex. 2006))).
110 Rec. Doc. 187.
111 The Court finds that Defendants can satisfy the third prong of § 1292(b) because “[a]voidance of a post-

trial appeal is sufficient to satisfy the third prong.” See La. State Conf. of Nat’l Ass’n for the Advancement
of Colored People, 495 F. Supp. 3d at 416 (M.D. La. 2020) (citing Cazorla v. Koch Foods of Miss., 838 F.3d
540, 548 (5th Cir. 2016)). However, all three requirements must be met for an interlocutory appeal to be
granted. See id. at 410 (“A district court cannot certify an order for interlocutory appeal unless all three
criteria are present.”) (citing Gruver, 2019 WL 6245421, at *1 (M.D. La. Nov. 22, 2019) (citing Aparicio, 643
F.2d at 1110 n.2 (5th Cir. 1981))).
112 Rec. Doc. 178, p.1.
113 Id. at p. 2.
114 Rec. Doc. 205.


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interpretations. 115 There is no such challenge here. Defendants assert an argument that

was recently rejected by the Supreme Court in Allen v. Milligan. 116 There, the Court

reiterated that the third Gingles precondition does not require proof of racial causation

and reaffirmed the constitutionality of race sensitive remedies for § 2 violations. 117

          D. Defendants’ Rule 52(c) Motion

          At the conclusion of the Plaintiffs’ case, the Defendants orally moved for a

judgment on partial findings pursuant to Federal Rule of Civil Procedure 52(c). The Court

took that motion under advisement. Defendants re-urged the motion at the conclusion of

trial. The Court took the motion under advisement and set a post-trial briefing schedule

for the parties. For the following reasons the Defendants 52(c) Motion is Denied and the

Court will enter judgment in favor of the Plaintiffs.

IV.       FINDINGS OF FACT AND CONCLUSIONS OF LAW

          A. Gingles I

          The first precondition requires Plaintiffs to establish that a “‘minority group [is]

sufficiently large and geographically compact to constitute a majority’ in some reasonably

configured legislative district.” 118 Satisfying this precondition is necessary to show that

“the minority has the potential to elect a representative of its own choice in some single-

member district.” 119 In a vote dilution claim, as here, Gingles I condition requires the

possibility of creating more than the existing number of reasonably compact districts with

a sufficiently large minority population to elect candidates of its choice. 120 This does not



115 Clark v. Martinez, 543 U.S. 371, 385 (2005).
116 599 U.S. at 25–26.
117 Id.
118 Cooper v. Harris, 581 U.S. 285, 301 (2017) (citing Thornburg v. Gingles, 478 U.S. 30, 50 (1986)).
119 Bartlett v. Strickland, 556 U.S. 1, 15 (2009) (quoting Grove v. Emison, 507 U.S. 25, 40 (1993)).
120 Johnson v. De Grandy, 512 U.S. 997, 1008 (1994).


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mean that a minority group must have the “most potential, or [even] the best potential” to

elect their chosen candidate. 121 Gingles I does not require such a high standard.

Relatedly, establishing a “minority group is sufficiently large” does not require a showing

that a group is overwhelmingly populating a district, but merely that a minority group is

greater than 50 percent of a district’s population. 122 This requirement is analyzed in terms

of Black voting-age population (“BVAP”) because “only eligible voters affect a group’s

opportunity to elect candidates.”123

        Under the compactness inquiry, the Court should examine whether an illustrative

plan abides traditional districting principles such as respecting communities of interest,

including reasonably shaped districts, ensuring districts are contiguous, and avoiding

pairing incumbents. 124

        Redistricting in Louisiana is further guided by Joint Rule 21. 125 Joint Rule 21

codifies traditional redistricting criteria, such as contiguity, protecting communities of

interest, and respecting the traditional boundaries. Joint Rule 21 additionally requires that

“districts are substantially equal in population,” prohibiting “an absolution deviation of

population which exceeds plus or minus five percent of the ideal district population.”126

Additionally, “[t]o the extent practicable, each district within a redistricting plan submitted




121 Bartlett, 556 U.S. at 15.
122 See Id. at 19–20 (“It remains the rule, [sic], that a party asserting § 2 liability must show by a
preponderance of the evidence that the minority population in the potential election district is greater than
50 percent.”)
123 League of United Latin Am. Citizens v. Perry, 548 U.S. 399, 429 (2006).
124 See supra notes 16–18.
125 Joint-56, Enacted by the Louisiana Legislature in 2021 in anticipation of the 2022 redistricting cycle.

Testimony of former Senate President Page Cortez, Rec. Doc. 228, pp. 22-23.
126 Joint-56; Joint Rule 21(D)(2) H.C.R 90, 2021 R.S. (June 11, 2021).


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for consideration shall contain whole election precincts” also known as “Voting Tabulation

Districts” (“VTDs”). 127

         To satisfy the first precondition, Plaintiffs offered Mr. William S. Cooper. The

parties stipulated and the Court accepted Mr. Cooper to give opinion testimony in the

fields of demographics, census data, and redistricting. 128 Cooper provided an Illustrative

Plan to show “whether the African American population in Louisiana is ‘sufficiently large

and geographically compact’ to allow for the creation of additional majority-Black State

House and State Senate districts beyond those [created in the Enacted Map].” 129 Cooper

has testified in approximately 55 cases at trial and 55 cases through deposition and

declaration, and “probably 95 percent of [these] cases have related to redistricting” and

Section 2 cases.” 130 Additionally, as of 2023, he prepared illustrative election plans for

Section 2 litigation in 23 states, including Louisiana prior to this case. 131

         Cooper used data from the U.S. Census Bureau as well as socioeconomic data

reported in the American Community Survey (“ACS”) on African Americans and non-

Hispanic Whites. 132 Using Maptitude software and shape files produced from the U.S.

Census Data and the Louisiana Legislature, Cooper created an Illustrative Plan for the

State House and the State Senate. 133 According to Cooper, Maptitude is “probably the

primary software used for redistricting purposes at the state legislative level and is also

[sic] used by many local governments around the country. . . .”134 Cooper determined that


127 Joint-56; Joint Rule 21(G)(1) H.C.R 90, 2021 R.S. (June 11, 2021).
128 Rec. Doc. 212, p. 113; Pla-21. The parties stipulated to the admission of Mr. Cooper’s report and rebuttal

report. Pla-20; Pla-89.
129 Pla-20, p. 4.
130 Rec. Doc. 212, p. 107.
131 Pla-21, p. 1.
132 Rec. Doc. 212, p. 114, line 9–p. 116, line 10.
133 Rec. Doc. 212, p. 119, lines 13–22.
134 Rec. Doc. 225, p. 17, lines 11–15.


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three additional reasonably configured majority-Black districts could be created for the

State Senate and an additional six majority-Black districts could be created for the State

House. 135 The Court found Coopers testimony credible and persuasive, his methodology

sound and the resulting conclusions reliable.

          i.        Demographic and Socioeconomic Changes in Population

          Cooper testified, and the data established, that between 2000 and 2020 Louisianas

White population declined and Louisiana’s Black population increased. According to U.S.

Census data in 2000 African Americans comprised 32.86 percent of the state’s population

but as of 2020, that segment of the population increased to 33.13 percent of the state

population. 136 This is the “second highest proportion [of African Americans] of any state

in the nation.” 137 U.S. Census data shows that the African American population is

somewhat dispersed across the state, with higher concentrations in urban areas. 138

           As of 2020, Non-Hispanic Whites comprised 55.75 percent of Louisiana’s

population. 139 While Non-Hispanic Whites remain the largest ethnic group within the state,

this percentage significantly decreased from the Non-Hispanic White population in

2000. 140 In 2000, Non-Hispanic Whites comprised 60.33 percent of the state

population. 141




135 Rec. Doc. 212, p. 119, lines 16–22.
136 Pla-20, p. 9.
137 Id. at p. 10.
138 Id. (“Black Louisianans are present in substantial numbers in every region and sub-region”).
139 Id. at p. 9.
140 Id.
141 Id.


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         The 2020 census data indicates that the Non-Hispanic White Voting Age

Population (“WVAP”) was 58.31 percent whereas the BVAP was 31.25 percent. 142 In

2000, the WVAP was 65.51 percent and the BVAP was 29.95 percent. 143

         Considering population change by metropolitan statistical area (“MSA”), Cooper

observed a pattern of white exodus from MSAs between 2000 and 2020. Cooper found

that in six of the nine MSAs in the state, the White population decreased. 144 Cooper

reported that the total Non-Hispanic White population decreased by over 200,000

between 2000 to 2020. 145 In contrast, in eight of the nine MSAs, the Black population

increased. 146 In his direct testimony, Cooper pointed to the Baton Rouge MSA as an

example of the significant increase in the Black population in an MSA. Between 2000 and

2020, the Baton Rouge MSA saw an increase in the Black population by slightly more

than 60,000. Cooper concluded that the “growth in the Baton Rouge MSA would amount

to almost two House districts.” 147 The population statistics cited by Cooper were

undisputed. The Court credits Cooper’s population testimony and adopts the population

statistics cited by Cooper as findings of fact.

         ii.        Illustrative Districts

         In the Enacted Senate Map, there are 11 majority-Black senate districts. 148 Cooper

opines that three additional reasonably configured majority-Black districts can be created


142 Id. at p. 15.
143 Id. at p. 14.
144 Id. at p. 19.
145 Id. at p. 20.
146 Id. at p. 18.
147 Rec. Doc. 225, p. 15.
148 Pla-33. District 5 (50.24 BVAP percentage); District 24 (53.09 BVAP percentage); District 29 (56.56

BVAP percentage); District 4 (57.2 BVAP percentage); District 3 (57.27 BVAP percentage); District 2 (57.75
BVAP percentage); District 14 (58 BVAP percentage); District 7 (59.46 BVAP percentage); District 34
(63.74 BVAP percentage); District 39 (63.75 BVAP percentage); District 15 (73.87 BVAP percentage); see


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for a total of 14 majority-Black districts. 149 Cooper’s Illustrative Senate Plan creates

Senate District 28 covering Shreveport and Bossier City MSA; Illustrative Senate District

17 covering the Baton Rouge MSA; and Illustrative Senate District 19 covering the New

Orleans MSA. 150

        In the Enacted House Map, there are 29 majority-Black districts. 151 Cooper opines

that six additional reasonably configured majority-Black districts can be created for a total

35 majority-Black house districts. 152 The Illustrative House Plan creates Illustrative House

District 1 covering the Shreveport and Bossier City MSA; Illustrative House District 23

covering the Natchitoches area and Shreveport-Bossier City MSA; Illustrative House

District 38 covering the Lake Charles MSA; and Illustrative House Districts 60, 65, and 68

which cover the Baton Rouge MSA. 153 Figures 13 and 24 154 of Cooper’s report illustrate

the location of these additional majority-Black districts.


also Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::12eedba5-68de-4ab4-a3bb-
7f59d9268041 (referenced in Pla-20, p. 31).
149 Pla-20, p. 6.
150 Id. at p. 6–7.
151 Pla-40. District 23 (50.86 BVAP percentage); District 67 (51.85 BVAP percentage); District 72 (52.67

BVAP percentage); District 83 (54.57 BVAP percentage); District 40 (54.58 BVAP percentage); District 62
(55.08 BVAP percentage); District 96 (55.13 BVAP percentage); District 21 (55.09 BVAP percentage);
District 11 (56.4 BVAP percentage); District 93 (56.6 BVAP percentage); District 58 (56.76 BVAP
percentage); District 57 (57.86 BVAP percentage); District 87 (59.07 BVAP percentage); District 44 (59.45
BVAP percentage); District 101 (60.22 BVAP percentage); District 16 (62.5 BVAP percentage); District 17
(63.26 BVAP percentage); District 26 (64.33 BVAP percentage); District 102 (65.58 BVAP percentage);
District 2 (67.38 BVAP percentage); District 63 (69.65 BVAP percentage); District 4 (72.07 BVAP
percentage); District 97 (72.34 BVAP percentage); District 34 (72.57 BVAP percentage); District 29 (73.56
BVAP percentage); District 3 (73.86 BVAP percentage); District 61 (75.29 BVAP percentage); District 99
(78.11 BVAP percentage); District 100 (80.78 BVAP percentage); see also Statistics,
https://davesredistricting.org/maps#stats::d63b737c-a8b3-46e9-8855-aa20a728c2b5 (referenced in Pla-
20, p. 45).
152 Pla-20, p. 6.
153 Id.
154 In Figures 13 and 24, additional majority-Black districts are shaded in red and labeled by a blue district

number. In Figure 24, which shows the Illustrative House Map, House Districts 65 and 68 are too small to
completely display their entire shapes and show they are shaded in red. The Court can decipher that these
two districts are additional majority-Black districts from Cooper’s expert report, where he writes “[t]he map
in Figure 24 displays six additional majority-Black districts (in red with small blue labels) in the Illustrative
House: Illustrative HD 1—Shreveport-Bossier City MSA, Illustrative HD 23—Natchitoches area and


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               a. Numerosity

       Cooper’s Illustrative Senate Plan contains 14 majority-Black districts with a BVAP

greater than 50 percent. The majority-Black districts in Cooper’s Illustrative Senate Plan

contain the following BVAP populations: District 2 (51.73%); District 3 (51.3%); District 4

(58.15%); District 7 (52.29%); District 14 (58.08%); District 15 (54.45%); District 17


Shreveport-Bossier City MSA, Illustrative HD 38—Lake Charles MSA, and Illustrative HDs 60, 65, and 68—
Baton Rouge MSA.” Pla-20, p. 43.


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(52.48); District 19 (50.97%); District 24 (52.05%); District 29 (50.93%); District 34

(63.02%); District 38 (53.17%); and District 39 (52.46%). 155 Cooper used the Enacted

Senate Map as a starting point for the Illustrative Senate Plan. The Illustrative Senate

Plan makes no changes to Senate Districts 11, 12, 16, and 37. 156 Overall, 74 percent of

the state’s core population 157 was undisturbed from the Enacted Senate Map.

        To create new majority Black districts, Cooper “unpacked” 158 and “uncracked”159 a

number of the districts in the Enacted Senate Map. In the Enacted Senate Map, Senate

District 39 has a BVAP of 63.75 percent. 160 Cooper “unpacked” this district and

incorporated populations of Enacted Senate Districts 31 and 36 into Illustrative Senate

District 38, resulting in Illustrative Senate Districts 38 and 39 both being majority Black. 161

Similarly, when drawing Illustrative Senate District 17, which covers Pointe Coupee,

Iberville, West Baton Rouge, and part of East Baton Rouge, Cooper “unpacked” Senate

District 15 of the Enacted Senate Map and derived population in part from Senate District

14. 162 In the Enacted Senate Map, Senate District 15 has a BVAP of 73.9 percent and

Senate District 14 has a BVAP of 58 percent. 163 This resulted in Districts 14, 15, and 17


155  See Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::fdcf5b8e-7661-4390-
9060-264b6e44ce37 (referenced at Pla-20, p. 31).
156 Pla-20, p. 30.
157 Cooper defined “core population” as the “largest district-level subset of a population that is kept together

in the shift from one plan to another (without taking into account changes in district number or changes in
incumbent representation).” Pla-20, p. 30, n.35.
158 “Packing” is a term of art describing “election districts where a minority population is unnecessarily

concentrated, resulting in an overall dilution of minority voting strength in the voting plan.” Id. at p. 26, n.32.
159 “Cracking” is a term of art describing “election districts that fragment or divide the minority population,

resulting in an overall dilution of minority voting strength in the voting plan.” Id. at n.31.
160 Pla-20, p. 37; see also “Statistics” https://davesredistricting.org/maps#stats::12eedba5-68de-4ab4-

a3bb-7f59d9268041 (referenced at Pla-20, p. 31).
161 Pla-20, p. 37; see also Statistics,

Dave’s Redistricting, https://davesredistricting.org/maps#stats::fdcf5b8e-7661-4390-9060-264b6e44ce37
(referenced at Pla-20, p. 31).
162 Pla-20, p. 39.
163 Pla-20, p. 39; see also Statistics,

Dave’s Redistricting, https://davesredistricting.org/maps#stats::12eedba5-68de-4ab4-a3bb-7f59d9268041
(referenced at Pla-20, p. 31).

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becoming majority-Black districts in the Illustrative Senate Plan, while also decreasing, or

unpacking, the BVAP in Illustrative Senate District 15 to 54.45 percent. 164 Cooper

explained that in creating Illustrative Senate District 19 in the New Orleans-Metairie MSA

he “uncrack[ed]” Senate Districts 5, 7,8, 10, and 19 of the Enacted Senate Map. 165 Cooper

indicates that a majority-Black district could be created because Senate District 19 of the

Enacted Senate Map “cuts across parts of the parishes of Lafourche, St[.]John the

Baptist, St. Charles, and Jefferson – in the process submerging a large Black population

in a majority-White District.” 166 Cooper’s Illustrative Senate Plan transforms the BVAP of

Senate District 19 from 28.69 percent to 51 percent. 167 The Court credits Cooper’s

testimony and finds that Enacted Senate Districts 5, 7, 8, 10, 15, 19, and 39 were packed

with BVAP or that BVAP was cracked among the identified Enacted Senate Districts. The

Court finds that BVAP in Enacted Senate Districts 5, 7, 8, 10, 15, 19, and 39 were packed

or cracked and that reassignment of BVAP resulted in three additional reasonably

configured majority BVAP Senate Districts, namely Illustrative Senate Districts 28, 17 and

19.

        Turning to the Illustrative House Plan, the majority-Black districts in Cooper’s

Illustrative House Plan contain the following populations: Illustrative House District 1

(55.33%); Illustrative House District 2 (67.34%); Illustrative House District 3 (58.85%);

Illustrative House District 4 (57.53%); Illustrative House District 5 (50.86%); Illustrative

House District 11 (55.55%); Illustrative House District 16 (59.76%); Illustrative House



164 Pla-20, p. 39.; see also “Statistics”, https://davesredistricting.org/maps#stats::fdcf5b8e-7661-4390-

9060-264b6e44ce37 (referenced at Pla-20, p. 31).
165 Pla-20, p. 41.
166 Id. at p. 42.
167 Id.; see also Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::fdcf5b8e-7661-

4390-9060-264b6e44ce37 (referenced at Pla-20, p. 31).

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District 17 (54.48%); Illustrative House District 21 (54.28%); Illustrative House District 23

(50.56%); Illustrative House District 26 (63.38%); Illustrative House District 29 (57.77%);

Illustrative House District 34 (50.03%); Illustrative House District 38 (50.84%); Illustrative

House District 40 (54.88%); Illustrative House District 44 (60.92%); Illustrative House

District 57 (53.43%); Illustrative House District 58 (51.27%); Illustrative House District 60

(52.83%); Illustrative House District 61 (50.2%); Illustrative House District 63 (57.2%);

Illustrative House District 65 (56.03%); Illustrative House District 67 (51.58%); Illustrative

House District 68 (54.21%); Illustrative House District 69 (50.2%); Illustrative House

District 72 (50.6%); Illustrative House District 83 (54.57%); Illustrative House District 87

(59.07%); Illustrative House District 93 (56.6%); Illustrative House District 96 (55.55%)

Illustrative House District 97 (72.34%); Illustrative House District 99 (78.11%); Illustrative

House District 100 (80.78%); Illustrative House District 101 (50.75%); and Illustrative

House District 102 (65.58%). 168 Cooper points out and the Court finds that 78.5 percent

of the core population in the Enacted House Map remains in the same districts in the

Illustrative House Plan. 169

       Cooper identified several Enacted House districts with packed and cracked

BVAPs. By unpacking and uncracking Enacted House districts Cooper illustrated that six

additional reasonably configured majority BVAP House districts could be drawn. With

Illustrative House District 1, Cooper “unpacked” House District 2 and 4 in the Enacted

House Map. As a result, these districts in the Illustrative House Plan have BVAPs of 67.34




168  See “Statistics”, https://davesredistricting.org/maps#stats::fa47d389-42de-49ac-9c57-cc2434249cc2
(referenced at Pla-20, p. 45).
169 Pla-20, p. 44.


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percent and 57.53 percent, respectively. 170 For comparison, the BVAPs for these two

districts in the Enacted House Map are 67.4 percent and 72.1 percent. 171 With respect to

Illustrative House District 23, another majority-Black district, Cooper testified that this

majority-Black district existed under the 2011 Benchmark Plan, but “for reasons that [he]

still [doesn’t] know, it was eliminated in the adopted plan.” 172 On Illustrative House District

38, Cooper concluded that a second majority-Black district could be created in this area

due to the “growing Black population since 2000 in the Lake Charles MSA ([an increase

of] 14,322), coupled with no growth in the White population ([a decrease of] 676).” 173

Cooper found that he had to “unpack” Enacted House District 34 and “uncrack” Enacted

House Districts 35 and 37 to create Illustrative House District 38. In the Illustrative House

Plan District 34 holds a BVAP of 50.3 percent compared to 72.6 percent in the Enacted

House Map. 174 House Districts 35 and 37 contain BVAPs of 8.71 percent and 18.65

percent compared to 12.5 percent and 17.6 percent in the Enacted House Map. 175 Finally,

Cooper concluded that three additional majority-Black districts could be created in the

Baton Rouge MSA. Cooper created Illustrative House Districts 60, 65, and 68 majority-

Black districts. Again, Cooper found if several of the house districts in the Enacted House




170   Id. at p. 50; See also https://davesredistricting.org/maps#stats::fa47d389-42de-49ac-9c57-
cc2434249cc2 (referenced at pla-20, p. 45).
171 Pla-20, p. 50.
172 Rec. Doc. 225, p. 48, lines 20–21.
173 Pla-20, p. 53.
174 Id. at p. 54; see also Statistics,

Dave’s Redistricting, https://davesredistricting.org/maps#stats::fa47d389-42de-49ac-9c57-cc2434249cc2
(referenced at Pla-20, p. 45).
175 Pla-20, p. 54; see also Statistics,

Dave’s Redistricting, https://davesredistricting.org/maps#stats::fa47d389-42de-49ac-9c57-cc2434249cc2
(referenced at Pla-20, p. 45).

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Map were “unpacked” and “uncracked,” these additional majority-Black districts could be

created. 176

        The Court credits Cooper’s testimony and finds that Enacted House Districts 2, 4,

5, 7, 13, 22, 25, 29, 34, 35, 37, 60, 61, 63, 65, 68, 69, and 70 were packed with BVAP or

that BVAP was cracked among the enacted House districts. The Court finds that

unpacking and uncracking in those House districts results in six additional reasonably

configured majority BVAP House districts as illustrated by Mr. Cooper.

        On cross-examination, Cooper acknowledged that in order to create additional

majority-Black districts he was required to “lower the BVAP in many other existing

majority-Black districts.” 177 He explains this is “reduc[ing] packing” because “some of [the]

districts [in the Enacted Maps] are in the 70s or higher in Black voting-age population.” 178

Cooper compares the 2020 BVAP in majority-Black districts to the 2020 Non-Hispanic

WVAP in majority-White districts in both the Enacted Maps and the Illustrative Plan. As

shown below, there is a wider range between the percentage of the BVAP in majority-

Black Districts and the Non-Hispanic WVAP in majority-White districts in the Enacted

Maps as compared to the Illustrative Plan. 179 Cooper observed that “in some ways this

[wider range in the Enacted Maps] is sort of a preliminary indicator, a prima facia indicator

of cracking and packing. . . . [T]his huge gap—while it doesn’t prove that there’s packing

or cracking, it draws one’s attention to it.”180 The Court finds that the data captured in




176 Rec. Doc. 225, p. 54, lines 1–6 (Cooper explains he drew three new districts in East Baton Rouge); see

also Pla-20, pp. 55-61.
177 Rec. Doc. 225, p. 66, lines 9–10.
178 Id. at p. 66, lines 11–12.
179 Pla-20, pp. 35, 48.
180 Rec. Doc. 225, p. 37, lines 11–14.


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Figures 16 and 27 below are probative evidence of cracking and packing BVAP in enacted

districts.




         Cooper testified that in the process of unpacking and uncracking BVAP he was

“positive [he] could have drawn districts with much higher Black VAPs, but [sic] [he was]

taking into account other factors.”181

                  b. Compactness

         The inquiry of compactness requires the map drawer to consider traditional

redistricting principles. Relative to the Illustrative Plan Cooper’s considerations of each

are summarized below.


181 Id. at p. 66, lines 9–11.


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                        1. District Shapes

         As mentioned, the shape of a district is relevant as “bizarre shap[es]” that “cut []

across precinct lines . . . or [other] traditional divisions” can suggest racial manipulation.182

Cooper testified as part of the “general inquiry” of Gingles I, that he “made a point of trying

to draw reasonably shaped compact districts. . . .” 183 Further, he explained that while

some illustrative districts may appear “odd shaped,” these shapes result from “following

the Mississippi River or following a municipal boundary.”184 On cross-examination, he

pointed to Enacted Senate District 29, calling it a “bizarre shaped district” [which he

addressed in his Illustrative Senate Plan].” 185 The Court finds the shapes of the districts

in the Illustrative Plan are reasonable considering geographic vagaries created by

waterways and considering the respect given to traditional boundaries such as VTDs and

parish lines.

                        2. Contiguity

         Cooper testified that he understood contiguity to be another traditional redistricting

principle. 186 A district is considered contiguous if it is “connected into one piece.” 187

Cooper accounted for contiguity in his map drawing through Maptitude. He testified,

“Maptitude has a check, a little module that you just press a button [and] it’ll tell you if

there’s not a contiguous district in front of you.” 188 The Court finds that the districts in the

Illustrative Plan are contiguous.



182 Vera, 517 U.S. at 980–81.
183 Rec. Doc. 225, p. 61, lines 18–19.
184 See id. at p. 22, lines 3–4.
185 Id. at p. 69, line 2.
186 Id. at p. 29, lines 2–3.
187 Ala. State Conf. of Nat’l Ass’n for Advancement of Colored People, 612 F. Supp. 3d at 1263 (M.D. Ala.

2020) (quoting Terrebonne Par. Branch NAACP v. Jindal, 274 F. Supp. 3d 395, 424 (M.D. La. 2017)).
188 Rec. Doc. 225, p. 29, lines 9–11.


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                      3. Preservation of Communities of Interest

        Turning to the next principle, the preservation of communities of interest, Cooper

observed that the state does not define the term “community of interest.” 189 Joint Rule 21

does not provide a definition and the term has no universal definition. The Brennan Center

for Justice defines “communities of interest” as “groups of individuals who are likely to

have similar legislative concerns, and who might therefore benefit from cohesive

representation in the legislature.”190 Cooper relied on this definition in drawing his

illustrative maps. Cooper testified that he “looked at the cultural regions like Acadiana

which is [sic] defined by the State Legislature. . . [and a] definition for the river parishes

and a tighter definition for [sic] what is called the Cajun Heartland and [sic] the Florida

parishes.”191 He also “looked at. . .planning districts that encompass all of the parishes in

Caddo.” 192 He determined that he “should try to keep together [these regions] to the extent

possible.”193 Further, Cooper testified that he reviewed socioeconomic characteristics at

parish and municipal levels to provide a contextual background when considering

communities of interest. 194

        Plaintiffs offered expert witness Dr. Craig Colten to provide opinion testimony on

the historical geography of Louisiana and address the communities of interest inquiry. Dr.

Colten is a retired tenured professor from Louisiana State University’s Department of

Geography and Anthropology. 195 He holds a Bachelor of Arts, Master of Arts, and Ph.D.




189 Id. at p. 83, lines 21–22.
190 Pla-20, pp. 7–8 n.13.
191 Rec. Doc. 225, p. 32, lines 13–21.
192 Id. at p. 32, lines 24–25.
193 Id. at p. 32, lines 21–22.
194 Pla-20, pp. 30, 44.
195 Pla-130, p. 1.


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in Geography. 196 Dr. Colten has experience in analyzing community formation as he

worked in conjunction with the State’s Department of Mineral Management Service

completing a series of studies on environment justice. 197 As part of this series, he

analyzed both racial and low income communities in the state. 198 Dr. Colten has 20-plus

years of experience researching and writing about the historical geography of

Louisiana. 199 Dr. Colten has provided deposition testimony 24 times and court testimony

three times in state and federal cases. 200 However, he has not provided expert testimony

in a redistricting case prior to this case. 201 The Defendants stipulated to Dr. Colten’s

expertise in the historical geography of Louisiana and the Court admitted his opinion

testimony in this field 202

          Dr. Colten was asked to provide quantitative and qualitative evidence of “the

historical and current status of communities of interest” in the Red River Parishes,

Caddo/Bossier Parishes, Acadiana, and the River Parishes, or that is, the areas

addressed by Mr. Cooper in his Illustrative Plan. 203 Dr. Colten was also asked to “review

the Legislative Senate and House districts and compare the boundaries of those districts

in terms of their geographic correspondence to historical communities of interest.” 204 Dr.

Colten relied on “methods common in [his] specialty” such as reviewing books, academic




196 Id. at p. 2
197 Rec. Doc. 212, p. 11, lines 17–23.
198 Id.
199 Pla-129, p. 3.
200Pla-130, pp. 11–12.
201 Rec. Doc. 212, p. 17, lines 2–4.
202 Dr. Colten’s expert, supplemental, and rebuttal reports were admitted into evidence by stipulation of the

parties. Pla-129; Pla-131; Pl-132.
203 Pla-129, p. 2.
204 Rec. Doc. 212, p. 19, lines 19–22.


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publications, reports, news, and scholarly work to draw conclusions about the “cultur[al]

histories of each area and the communities of interest there.” 205

         Under Dr. Colten’s analysis he defined community of interest as a “group of people

with comparable, similar social, cultural, economic, [and] political interests within a given

territory.” 206 Dr. Colten provided opinion evidence of the settlement history, economic

landscapes, and cultural identifiers for the Red River Parishes, Acadiana region, River

Parishes, and Jefferson Parishes.

         Starting with the Red River Parishes, Dr. Colten examined the Natchitoches and

Cane River territory. In his expert report, he notes the community is influenced by French

colonialism because early French settlement resulted in French being the dominant

language and Catholicism becoming the dominant faith in the territory among White and

Black people. A particular rural region of the state, this territory was known for significant

cotton cultivation. Additionally, a growing population of freed Black people at Isle Brevelle,

an area downstream from Natchitoches, led to increased Black wealth in this territory and

the formation of business relationships between freed Black people and White Creoles. 207

However, following the Civil War, the area was plagued with racial tensions and violence.

As an example, Dr. Colten pointed out that between 1865 and 1878, the murder rate in

Red River valley was “four times that of the second most violent area in Louisiana.”208 Dr.

Colten observed that “[w]ith the exception of Grant Parish, the parishes [in this territory]




205 Pla-129, p. 3.
206 Rec. Doc. 212, p. 20, lines 9–11.
207 Pla-129, pp. 7–8.
208 Id. at p. 9.


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are near or above the state average for African American population (33%) and [the]

percent of [the state] population living in poverty (17.8%).”209

          Dr. Colten also reviewed the cultural and historical developments in Caddo and

Bossier Parishes. Finding parallels to the Natchitoches and Cane River territory, this area

also saw expanding cotton cultivation, especially so after the “clearing of the ‘Great Raft,’”

which removed a log jam in Shreveport and increased movement of settlers through

Shreveport’s riverport. 210 The area was also plagued with intense racial violence

throughout Reconstruction, so much so that Caddo Parish was labeled “Bloody

Caddo.” 211 Dr. Colten notes that in Reconstruction, Caddo held the highest number of

homicides in Louisiana, which is “a notoriously violent state.” 212 Dr. Colten expands on

the cultural and social effects following Bossier becoming a major Air Force base. The

parish saw massive growth in adult entertainment and night clubs, and as segregation

remained the norm of the time, segregated entertainment districts grew. 213 Dr. Colten

concluded that Shreveport’s majority-Black population compared to Bossier’s low

suburban Black population today “reflect[s] [W]hite flight.”214 Dr. Colten determined that

this white flight had its genesis following a 1970 court order requiring desegregation,

which prompted White families from the city of Shreveport to migrate to Bossier Parish

and more distant suburbs. 215

          Moving to the Acadiana region, Dr. Colten discussed the settlement history of the

Acadians, which originated from a “singular diaspora of families from Acadie (or Nova


209 Id. at p. 6.
210 Id. at p. 12.
211 Id.
212 Id.
213 Id. at p. 13.
214 Id. at p. 12.
215 Id. at p. 13.


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Scotia, Canada) in the 18th century.”216 Dr. Colten provided insight on the economic

diversity of this region. For example, the economy was supported by the extraction of oil

and gas as well as marine fisheries. Additionally, in the east, sugar cane cultivation

dominated, whereas in the west, rice growing bolstered the economy. 217 There was in-

migration into this region following the discovery of oil and the sugar cane cultivation. Dr.

Colten discussed the different cultural groups in the region: Cajuns or White residents,

and “Creoles of color” or residents with African heritage who were identified by their

French language history. 218 Dr. Colten found that Creoles of color “identified as a separate

social class, neither Black nor [W]hite.”219 Creoles of color populated St. Landry Parish

within the Acadiana region.

          Through his research on the River Parishes, 220 Dr. Colten concluded that the

colonization along the Mississippi River led to the River Parishes retaining “a mix of

European residents” including Acadians, French Creoles, the Spanish, and Germans. 221

And as planters moved into the region, cotton cultivation dominated more in West

Feliciana and East Baton Rouge Parishes, whereas parishes such as Pointe Coupee and

St. John the Baptist saw much more sugar cane cultivation. 222 These differentiations were

exhibited also culturally, as West Feliciana and East Baton Rouge saw much more Anglo



216 Id. at p. 14.
217 Id.
218 Id. at p. 17.
219 Id.
220 The River Parishes, or those that are “adjacent to the Mississippi River” are Pointe Coupee, West Baton

Rouge, Iberville, Assumption, Ascension, St. James, St. John the Baptist, St. Charles, and Jefferson on the
west bank. On the east bank of the river, West Feliciana, East Feliciana, East Baton Rouge, and Livingston
are culturally considered the Florida Parishes, but Dr. Colten discusses West Feliciana and East Baton
Rouge when discussing the River Parishes as a comparison. With respect to Jefferson Parish, Dr. Colten
proposes that the parish is “an anomaly among the parishes along the lower Mississippi River and deserves
separate consideration.” Id. at pp. 18–23.
221 Id. at p. 20.
222 Id. at pp. 18–19.


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settlers, in contrast to the rest of the River Parishes which were strongly influenced by

French settlers and culture. 223 West Feliciana and East Baton Rouge were “culturally part

of the Florida Parishes.” 224 As both cotton and sugar cane cultivation relied on slave labor,

there were Black workers in this region, but as a demand for farm labor decreased, many

Black people began to migrate further south in the region, especially so into Baton

Rouge. 225 Dr. Colten explains that these communities became “the sites of environmental

justice struggles” when the large-scale petrochemical industry developed in the 20th

century, leading to African American-led environment justice campaigns in these

communities. 226

          With Jefferson Parish, Dr. Colten concluded that the parish “is an anomaly among

the parishes along the lower Mississippi River and deserves separate consideration.”227

Colten contends that “[d]espite its proximity, Jefferson Parish is separate from New

Orleans in many ways.” 228 Dr. Colten found that the parish is significantly segregated, as

the east bank of the Mississippi River, which runs through the parish, is highly populated

by White and Hispanic people whereas the west bank is heavily populated by Black

people. 229 Dr. Colten found similar segregation of economic activities, as ship-building

and petrochemical industries clustered on the west bank whereas retail and commercial

activity dominated the east bank. 230 “Superior flood protection on the east bank and flood

prone neighborhoods in the west bank further reinforced racial segregation.” 231 Dr. Colten


223 Id.
224 Id. at p. 19.
225 Id. at p. 21.
226 Id. at p. 22.
227 Id. at p. 23.
228 Id. at p. 24.
229 Id.
230 Id.
231 Id. at p. 25.


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concluded that “[s]egregation has contributed to community formation and group identity”

in Jefferson Parish. 232

          Dr. Colten concluded that the Illustrative Plan preserved communities of interest,

whereas some of the communities of interest were not maintained in the Enacted Maps.

For example, addressing Illustrative House District 23, Dr. Colten found that the

Illustrative     Plan    “keeps    Natchitoches   basically   together   within   one   effective

municipality.” 233 However, in this same region in the Enacted Maps, the districts “[create]

a stark boundary” between DeSoto Parish and the Red River Parishes although “in many

respects [they] had a comparable sort of history.” 234 Moreover, he concluded that in the

Enacted Maps, “the city [of Natchitoches] is basically taken out from Natchitoches Parish

and put into Grant.” 235 Similarly, when discussing Illustrative Senate District 19 and

comparing it to its counterpart in the Enacted Senate Map, Dr. Colten concluded that the

“strong sense of identity” of Jefferson Parish was retained in the illustrative district, but

“discontinuity” existed in the enacted counterpart. Dr. Colten discerned that the district in

the Enacted Senate Map lost a “big chunk of its territory” to a neighboring district. 236

          The Court found Dr. Colten’s testimony credible and well supported by his

research. The Court credits Dr. Colten’s testimony regarding communities of interest and

finds that Shreveport and Bossier form a community of interest; Natchitoches and the Red

River Parishes, including DeSoto Parish ,form a community of interest; the River Parishes




232 Id.
233 Rec. Doc. 212, p. 41, lines 21–22.
234 Id. at p. 42, lines 10–12.
235 Id. at p. 42, lines 19–21.
236 Id. at pp. 42, 63.


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comprise a community of interests; and Jefferson Parish is a community of interest

distinct from Orleans.

                       4. Compactness Measures

         For measuring compactness, Mr. Cooper “visually looked at the districts” but also

cross-checked this “eye test” with traditional compactness measures such as the Reock,

Polsby-Popper, and Area/Convex Hull tests. 237 Each test provides a score “between 0

and 1, with 1 being the most compact” 238 and are measured in Maptitude. Cooper testified

that a compactness score of 1 would produce an area that is a “perfect circle.”239 But,

because districts are usually not perfect circles, it is common for districts that are

reasonably compact to be in a range of .20 and .40. 240 With the Polsby-Popper test, he

testified that because of the “nature of the calculation,” this test usually produces a lower

compactness score than the Reock test, and the Area/Convex Hull test “typically” results

in a higher score because “it discounts for [sic] odd shaped districts.” 241 He continued,

“[the Area/Convex Hull test provides] a way to take into account some areas that appear

to have very low scores under Polsby-Popper, but perhaps for a good reason if you are

following the Mississippi River or following a municipal boundary, which oftentimes can

be odd shaped.”242

         Cooper’s conclusions that the Illustrative Senate Plan was “unquestionably more

compact” than the Enacted Senate Map and that the house districts in the Enacted House




237 Rec. Doc. 225, p. 20 line 5–p. 22, line 4.
238 Id. at p. 21, lines 1–3; Pla-120, p. 32 at n.37.
239 Rec. Doc. 225, p. 21, line 2.
240 Id. at p. 21, lines 3–4.
241 Id. at p. 21, lines 11–12, 19–25.
242 Id. at p. 22, line 25–p. 22, line 4.


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Map and the Illustrative Plan are “about the same in terms of compactness” were

supported by the record. 243

        Figures 25 and 14 provide the lowest, highest, and mean compactness scores

under the Polsby-Popper and Reock Tests: 244




        These compactness scores were undisputed. The Court finds that both the

Illustrative Plan and the Enacted Maps include reasonably compact districts.




243 Id. at p. 22, lines 14–18.
244 Cooper provides the compactness scores for the Illustrative Plan and Enacted Maps under all 12
compactness tests available in Maptitude. However, he provides the lowest, highest, and mean
compactness scores under Polsby-Popper and Reock tests because those are the most routinely used
tests. Pla-89; Pla-90; Pla-92; Pla-93; Pla-94; Pla-95.

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                       5. Joint Rule 21 Considerations

          Cooper testified that he considered Louisiana’s Joint Rule 21 when creating the

Illustrative Plan. He explained that “Rule 21 on the whole basically encompasses all of

what [he] would consider to be the traditional redistricting principles.” 245 As mentioned,

Joint Rule 21 requires that “districts. . . are substantially equal in population” such that a

districting plan cannot have “an absolute deviation of population which exceeds plus or

minus five percent of the ideal district population.” 246 On direct examination, Cooper

stated that this is a “typical range for a typical stage legislative plan” and that he employed

“the plus or minus 5 percent” population equalization requirement when drawing his

maps. 247 Cooper followed the guidance of Joint Rule 21 requiring that, “[t]o the extent

possible, precincts. . . be kept whole” and “to the extent possible, municipalities,

boundaries . . . be kept whole.”248

          Cooper affirmed that he adhered to the traditional redistricting principles listed

above, complied with Joint Rule 21, and made slight modifications to his Illustrative

Senate and House Plans following Dr. Colten’s considerations of communities of

interest. 249

          The Defendants argue that Plaintiffs have failed to satisfy the Gingles I inquiry in

part because the districts in the Illustrative Plan produced by Cooper are not sufficiently

compact. At trial, Defendants offered Dr. Sean Trende to support this argument. Dr.



245 Rec. Doc. 225, p. 31, line 24–p. 32, line 1.
246 Joint-56; Joint Rule 21(D)(2), H.. R. Con. Res. 90, 2021 Reg. Sess. (La. 2021).
247 Rec. Doc. 225, p. 29, lines 17–24.
248 Id. at p. 31, lines 6–8.
249 See Rec. Doc. 225, p. 78 (Cooper explains that he did not directly speak to Dr. Colten about his
considerations of communities of interest. However, Plaintiffs’ counsel informed Cooper that Dr. Colten
suggested he make some “minor changes” with respect to the Baton Rouge area. But outside of this, the
two experts did not communicate).

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Trende suggests that the minority populations in the Illustrative Plans are not

geographically compact, but instead, the minority populations are dispersed and Plaintiffs

merely cobbled together small pockets of minority populations in order to artificially create

compactness. Dr. Trende relies on a novel approach referred to as the “moment of

inertia” 250 and asserts the compactness should be measured using this approach.

         The Court finds Trende’s “moment of inertia” algorithm to be fundamentally flawed

and completely useless in evaluating Gingles I compactness. First, the “moment of inertia”

methodology has never been used in a VRA § 2 case, was not utilized by Trende when

he was engaged to draw VRA compliant maps in Arizona and Virginia, nor has Trende

employed the methodology in his own research. 251 Trende’s “moment of inertia”

methodology also fails to consider communities of interest and traditional boundaries.

Most glaringly it ignores the legislature’s mandate of equal populations among districts. 252

The drawing of a VRA compliant map balances multiple criteria and is considerably more

complicated and nuanced than suggested by the oversimplistic and unhelpful

compactness measure advanced by Trende.




250 The Defendants suggest that the “moment of inertia” is one of the oldest redistricting metrics. Rec. Doc

206, p. 18, n. 7. However, Trende admits that the “moment of inertia” has never been employed in a
redistricting case and that the methodology does not produce entire districts or maps and does not consider
traditional districting principles. Rec. Doc. 229, p. 5, line 15–p. 6, line 6; p. 6, line 14–p. 7, line 5; p. 18, line
8–p. 23, line 21. Dr. Murray testified that “moment of inertia” has been peer reviewed and commonly used
in the field of Geography, but he is unaware of the “moment of inertia” being used as a compactness
measure in any redistricting cases. Rec. Doc. 218, pp. 52, 92.
251 Rec. Doc. 229, pp. 7, 19–22. Trende admits that when he served as a Gingles I expert he relied on the

Polsby-Popper and Reock measures for compactness. Id.
252 Figure 6 of Trende’s report illustrates with a blue line the point at which BVAP reaches 50 percent plus

1 within Plaintiff’s Illustrative District 1. Def-3, p. 17. However, if the illustrative boundary stopped at Trende’s
blue line, the district would be insufficiently populated. Trende’s analysis gave no effect to § D(2) of Joint
Rule 21, which forbids the configuration of districts with “an absolute deviation of population which exceeds
plus or minus five percent of the ideal district population.” Joint-56; Joint Rule 21(D)(2), H.R. Con. Res. 90,
2021 Reg. Sess. (La. 2021).

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        Trende also used a spin-off of a statistical model first developed by noted

researchers Chen and Rodden, which Trende coined the “areal/Chen & Rodden”

compactness measure. 253 Trende’s degradation of the Chen and Rodden statistical

model is untested, not peer reviewed, and never before used. 254 It is unhelpful and

unpersuasive as a Gingles I compactness measure. 255 Like his “moment or inertia”

theory, this “areal” method fails to control for the mandate of equal populations and fails

to consider precinct lines, political subdivision boundaries, geographic features, or

communities of interest. Existing law does not require a granular analysis of the

distribution of minority populations within an illustrative district to the exclusion of other

criteria and priorities. “[T]he purpose of illustrative maps is to illustrate that creating

another majority [B]lack district is possible, consistent with other requirements under

Section 2 caselaw.”256

        Accordingly, the Court rejects Dr. Trende’s approach to addressing compactness

and accepts Cooper’s approach. On the issue of compactness, Cooper employed Reock

and Polsby-Popper to evaluate the compactness of his Illustrative Plan. It is undisputed

that these tests are the gold standard for evaluating the compactness in the context of




253 See Def-3, p. 16 (Trende cites Jowei Chen & Jonathan Rodden in his expert report); Rec. Doc. 228, p.

180–81. Rather than using the BVAP to evaluate compactness, he instead utilized the area of precincts.
Notably, Trende concedes that this modified Chen & Rodden “approach sometimes produces ‘holes’ on the
map.” See Def-3, p. 16.
254 Rec. Doc. 229, pp. 6–7 (Trende admits that neither algorithm he employed has been peer reviewed).
255 Dr. Murray noted that the “moment of inertia” is peer reviewed in Geography literature but there was no

evidence of its peer reviewed use in political redistricting as a compactness measure. Rec. Doc. 218, p. 52.
256 Robinson v. Ardoin, 86 F.4th 574, 593 (5th Cir. 2023).


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redistricting. 257 Even Trende admitted that “if you are looking at the compactness of the

district, Reock and Polsby-Popper are the proper tools.” 258

        Turning to Defendants’ next argument, Defendants argue that Plaintiffs failed to

satisfy Gingles I because race predominated the configurations of the Illustrative Plan.

Defendants offered Dr. Alan Murray in support of this argument.

        Dr. Alan Murray is a Professor of Geography at the University of California, Santa

Barbara. 259 He was offered and accepted by the parties to provide opinion testimony in

the fields of Geography, Demographic Analysis, and Spatial Analytics as it relates to race

and statistics. 260

        Murray did not conduct any analysis of and offered no opinions on racially

polarized voting. 261 Dr. Murray offers a forensic analysis of the Illustrative Plan to reach

the opinion that the Illustrative House and Senate Districts advanced by the Plaintiffs were

configured predominately based on race. 262 Dr. Murray specifically analyzed

compactness, core retention, spatial autocorrelation, and communities of interest. For the

following reasons, the Court rejects Dr. Murray’s opinions.




257 Defense expert witness Dr. Murray referred to the Reock and Polsby-Popper compactness measures

utilized by Mr. Cooper as the “industry de facto” used by state legislatures and experts. Rec. Doc. 160-1,
p. 9, line 24; Rec. Doc. 218, p. 106, lines 5–7.
258 Rec. Doc. 229, p. 18, lines 24–25.
259 Interv-42, p. 35.
260 Rec. Doc. 218, p. 41, lines 14–1.
261 Id. at p. 89, lines 16–20.
262 Interv-42, p. 32. Much of Dr. Murray’s report relates to Mr. Cooper’s use of incorrect boundaries for the

Enacted Maps in his initial report. Cooper candidly admitted that in drawing his initial illustrative districts he
“mistakenly relied on plans that were developed in legislative committees during the 2022 redistricting
process rather than the final plans enacted by the Legislature and signed into law by Governor Edwards.”
Pla-89, p. 2. Cooper supplemented his June 29, 2023 Declaration to accurately reflect the Enacted Maps.
Dr. Murray offered no criticism or opinion in response to the Amended Illustrative Plan. Rec. Doc. 218, p.
98, line 25–p. 95, line 1

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         First, Dr. Murray compares compactness of the House and Senate districts in the

Enacted Maps to the House and Senate districts in the Illustrative Plan. He uses the

familiar Polsby-Popper and Reock tests, the Convex Hull method, and the method dujour,

the “moment of inertia.” After laboring through numerous charts, graphs, and explanations

in his report and over an hour of testimony about the results of the various compactness

metrics, he agreed that regardless of the metric used to evaluate compactness, the

“illustrative plans are on average as compact as or more compact than the corresponding

[enacted] plans.” 263

        The Court concludes, as a matter of fact, that compactness of the districts in the

Illustrative Plans as compared to the Enacted Maps is not reasonably disputed. 264 The

Illustrative Senate Plan is more compact than the Enacted Senate Map and the Illustrative

House Plan and the Enacted House Map are substantially equivalent in compactness. In

short, Dr. Murray’s compactness analysis offers no support for his racial predominance

opinion.

        Next Dr. Murray compares parish splits and voter tabulation district (“VTD”) splits

of the Enacted Maps and the Illustrative Plans. Dr. Murray contends that the parish and

voting district splits are not correct in Cooper’s analysis. He asserts Cooper’s analysis is

flawed and “some nuanced accounting [must have been] employed.” 265 However, in



263Rec. Doc. 218, p. 98 lines 17–19. Using the conventional measures of compactness (Polsby-Popper and

Reock), Dr. Murray opines that the Illustrative Plan scored slightly higher in compactness than the Enacted
Maps. Even using the arguably more controversial “moment of inertia” metric, the Enacted House and
Illustrative House score almost exactly the same. Rec. Doc. 218, p. 98.
264 See id. (Murray was asked on cross examination, “whether you are looking at Polsby-Popper or Reock

or Moment of Inertia, Mr. Cooper’s illustrative plans are on average as compact as or more compact than
the corresponding enrolled plans, right?” Dr. Murray answered: “I would agree with that.”). On direct
examination, Cooper states, “the point is there’s really no meaningful dispute between myself and [sic] Dr.
Murray, on compactness.” Rec. Doc. 225, p. 25, lines 20–21.
265 Interv-42, p. 6.


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making these assertions, Murray confuses the concepts of “splits in parishes” and “parish

splits.” Parish splits refer to “unique parish/district combinations”266 whereas splits in

parishes refers to the number of parishes that are split. 267

          Murray states that Cooper found that there are 81 parish splits in the Enacted

Senate Map and 65 parish splits in the Illustrative Senate Plan. But, Murray found that

there are 116 parish splits in the Enacted Senate Map and 90 parish splits in the

Illustrative Senate Plan. 268 However, it is unclear how Murray calculated these numbers.

He offers no computation or exhibits, nor does he cite to any source for his assertion.

Instead, he merely concludes that “his analysis” found these split counts. In his expert

report, Murray also uses the terms “splits in parishes” and “parish splits” interchangeably,

even though they refer to different metrics. 269 Thus, the Court finds his findings on this

point conclusory and unreliable.

          Moreover, even if Murray’s findings were reliable, the Court finds that the

Illustrative Senate and House Plan are superior to the Enacted Maps on this metric. Joint

Rule 21(H) provides the relevant guidance on parish splits in redistricting plans. It directs

that “[a]ll redistricting plans shall respect the established boundaries of parishes,

municipalities, and other political subdivisions and natural geography of this state to the

extent practicable.” 270 Accordingly, a lower number of splits in parishes is ideal. Per

Murray, there are 116 “splits in parishes” in the Enacted Senate Plan compared to 90

“splits in parishes” in the Senate Illustrative Plan. 271 Using Murray’s conclusions, the



266 Pla-89, p. 10.
267 Id.
268 Interv-42, p. 11.
269 Interv-42, p. 11.
270 Joint-56; Joint Rule 21(H), H.R. Con. Res. 90, 2021 Reg. Sess. (La. 2021).
271 Interv-42, p. 11.


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Illustrative Senate Plan is superior. Again, offering no support for Murray’s racial

predominance theory.

        With respect to splitting VTDs, Murray candidly admits that the Illustrative House

and Senate districts “generally maintain Voting District boundaries and recognized places

of interest.” 272 But he contends that the Illustrative Districts split more VTDs compared to

the Enacted Districts. However, Murray formed his analysis using the VTD boundaries

issued by the Louisiana Legislature. In contrast, Cooper reported VTD splits in the

Illustrative Plan based on U.S. Census VTD boundaries. Cooper’s approach is consistent

with Joint Rule 21(G) which speaks to minimizing splits in census voter tabulation districts.

Murray was unaware of this distinction until trial. 273 Murray again showed his unfamiliarity

with and misunderstanding of Joint Rule 21. Consequently, his VTD split comparison

resulted in ill-founded conclusions. 274 Thus, Murray’s opinions regarding the VTD splits

in the Illustrative Plan as compared to the Enacted Maps are unreliable and untrustworthy

and the Court affords them no credit.

        Murray also criticizes the Illustrative Plan for splitting census blocks275, which he

equates to “neighborhoods” which he contends are a proxy for “communities of

interests.”276 He asserts Cooper drew the Illustrative Plan without “respect to localized




272 Interv-42, p. 21; Rec. Doc. 218, p. 100, lines 19–22.
273 Rec. Doc. 218, p. 95, lines 6–12 (Dr. Murray was asked, “[a]re you aware that the Louisiana Legislature

periodically issues new boundary files for voter tabulation districts?” Murray answered, “[n]ow I am.” Dr.
Murray was asked, “[a]re you aware that those are different than the VTD boundaries issued by the
Census?” Murray answered, “[i]f what you’re saying is true, I guess now I am.”).
274 See id. at lines 13–18 (Dr. Murray explained that he used the legislature’s updated VTD boundaries in

his analysis of VTD splits, and Plaintiffs’ counsel informed him that Cooper reported splits based on census
VTD boundaries).
275 Id. at p. 74, lines 6–11 (Dr. Murray finds that there are 4,291 block groups in the state and he finds that

in the Illustrative Senate Districts, 375 blocks are split by the district boundaries).
276 Id. at p. 69, lines 1–3.


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communities of interest.” 277 The Court rejects Dr. Murray’s conclusion. It is mere ipsi dixit

reasoning. Throughout his testimony, Murray uses the term “communities of interest” and

neighborhood interchangeably, yet he offers no data or evidence to support the

assumption that these terms are one in the same. Murray also offers no data or evidence

to support his assumption that census blocks serve as a proxy for either term. Even if the

Court accepted the unsupported premise that census block groups are a reasonable

proxy for communities of interest, Murray did no analysis of how many census blocks are

split in the Enacted Maps. 278 Without this comparison, Murray’s census block analysis is

devoid of probative value.

        Finally, Murray crunches a great deal of data to come to the unremarkable

conclusion that the BVAP is concentrated in urban areas and the WVAP is concentrated

in rural areas. 279 He concedes that property values are a factor in where people can afford

to live. He also concedes that educational attainment also drives where people can afford

to live. He admits that Louisiana’s population is highly racially segregated 280 and admits

that patterns of racial segregation, rather than race, is an explanatory factor in where

people live. 281

        The Court concludes that Dr. Murray’s testimony offered no support for the

Defendants’ theory that the illustrative districts were configured predominately based on

race.




277 Id. at p. 82, lines 24–28.
278 Id. at p. 91, lines 17–19.
279 Id. at p. 73, lines 15–21.
280 Id. at p. 107, lines 3–8; Interv-42, p. 19 (looking at Figure 28).
281 Rec. Doc. 218, p. 103, lines 13–16.


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          Dr. Michael Barber was offered by the Defendant Secretary of State also in support

of the argument that race was the predominate factor in configuring the Illustrative Plan.

Dr. Barber is an Associate Professor of Political Science at Brigham Young University

and the Director for the Center for the Study of Elections and Democracy. 282 Dr. Barber

earned his Ph.D. in Political Science, with emphasis in American politics and quantitative

methods/statistical analyses, from Princeton in 2014. 283 He was accepted by the Court

as an expert in the fields of political science, American politics, voting behavior and

patterns, and simulated maps. 284

          Dr. Barber used a computer algorithm to generate 100,000 simulated random

redistricting plans that he compared to the Illustrative Plan. He performed a regional

analysis 285 to further compare the computer-generated simulated districts to the

Illustrative Plan and Enacted Maps. Dr. Barber used the Redist software developed by

Plaintiff’s expert Dr. Cory McCartan. 286


282 Def-1, p. 124.
283 Id.
284 Rec. Doc. 229, p. 180, lines 17–23.
285 Dr. Barber ran 100,000 State Senate simulations using districting criteria, not including race. His
comparator simulations yielded no additional majority-Black districts in the areas of the Shreveport, Baton
Rouge, and Orleans where the Illustrative Plan draws majority minority Senate districts. Dr. Barber reached
the same general conclusions when conducting an analysis that compared the Illustrative House Districts
with race neutral simulated comparator maps. Def-1, pp. 11–14.
286 Plaintiffs’ expert witness, Dr. McCartan, developed the simulation algorithm, known as the “SMC

algorithm,” which can generate randomly sampled redistricting plans and “can be applied to measure and
evaluate existing redistricting plans along a variety of dimensions, while accounting for local variation in
geography and voting patterns.” Pla-135, p. 3. Additionally, he developed software packages for using
census data. This package includes a tool known as Redist, which includes his SMC algorithm. Dr. Barber
employed Dr. McCartan’s algorithm when drafting his expert report. Id. at p. 4. Dr. McCartan concluded that
Dr. Barber did not “follow best practices” when using the algorithm. He contends that Dr. Barber failed to
check standard diagnostics. Id. at p. 5. When reviewing 2,593 lines of Dr. Barber’s computer code,
McCartan did not see the instructions to run the software’s diagnostic routines. If used, these instructions
ensure that the results are “trustworthy.” Id. at pp. 11-12. Additionally, he asserts that Dr. Barber failed to
properly account for “core retention” as his approach did not “take into account the degree of population
overlap between old and new districts….” Id. at p. 10. Dr. McCartan also found that Dr. Barber failed to
perform multiple parallel independent runs of the algorithm in his first set of simulations, as such the
conclusions Dr. Barber introduced in his expert report did not provide for margins of error. Id. at p. 15. On


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        Dr. Barber ran simulations to compare splits in parishes, municipal splits, and core

retention between the Illustrative Plan and the Enacted Maps. 287 Barber concluded that

neither the Enacted House Map or the Illustrative House Plan do “especially well at

minimizing parish or municipal splits compared to the simulations.” 288 Barber finds that

the reason for this under the Enacted House Map is due to the map’s retention of the

2011 House district cores. 289 But, he concludes that the Illustrative Plan has a low core

retention score. Barber deduces the same under the Enacted Senate Map and the

Illustrative Senate Plan. Thus, Dr. Barber suggests that “adherence to [sic] race-neutral

criteria does not explain the [sic] Illustrative [sic] map’s boundaries.” 290

        Defendants contend that Barber’s simulations are evidence that in drawing the

illustrative districts, Cooper sought to maximize the number of majority-Black districts in

urban regions to not only equal, but exceed proportionality. 291 In apparent recognition that

that simulations were expressly rejected by the Supreme Court in Milligan in the context

of a VRA § 2 vote dilution case, Defendants state that they “offer these opinions, not in

the context of examining effects, but to prove intent.” 292 The Court finds that the illustrative

map drawer’s intent has no probative value in the context of the VRA § 2 vote dilution

case presented here. In Milligan the Supreme Court reiterated that § 2 “itself ‘demands




cross-examination, Dr. McCartan admitted that Dr. Barber performed independent runs of the algorithm in
his second set of simulation. Rec. Doc. 214, p. 161, lines 2–5. Because of irregularities in his method, the
reliability of his conclusions is questionable. However, the Court does not reject Dr. Barber’s opinions as
unreliable because, for reasons infra, the Court rejects Dr. Barber’s opinions as irrelevant.
287 Def-1, pp. 20, 24.
288 Id. at p. 66.
289 Id. Dr. Barber does not define “cores” in his expert report, but the Court presumes he is referring to core

populations.
290 Def-1, pp. 28, 67.
291 Rec. Doc. 177, p. 34.
292 Id. (citing Amicus Brief of Jowei Chen et al., Alexander v. S.C. State Conf. of the NAACP, 143 S. Ct.

2456 (2023)).

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consideration of race’”, because “the question whether additional majority-minority

districts can be drawn . . . involves a ‘quintessentially race-conscious calculus.’” 293

          In Milligan, 294 Alabama argued that computer generated maps should be used as

a “race-neutral benchmark” against which to measure illustrative maps in a § 2 vote

dilution case. The Supreme Court rejected the use of computer-generated maps offered

as benchmarks because liability in a VRA § 2 case “turns on the presence of

discriminatory effects, not discriminatory intent.” 295 Illustrative maps, in the context of a

statutory voting rights case, like this one, are offered “to show, as [sic] cases require, that

an additional majority-minority district could be drawn.”296 Illustrative maps are “created

with an express [racial] target in mind.” 297 Indeed, Chief Justice Roberts observed, “[t]hat

is the whole point of the enterprise.” 298 Concluding that in a VRA § 2 case “[t]he contention

that mapmakers must be entirely ‘blind’ to race has no footing in case law.”299 The

illustrative map-makers intent is irrelevant in a statutory § 2 vote dilution case, such as

this one.

          Computer generated maps may be probative of a state’s intent in map-drawing in

the context of a Fourteenth Amendment racial gerrymandering case, 300 but that case is

not before the Court and the Court declines to reach that constitutional question. 301


293 Milligan, 599 U.S. 1, 30–31 (2023) (citing Johnson v. De Grandy, 512 U.S. 997, 1020 (1994)).
294 Id. at 33.
295 Id. at 25.
296 Id. at 33.
297 Id.
298 Id.
299 Id.
300 See Milligan, 599 U.S. at 44 (Kavanaugh, J. concurring) (“[C]omputer simulations might help detect the

presence or absence of intentional discrimination.”)
301 “[C]onsistent with the longstanding canon of constitutional avoidance,” the Alabama district court in

Singleton declined to decide the Fourteenth Amendment racial-gerrymandering claims. See Singleton v.
Merrill, 582 F. Supp. 3d 924 (N.D. Ala. 2022), order clarified, No. 2:21-CV-1291-AMM, 2022 WL 272637
(N.D. Ala. Jan. 26, 2022), and appeal dismissed sub nom. Milligan v. Sec'y of State for Alabama, No. 22-


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        A fundamental and longstanding principle of judicial restraint requires that
        courts avoid reaching constitutional questions in advance of the necessity
        of deciding them. This principle required the courts below to determine,
        before addressing the constitutional issue, whether a decision on that
        question could have entitled respondents to relief beyond that to which they
        were entitled on their statutory claims. If no additional relief would have
        been warranted, a constitutional decision would have been unnecessary
        and therefore inappropriate. 302

        Scholars point out that “[t]he racial-gerrymandering context is [] materially different

from the racial vote-dilution context.”303 Unlike statutory VRA § 2 claims, racial

gerrymandering claims require proof of intent. In a case alleging unconstitutional

gerrymander, the plaintiff must prove that “race was the predominant factor motivating

the legislature’s decision to place a significant number of voters within or without a

particular district.” 304 If the plaintiff proves that the district boundaries drawn by the

Legislature were motivated predominately by race, then the disputed district is subject to

strict scrutiny. 305 The Illustrative Plan offered by the Plaintiffs demonstrates that additional

reasonably configured majority minority districts can be created. It is not a legislative map.

There is no state action and thus a Fourteenth Amendment analysis is not triggered. For

these reasons the Court finds Dr. Barber’s opinions irrelevant.

        Finally, Defendants presented Dr. Alan Johnson. Dr. Johnson was accepted by the

Court on stipulation of the parties as an expert in the fields of political science, political




10278-BB, 2022 WL 2915522 (11th Cir. Mar. 4, 2022), and aff'd sub nom. Allen v. Milligan, 599 U.S. 1
(2023).
302 Lyng v. Northwest Indian Cemetery Protective Ass'n, 485 U.S. 439, 445–46 (1988) (internal citations

omitted).
303 Amicus Brief of Professors Stephanopoulos and Chen at 19, Alexander v. S.C. State Conf. of the

NAACP, 143 S. Ct. 2456 (2023) (No. 22-807).
304 Miller v. Johnson, 515 U.S. 900, 916 (1995) (emphasis added); see also Cooper v. Harris, 581 U.S. 285,

291 (2017); Hunt v. Cromartie, 526 U.S. 541, 547 (1999).
305 See Cooper, 581 U.S. at 292 (“[I]f racial considerations predominated over others, the design of the

district must withstand strict scrutiny.”)

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geography, redistricting, and the Maptitude software. 306 Dr. Johnson was critical of Mr.

Cooper's methodology and came to the general conclusion that the Illustrative House and

Senate Plans were drawn predominantly for reasons of race. The Court finds Dr.

Johnson’s opinions unpersuasive.

        Dr. Johnson’s opinions were based on a visual inspection of the Illustrative Plan

without any comparison to the Enacted Maps. He opines that from 2000 to 2022 the

number of majority-Black House and Senate Districts has increased more than the

increase in the BVAP. This observation is meaningless as he concedes that he did not

do a proportionality analysis and admits that he did not consider the decline in WVAP

during the time period.

        On the communities of interest inquiry, Dr. Johnson was critical of Cooper’s

aggregation of voter socioeconomic data. 307 However, Cooper’s rebuttal report

establishes that the Illustrative Plan’s majority-Black districts keep low and moderate

income neighborhoods together. 308 Dr. Johnson also critiqued Cooper’s analysis of splits

of MSAs, municipal boundaries, and planning district boundaries, and what he called “zigs

and zags” of illustrative district boundaries. 309 Though, he conceded that the illustrative

districts followed precinct lines and do follow some major roadways. On cross




306 Rec Doc. 229, p. 30, lines 19–25. Dr. Johnson’s reports were admitted into evidence by stipulation of

the parties. See Interv- 51 and Interv-58. The reports were redacted by the parties in compliance with the
Court’s Ruling on Plaintiffs’ Motion in Limine, Rec. Doc. 174. A separate proffer was made by the
Defendants of the excluded portions of Dr. Johnson’s reports.
307 Cooper relied on socioeconomic data aggregated at the Parish and City levels. Dr. Johnson testified

that this “tells [him] nothing about where people—or how much money people in each individual section of
the parish earn.” See Rec. Doc. 229, p. 50, lines 6–12.
308 See Pla-89 at p. 12 (“[T]he Illustrative Plan generally keep together low- and moderate-income

neighborhoods—independent of race.”)
309 Rec. Doc. 229, p. 53, line 1–p. 60, line 19, line ; Interv-58, p. 88.


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examination, when asked to compare the Illustrative districts to the Enacted districts in

the Calcasieu Parish area, he admitted that the Illustrative Plan split fewer parishes. 310

          Based on the BVAP percentage in the Illustrative majority-Black districts, Dr.

Johnson opines that the Illustrative districts were achieved by removing Black voting-age

populations from other majority-Black districts. 311 This is unremarkable and not probative.

“Section 2 itself demands consideration of race” because “the question whether additional

majority-minority districts can be drawn . . . involves a quintessentially race-conscious

calculus.” 312

          Finally, Dr. Johnson hinted that the census data relied upon to configure the

Illustrative Plan may be unreliable due to “differential privacy” protocols employed by the

Census Bureau. He explained that to protect census respondent privacy, the Census

Bureau “blur[s] the census data” at the block levels to prevent data miners from

determining the identities of census respondents. 313 “Differential privacy” is a red herring.

Dr. Johnson does not know the margin of data error associated with this blurring but

guesses that an illustrative district with a 50.2 percent BVAP may not be over 50 percent

BVAP considering the “differential privacy” factor. 314 First, Dr. Johnson has no basis for

this conclusion. He admittedly does not know what, if any, margin of error results from

“differential privacy.” 315 Second, he offers no alternative to the use of official census data



310 See    Rec. Doc. 229, p. 131, lines 11–15 (Dr. Johnson admitted that keeping districts within parish
boundaries is one of the traditional redistricting factors).
311 See Rec. Doc. 229, p. 87, lines 1–20 (Dr. Johnson observed that 11 of the Illustrative Plan’s minority

House districts are under 53 percent BVAP―eight more than the Enacted Map; 11 of the 16 Illustrative
Plan’s minority Senate districts are between 50 – 53 percent BVAP. He commented that Illustrative House
District 69 had a “very precise” BVAP of 50.2 percent.)
312 Milligan, 599 U.S. at 31 (internal quotations omitted) (emphasis in original).
313 Rec. Doc. 229, p. 89, lines 7–13; Interv-51, p. 38.
314 Rec. Doc. 229, p. 93, lines 11–14; p. 152, lines 16–19.
315 Id. at p. 152, line 20–p. 153, line 8.


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relied upon by virtually every expert in the redistricting field. Finally, he admitted that

concerns about the effect of “differential privacy” have nothing to do with the effectiveness

of the proposed district. Dr. Johnson admitted that the possibility that “differential privacy”

may introduce a small margin of error in the raw census data is not correlated to

effectiveness. 316 Dr. Johnson asserts that there is a “sensitivity analysis to consider” to

test the effectiveness of the illustrative minority districts, though he admits he performed

no such analysis. 317

        Dr. Johnson’s analysis does nothing to advance Defendants’ argument that race

predominated the Illustrative Plan.

        Finally, Defendants seek to superimpose an equal protection analysis into the

Gingles inquiry. The equal protection clause invites examination of a state enacted

map, 318 to discern whether the “State, without sufficient justification, [] separat[ed] its

citizens into different voting districts on the basis of race.”319 An Equal Protection analysis

is premature at this stage. As recognized by the Fifth Circuit, “a Section 2 Gingles320 claim

[] is distinct from an Equal Protection racial gerrymander violation.” 321

        Section 2 expressly condemns districting solely on the basis of demographic

proportionality, and evidence of proportional redistricting may be probative of racial


316 Effectiveness analyzes whether the proposed minority district will provide a reasonable opportunity for

the minority voter to elect a preferred candidate. See Rec. Doc. 229, p. 161, lines 21–24 (Dr. Johnson
agrees that the “differential privacy concept…doesn’t have any effect on election returns data.”)
317 Interv-51, p. 28; See Rec. Doc. 229, p. 156, lines 15–25 (Dr. Johnson admits that he “did not attempt to

calculate the effectiveness level of any district.”)
318 The Equal Protection Clause of the Fourteenth Amendment prohibits discrimination by government

entities, not private parties. Therefore, state action is a prerequisite to bringing an equal protection claim
under the Fourteenth Amendment. See Shelley v. Kraemer, 334 U.S. 1 (1948) (“[T]he action inhibited by []
the Fourteenth Amendment is only such action as may fairly be said to be that of the States.”)
319 Bethune-Hill v. Virginia State Bd. of Elections, 580 U.S. 178, 187 (2017) (citing Miller v. Johnson, 515

U.S. 900, 911 (1995)).
320 Gingles, 478 U.S. 30 (1986).
321 Robinson v. Ardoin, 86 F.4th 574, 595 (5th Cir. 2023).


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gerrymandering but it is not dispositive. Moreover, the district maps being advanced by

the Plaintiffs are illustrative, offered to show that Black voters could constitute a majority

in reasonably configured illustrative districts whilst also abiding traditional redistricting

considerations such as equal populations; contiguity; respect for existing political

subdivisions; such as precincts, parishes, cities, and towns; and communities of interest.

The Section 2 analysis considers whether race predominated in the drawing of the

illustrative map. The Court finds that the Plaintiffs established by a preponderance of the

evidence that race did not predominate in the configuration of the Illustrative Plan.

        In conclusion, the Court finds that between 2000 through 2020, Louisiana

experienced significant population change, notably an increase in its Black population,

and simultaneously a decrease in White population, particularly in the New Orleans-

Metairie MSA. The Court finds Cooper to be a credible witness and is persuaded by his

method to “uncrack” and “unpack” districts in the Enacted Maps to form additional Black-

majority districts. As mentioned above, Cooper’s reduction of BVAP in other districts to

create additional Black-majority districts is obvious and does nothing to move the needle

in Defendants’ favor.

        Therefore, the Court finds that in the Enacted Senate Map, the Black population is

unnecessarily concentrated in Districts 15 and 39. Both these districts contain BVAPs

well over 50 percent. The Court also finds that the BVAP is unjustifiably fragmented

across Senate Districts 5, 7, 8, 10, and 19, which cover the New Orleans-Metaire MSA. 322

While population trends indicate that this area has seen significant increase in its Black



322 “Statistics,” Dave’s Redistricting, [https://davesredistricting.org/maps#viewmap::12eedba5-68de-4ab4-

a3bb-7f59d9268041] (Referenced at Pla-20, p. 31) (Statistics list the percentages of the population by
district and race).

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population and decrease in its Non-Hispanic White population between 2000 and 2020,

only Districts 5 and 7 are majority-Black districts whereas Districts 8, 10, and 19 are each

well below the 50 percent threshold. 323 Notably, the Court finds as fact that in Enacted

Senate Districts 8 and 10 Black voters constitute less than a quarter of the VAP. 324 The

Court finds that there are similar examples of packed and cracked districts in the Enacted

House Map. BVAP is heavily concentrated in Enacted House Districts 2 and 4, which

covers Caddo Parish, in the Enacted House Map. Both districts contain BVAPs in the 60s

and 70s. There is certainly an opportunity to disperse the Black population into at least

one additional district in this region. Moreover, the Court finds that the Black population

is fragmented in House Districts 5, 7, 13, 22, and 25 in the Natchitoches Area of the

Enacted House Map. None of the districts contain a BVAP over 30 percent, yet in the

2011 Benchmark Plan, a majority-Black district similar to the one proposed by Mr. Cooper

existed in this region. 325 The Court finds the Enacted House Map packs and cracks

districts in the Lake Charles MSA. House District 34 contains a BVAP of 72.6 percent, but

neighboring districts 35 and 37 contain BVAPs of merely 12.5 percent and 17.6

percent. 326 The Court finds that the Enacted House Map unnecessarily concentrates the

Black population into one district while dividing the rest of the Black population into smaller

districts.

        The Court finds as fact that the Black population in the Baton Rouge MSA grew

between 2000 and 2020. As such, the Enacted House Map should properly reflect this


323 See id.
324 See id (District 8 possesses a BVAP of 25.84 percent and District 10 possesses a BVAP of 12.22

percent).
325  “Statistics,” Dave’s Redistricting, [https://davesredistricting.org/maps#stats::d63b737c-a8b3-46e9-
8855-aa20a728c2b5] (Referenced at Pla-20, p. 45) (District 2 holds a BVAP of 67. 38 percent and District
4 holds a BVAP of 72.07 percent).
326 See id.


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growth. However, the Court finds that the BVAP is diluted in this region because of

cracking and packing. The African American population is greatly concentrated in House

Districts 29 and 63. Enacted House District 29 contains a BVAP of 73.6 percent and

Enacted House District 63 contains a BVAP of 69.7 percent. 327 But, neighboring district

65 contains a BVAP of slightly under 22 percent. 328 The Court finds that there is an

opportunity to create at least one additional district in this area covering the cities of

Central and Baton Rouge. Enacted House District 60 is also located in the Baton Rouge

MSA and surrounds Iberville and Ascension Parishes. The Black population in Ascension

Parish has doubled from 15,684 to 32,216 between 2000 and 2020, but Enacted House

District 60 holds a BVAP of only 37.7 percent. 329 The Court finds that this low percentage

is the result of fragmenting the significant Black population across these parishes. Finally,

the Court finds that Enacted House Map cracks and packs the Black population in Districts

61, 68, 69, and 70. While District 61 possesses a BVAP of 75.29 percent, close districts

68, 69, and 70 all possess BVAPs below 25 percent. 330 The Court finds that the Black

population in Baton Rouge has grown by 25 percent between 2000 and 2020, and the

Enacted House Map does not properly account for this significant growth. 331

        As such, the Court finds the Black population is “sufficiently large” in Louisiana

such that the Black population can comprise 50 percent or more of the population for

many state house and senate districts. The Court also finds that the Illustrative Plan


327 See id.
328 See id. (Enacted House District 63 contains a BVAP of 21.89 percent).
329 See id.; Pla-20, p. 55–56.
330    “Statistics”,  https://davesredistricting.org/maps#stats::d63b737c-a8b3-46e9-8855-aa20a728c2b5
(Referenced at Pla-20, p. 45) (Enacted House District 68 contains a BVAP of 20.18 percent, Enacted House
District 69 contains a BVAP of 23.75 percent, and Enacted House District 70 contains a BVAP of 21.21
percent).
331 Rec. Doc. 225, p. 15, lines 2–4 (“[T]he Baton Rouge Area has seen a 25 percent increase in Black

population. In absolute terms, almost 64,000 people.”)

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“generally maintain[s] Voting District boundaries and recognized places of interest” as set

forth in Joint Rule 21. 332 Cooper adhered to traditional redistricting principles when

developing the Illustrative Plan. Furthermore, the Court finds Dr. Colten to be a credible

witness. His assertions concerning the communities of interest and their preservation

within the Illustrative Plan are persuasive. As such, the Court finds that Plaintiffs have

satisfied Gingles I and the Black voting age population is “sufficiently large and

geographically compact” to constitute a majority in several reasonably shaped legislative

districts as demonstrated by the Illustrative House and Senate Plans offered by the

Plaintiffs.

         B. Gingles II and III

         To satisfy the second and third Gingles requirements, namely that Black voters are

“politically cohesive” and “that the white majority votes sufficiently as a bloc to enable it

... usually to defeat the minority's preferred candidate,”333 Plaintiffs offered the opinions

of Dr. Lisa Handley. 334

         Defendants stipulated to Dr. Handley’s expertise in the area of redistricting and

minority vote dilution. 335 Employing 35 years of experience as a voting rights and

redistricting expert, Dr. Handley analyzed the racial voting patterns in several areas of the

State of Louisiana to determine whether voting in these areas is racially polarized. 336 Dr.

Handley employed three separate localized analyses of voting patterns in the seven areas

of Louisiana where Mr. Cooper’s Illustrative House and Senate Plans create more




332 Interv-42, p. 21 (Dr. Murray affirming this point); Joint-56.
333 Growe v. Emison, 507 U.S. 25, 40 (1993) (citing Gingles, 478 U.S. 30, at 50–51 (1986)).
334 Rec. Doc. 217, p. 10, lines 5–7.
335 Rec. Doc. 217, p. 10, line 9.
336 Pla-1, p. 2.


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majority BVAP districts than the Enacted House and Senate Maps. 337 The “seven areas

of interest” include parishes that overlap geographically with the new proposed majority-

Black districts in Cooper’s Illustrative Plan such that they contain the areas where the

potential voters for the new districts live. 338

        Dr. Handley used the statistical methods of homogenous precinct (“HP”) analysis,

ecological regression (“ER”), and ecological inference (“EI”) to calculate estimates of the

percentage of Black and White voters who voted for candidates in recent statewide

general elections and state legislative elections. 339 Experts agree and courts recognize

that EI produces the most reliable estimates, and Dr. Handley used homogenous precinct

analysis and ecological regression to check the estimates produced by her EI analysis.

These analyses constitute the district-specific analyses required by Gingles. 340

        Employing this methodology, Dr. Handley analyzed sixteen recent statewide

election contests that included Black candidates. Dr. Handley opines that election

contests which include minority candidates are more probative than contests with only

White candidates. 341 This Court finds—and both Defendants’ expert and additional courts

agree—that biracial statewide elections are the “most probative” for determining racial

polarization. 342

        Dr. Handley opined on the election results by stating that “Black voters are very

cohesive in the seven areas.”343 Her report denotes that, “Black and White voters


337 Rec. Doc. 217, p. 10–11; Pla-1, p. 4.
338 Rec. Doc. 217, p. 11–12; p. 50, lines 2–14; p. 91, line 25–p. 92, line 13.
339 Rec. Doc. 217, p. 13, line 23–p. 14, line 11; Pla-1, p. 4. HP and ER were used and accepted by the

Supreme Court as far back as Gingles, she stated. EI, which was developed later, has since become a
widely accepted technique, as well.
340 Gingles, 478 U.S. at 103 (O’Connor, J., concurring).
341 Pla-1, p. 6, n. 9.
342 Rec. Doc. 217, p. 19, lines 11–15; Rec. Doc. 228, p. 145, lines 15–18.
343 Rec. Doc. 217, p. 12, lines 23–24.


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supported different candidates in nearly every election contest analyzed, with Black

voters cohesive in support of their preferred candidates and the White voters bloc voting

against these candidates.” 344 Black-preferred candidates received an average of 82.7%

of the Black vote in statewide elections in these areas and only an average of 12.2% of

the White vote. 345 When limited to only two-candidate contests, Black-preferred

candidates received an average 93.2% of the Black vote in statewide races in these areas

and an average of 15.6% of the White vote. 346 “Bloc voting by blacks tends to prove that

the black community is politically cohesive, that is, it shows that blacks prefer certain

candidates whom they could elect in a single-member, black majority district.” 347 The

analyses conducted by Dr. Handley clearly demonstrate high levels of cohesiveness

among Black Louisianans in supporting their preferred candidates in the areas where Mr.

Cooper has proposed to draw additional majority-Black districts. 348



344 Pla-1, p. 9
345 Pla-1, p. 10.
346 Pla-1, p. 10.
347 Gingles, 478 U.S. at 68.
348 In Area 1, the percentage of support from Black voters for the Black-preferred candidate ranges from

98.1% to 44.8%, with the support being over 50% in all the elections analyzed but one, and over 60% in all
elections analyzed but three. See Pla-3.
In Area 2, the percentage of support from Black voters for the Black-preferred candidate ranges from 97.3%
to 50.4%, with the support being over 50% in all the elections analyzed and over 60% in all elections
analyzed but two. See Pla-4.
In Area 3, the percentage of support from Black voters for the Black-preferred candidate ranges from 97.7%
to 39.5%, with the support being over 50% in all but two of the elections analyzed and over 60% in all
elections analyzed but three. See Pla-5.
In Area 4, the percentage of support from Black voters for the Black-preferred candidate ranges from 97.2%
to 36.7%, with the support being over 50% in all but two of the elections analyzed and over 60% in all
elections analyzed but three. See Pla-6.
In Area 5, the percentage of support from Black voters for the Black-preferred candidate ranges from 96.5%
to 50.7%, with the support being over 50% in all of the elections analyzed and over 60% in all of the elections
analyzed but three. See Pla-7.
In Area 6, the percentage of support from Black voters for the Black-preferred candidate ranges from 97.5
% to 44.9%, with the support being over 50% in all but one of the elections analyzed and over 60% in all
elections analyzed but three. See Pla-8.
In Area 7, the percentage of support from Black voters for the Black-preferred candidate ranges from 97.4%
to 36.8%, with the support being over 50% in all but one of the elections analyzed and over 60% in all
elections analyzed but two. See Pla-9.

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         Plaintiffs also presented evidence through Dr. Handley’s testimony that White

voters typically vote as a bloc to defeat Black voters’ preferred candidate. 349 In every

election that Dr. Handley analyzed within each of the seven areas of interest, White voters

consistently bloc voted to defeat the candidates supported by Black voters. Across the 16

elections, a scant 12.2% of White voters supported the Black preferred candidate in multi

candidate races, rising to only 15.6% in two-candidate contests. 350 Dr. Handley found that

due to this low level of White support for Black-preferred candidates, blocs of White voters

were able to consistently defeat Black-preferred candidates. 351 She also analyzed 21

state legislative elections overlapping with the seven areas of interest and found racially

polarized voting occurred in all but one of these elections. 352 Dr. Handley concluded that

“[r]acially polarized voting substantially impedes the ability of Black voters to elect

candidates of their choice to the Louisiana state legislature in these areas unless districts

are drawn to provide Black voters with this opportunity.” 353

         Dr. Handley also analyzed whether the Legislature’s Enacted Maps provide

opportunities for Black voters to elect the candidate of their choice by conducting a district-

specific recompiled elections analysis. 354 Comparing the majority-Black districts in

Plaintiffs’ Illustrative Plans and the corresponding districts in the Enacted Maps, Handley

selected three “clusters” of Senate districts and five “clusters” of House districts. 355 She


349 Rec. Doc. 217, p. 13, lines 1–4.
350 Pla-1, p. 10.
351 Pla-1, p. 33.
352 Pla-1, p. 11. Ten of the 11 state senate elections she evaluated were racially polarized. Id. All of the ten

state house elections she analyzed were racially polarized. Id.
353 Pla-1, p. 33.
354 Pla-1, p. 12.
355 State Senate Cluster 1 contains three districts in Bossier and Caddo Parishes; State Senate Cluster 2

contains four districts in Jefferson and St. Charles Parishes; and State Senate Cluster 3 contains four
districts in East Baton Rouge, West Baton Rouge, Iberville, and Point Coupee Parishes. Pla-1, p. 14. State


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then calculated two effectiveness scores for each cluster: The first score, the All-Elections

Effectiveness Score, “demonstrates the percentage of election contests (out of the total

16 statewide contests) that the Black-preferred candidate would have won or advanced

to a runoff in the district.” 356 The second score, the Two-Candidate Effectiveness Score,

“reports the percentage of two-candidate elections (out of the eight two-candidate

contests) that the Black-preferred candidate would have won in the district.” 357

        Notably, Dr. Handley concluded that only the clusters with at least a 50% BVAP

provided Black voters with an opportunity to elect the candidate of their choice. She

testified that, “with one exception, no districts were effective that were under 50%

[BVAP].” 358 In each of the clusters, the Illustrative Plans drawn by Mr. Cooper provided

at least one additional district that would give Black voters an opportunity to elect

candidates of their choice as compared to those in the existing Enacted Maps. 359


House Cluster 1 contains several districts in De Soto, Natchitoches, and Red River Parishes; State House
Cluster 2 contains five districts from Calcasieu Parish; State House Cluster 3 contains eight districts from
Bossier and Caddo Parishes; State House Cluster 4 contains three districts from Ascension and Iberville
Parishes; and State House Cluster 5 contains ten districts from East Baton Rouge and East Feliciana
Parishes. Pla-1, p. 15.
356 Pla-1, p. 12.
357 Pla-1, p. 12.
358 Rec. Doc. 217, p. 41, lines 2–3.
359 State Senate Cluster 1 has three districts. Pla-1, p. 16. Taking into account the recompiled election

results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the two Black-
majority districts in the Illustrative Senate Plan in this area—Illustrative SD 38 and 39—had effectiveness
scores well above 50%, and thus would provide Black voters with an opportunity to elect their candidates
of choice. Pla-1, p. 16–17. By contrast, Enacted SD 38 does not provide an opportunity to elect Black-
preferred candidates, with an All-Elections Effectiveness Score of only 18.8% and a Two-Candidate
Effectiveness Score of 0%. Pla-1, p. 17.
          In Senate Cluster 1, therefore, the Illustrative Senate Plan has two effective Black-majority districts,
Illustrative SD 38 and 39, while the Enacted Senate Plan has only one effective Black-majority district,
Enacted SD 39. Pla-1, p. 16.
          State Senate Cluster 2 has four districts. Pla-1, p. 19. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the one Black-
majority district in the Illustrative Senate Plan in this area—Illustrative SD 19—had effectiveness scores
well above 50%, and thus would provide Black voters with an opportunity to elect their candidates of choice.
Pla-1, p. 19. By contrast, Enacted SD 8, 9, 10, and 19 do not provide an opportunity to elect Black-preferred
candidates, all with an All-Elections Effectiveness Score under 20% and a Two-Candidate Effectiveness
Score of 0%. Pla-1, p. 19.


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          In Senate Cluster 2, therefore, the Illustrative Senate Plan has one effective Black-majority district,
Illustrative SD 19; while the Enacted Senate Plan does not have any effective Black-majority district. Pla-
1, p. 19.
          State Senate Cluster 3 has four districts. Pla-1, p. 21. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the three Black-
majority districts in the Illustrative Senate Plan in this area—Illustrative SD 14, 15, and 17—had
effectiveness scores well above 50%, and thus would provide Black voters with an opportunity to elect their
candidates of choice. Pla-1, p. 21. By contrast, Enacted SD 6 and 16 do not provide an opportunity to elect
Black-preferred candidates, each having an All-Elections Effectiveness Score under 20% and a Two-
Candidate Effectiveness Score of 0%. Pla- 1, p. 21.
          In Senate Cluster 3, therefore, the Illustrative Senate Plan has three effective Black-majority
districts, Illustrative SD 14, 15, and 17; while the Enacted Senate Plan has only two effective Black-majority
districts, Enacted SD 14 and 15. Pla-1, p. 21.
          State House Cluster 1 has three districts. Pla-1, p. 23. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the one Black-
majority district in the Illustrative House Plan in this area—Illustrative HD 23—had effectiveness scores well
above 50%, and thus would provide Black voters with an opportunity to elect their candidates of choice.
Pla-1, p. 23.
          By contrast, Enacted HD 7, 22, and 25 do not provide an opportunity to elect Black-preferred
candidates, each having an All-Elections Effectiveness Score under 20% and a Two-Candidate
Effectiveness Score of 0%. Pla-1, p. 23.
          In House Cluster 1, therefore, the Illustrative House Plan has one effective Black-majority district,
Illustrative HD 23; while the Enacted House Plan does not have any effective Black-majority districts. Pla-
1, p. 23.
          State House Cluster 2 has five districts. Pla-1, p. 25. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the two Black-
majority districts in the Illustrative House Plan in this area—Illustrative HD 34 and 38—had effectiveness
scores well over 50%, and thus would provide Black voters with an opportunity to elect their candidates of
choice. Pla-1, p. 25. By contrast, Enacted HD 33, 35, and 36 do not provide an opportunity to elect Black-
preferred candidates, each having an All-Elections Effectiveness Score and a Two-Candidate Effectiveness
Score of 0%. Pla-1, p. 25.
          In House Cluster 3, therefore, the Illustrative House Plan has two effective Black-majority districts,
Illustrative HD 34 and 38, while the Enacted House Plan has one only effective Black-majority district,
Enacted HD 34. Pla-1, p. 23.
          State House Cluster 3 has eight districts. Pla-1, p. 27. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the four Black-
majority districts in the Illustrative House Plan in this area—Illustrative HD 1, 2, 3, and 4—had effectiveness
scores well above 50%, and thus would provide Black voters with an opportunity to elect their candidates
of choice. Pla-1, p. 27. By contrast, Enacted HD 1, 5, 6, 8, and 9 do not provide an opportunity to elect
Black-preferred candidates, each having an All-Elections Effectiveness Score under 20% and a Two-
Candidate Effectiveness Score of 0%. Pla-1, p. 27.
          In House Cluster 3, therefore, the Illustrative House Plan has four effective Black-majority districts,
Illustrative HD 1, 2, 3, and 4; while the Enacted House Plan has only three effective Black-majority districts,
Enacted HD 2, 3, and 4. Pla-1, p. 27.
          State House Cluster 4 has three districts. Pla-1, p. 29. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the one Black-
majority district in the Illustrative House Plan in this area—Illustrative HD 60—had an effectiveness score
of 100%, and thus would provide Black voters with an opportunity to elect their candidates of choice. Pla-
1, p. 29. By contrast, Enacted HD 59, 60, and 88 do not provide an opportunity to elect Black-preferred
candidates. Enacted HD 59 and 88 have an All-Elections Effectiveness Score of 6.3% and a Two-Candidate
Effectiveness Score of 0%. Pla-1, p. 29. Enacted HD 60 has an All-Elections Effectiveness Score of 43.8%
and a Two-Candidate Effectiveness Score of 25%. Pla-1, p. 29.


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        Based on her analysis of the data, Dr. Handley concluded that because of the

clearly racially polarized voting in Louisiana, Black voters can only elect their candidate

of choice if a district is drawn that gives them that opportunity. 360

        Defendants challenged the testimony and evidence presented by Plaintiffs by

arguing that Dr. Handley’s analysis was flawed and by presenting their own theories as

to why the Gingles II and III preconditions are not satisfied. Defendants first take issue

with Dr. Handley’s opinion because they say “she did not adequately account for high

levels of absentee and early voting.”361 Dr. Handley explained that to perform her RPV

analysis, she was required to take candidate-specific early and absentee votes reported

at the parish-wide level by the Louisiana Secretary of State website and disaggregate

that data down to the precinct level. 362 Accordingly, Dr. Handley used an allocation

method to assign the early and absentee votes to particular precincts within a parish

“proportionally based on the votes received by each of the candidates on Election Day”

in each area she studied. 363 Defendants claim Dr. Handley’s method did not cap the

number of early or absentee votes assigned to each precinct by the total number of voters




          In House Cluster 4, therefore, the Illustrative House Plan has one effective Black-majority district,
Illustrative HD 60, while the Enacted House Plan does not have any effective Black-majority districts. Pla-
1, p. 29.
          State House Cluster 5 has ten districts. Pla-1, p. 31. Taking into account the recompiled election
results, the two effectiveness scores, and the district BVAP, Dr. Handley concluded that the seven Black-
majority districts in the Illustrative House Plan in this area—Illustrative HD 61, 63, 65, 67, 68, 69, and 101—
had effectiveness scores well above 50%, and thus would provide Black voters with an opportunity to elect
their candidates of choice. Pla-1, p. 31. By contrast, Enacted HD 65, 66, 68, 69, and 70 do not provide an
opportunity to elect Black-preferred candidates, each having an All-Elections Effectiveness Score under
20% and a Two-Candidate Effectiveness Score under 12.5%. Pla-1, p. 31.
          In House Cluster 5, therefore, the Illustrative House Plan has seven effective Black-majority
districts, Illustrative HD 61, 63, 65, 67, 68, 69, and 101, while the Enacted House Plan has only five effective
Black-majority districts, Enacted HD 61, 62, 63, 67, and 101. Pla-1, p. 31.
360 See Pla-1, p. 33.
361 Rec. Doc. 206, p. 25.
362 Rec. Doc. 217, p. 15, line 19–p. 16, line 25; p. 89, lines 14–24.
363 Pla-1, p. 6.


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who turned out in a particular election. 364 They claim this amounts to a misallocation of

candidate vote shares to precincts underlying the database upon which she then runs her

statistical analyses, making her opinions unreliable. 365

        The Court already addressed Defendants’ contentions on this point prior to trial.

As the Court addressed in its Ruling 366 on the Joint Motion in Limine to Exclude Dr. Lisa

Handley’s Testimony and Reports, 367 “[e]arly and absentee votes are reported only at the

parish level in Louisiana—they are not allocated back to the precinct where the voter

resides. Rather than simply ignore these votes, they have been allocated to the parish

precincts proportionally based on the votes received by each of the candidates on

Election Day.” 368 “The simple fact is that early voting in Louisiana represents a statistically

significant percentage of the total vote which must be accounted for, and “the scientifically

accepted method for analyzing whether there is racially polarized voting (“RPV”) is the

ecological inference analysis (“EI”), which requires precinct-level voting data.” 369 As

elicited during trial, the Louisiana Secretary of State only reports candidate-specific early

and absentee votes at the parish-wide level. 370 Other states report this information at the

precinct level. 371 Accordingly, Dr. Handley assumed the same percentage allocation of

election day votes per candidate per precinct to allocate the early votes per candidate per

precinct to perform the requisite analysis. 372




364 Rec. Doc. 206, p. 27.
365 Id.; See also Rec. Doc. 148-1, p. 2.
366 Rec. Doc. 171.
367 Rec. Doc. 148.
368 Rec. Doc. 171, p. 4; Rec. Doc. 165-1, p. 7.
369 Rec. Doc. 171, p. 4–5.
370 Rec. Doc. 217, p. 16, line 15–p. 17, line 1.
371 Rec. Doc. 217, p. 16, line 22–p. 17, line 1.
372 Rec. Doc. 217, p. 17, lines 2–6.


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        Defendants do not dispute that precinct-level data is necessary to run the EI

analysis, but challenge how to best de-aggregate or allocate the available parish-wide

data down to usable precinct-level data. Dr. Handley testified at trial that the methods she

employed did not introduce any bias into her EI analysis. 373 The Court is persuaded that

the slight over and underestimate of votes per precinct resulting from the subject

allocation method is statistically insignificant and thus does not render the conclusions

unreliable. “EI analysis is done using proportions of the vote share that each candidate

received, . . . not raw total numbers that are input into the EI algorithm.” 374 The Court does

not find that the method employed by Dr. Handley to de-aggregate parish-wide numbers

was the result of bias, and there is no evidence that it rendered the analysis infirm or the

conclusions unreliable. The Court finds Dr. Handley’s allocation and analysis of the early

votes reliable and her conclusions credible.

        Defendants further challenge Dr. Handley’s opinion by arguing that the only

district-specific information reported by Dr. Handley classifies districts as either “effective”

or not, without opining as to the level of BVAP needed to be effective. Per Defendants,

Handley’s analysis has limited value because it does not inform the Court whether a

majority-Black district is actually necessary in order for the Black-preferred candidate to

be elected.

        Instead, Defendants claim that a functional analysis shows that additional majority-

Black districts are not needed in the “areas of interest” due to sufficient White crossover

voting. To support this proposition, Defendants retained Dr. Jeffrey B. Lewis to analyze

and estimate “the degree of Black voter cohesion and white voter crossover” included in


373 Rec. Doc. 217, p. 42, lines 16–25.
374 Rec. Doc. 165, p. 4 (citing Dr. Handley’s deposition, Rec. Doc. 165-3).


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Dr. Handley’s clusters.” 375 By stipulation of the parties, Dr. Lewis was admitted as an

expert in political science, quantitative methods, and racially polarized voting analysis. 376

To perform his analysis, Dr. Lewis used the ecological inference method to analyze

election data from 2015 to 2021 and consider “how each contest would have turned out

if only the votes of those residing in each enacted and illustrative State House and State

Senate had participated.” 377 He concluded that White crossover voting ranged from 18

percent to 27 percent on average in two-candidate election contests in the challenged

districts, and that less than a 50 percent BVAP is actually necessary for a 50 percent win

rate in the specific illustrative districts drawn by Mr. Cooper. 378 Defendants argue that

because almost all of the House and Senate clusters identified by Dr. Handley would all

“perform” at BVAP levels less than 50 percent, none of the metrics warrant a redrawing

of the 2022 House and Senate maps to create new majority-Black districts.

         However, as held by the Fifth Circuit, “[i]llustrative districts that could perform with

a BVAP of less than 50 percent with white crossover voting are not the focus of the third

Gingles precondition analysis.” 379 “The relevant consideration under the third Gingles

precondition is the challenged plan, not some hypothetical crossover district that could

have been but was not drawn by the Legislature.” 380 Further, Defendants’ claims that

there are additional opportunity districts in the areas of interest identified in the Enacted

Maps are unsupported by evidence. These claims are based solely on Dr. Lewis’ opinion

that the Black-preferred candidates could advance (not ultimately win) in a few districts



375 Interv-52, p. 3.
376 Rec. Doc. 218, p. 112, lines 2–10.
377 Interv-52, p. 2.
378 Interv-54, p. 3.
379 Robinson v. Ardoin, 86 F.4th 574, 597 (5th Cir. 2023).
380 Id. at 596.


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without a majority BVAP. 381 An examination of what Dr. Lewis identifies as “win rates” in

his reference districts reveals that the Black-preferred candidate does not usually prevail

in the final election. 382 There is no evidence that Black-preferred candidates will

consistently prevail in election districts that are less than 50 percent BVAP.

        When comparing the effectiveness scores in Dr. Handley’s report to the win rates

from Dr. Lewis’ report, the Court finds that Dr. Handley presented clear evidence that,

save for the one exception in Enacted House District 91, no districts in the Enacted Maps

provide Black voters the opportunity to elect their candidate of their choice other than

those districts with a majority BVAP. 383

        Finally, Defendants offered the expert testimony of Dr. John R. Alford, who

Plaintiffs stipulated, and the Court accepted, to provide expertise in the areas of voting

behavior and redistricting. 384 Dr. Alford reviewed the voting results in Louisiana from the

past three presidential elections and concluded that the predominate factor causing

polarization in these elections was party and not race. 385 Dr. Alford first challenged Dr.

Handley’s finding that the Black vote was cohesive by examining the elections used in

Dr. Handley’s RPV analysis. He opined that “Black voters tend to provide cohesive

support to Democratic candidates, often in the 80 to 90 percent range, and that White

voters in turn support Republican candidates, with White votes for the Republican

candidates typical in the 80 to 90 percent range.”386 However, he conceded that when



381 Rec. Doc. 214, p. 29, line 18–p. 31, line 9.
382 Rec. Doc. 214, p. 34, line 1–p. 35, line 13.
383 Enacted HD 91 is the only current legislative district in the state without a majority BVAP where Black-

preferred candidates can get elected. See Pla-1, p. 16, n.18. Enacted HD 91 is not within Plaintiffs’ areas
of interest and is not majority-White.
384 Rec. Doc. 228, p. 99, lines 4–8.
385 Rec. Doc. 228, p.104, line 7–p. 109, line 2.
386 Interv-53, p. 10.


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multiple Black Democratic candidates were eligible for election, the Black vote was

divided. 387

         Dr. Alford also analyzed additional statewide races that did not feature a Black

candidate and concluded that Black voters tend to support Democratic candidates, White

voters tend to support Republican candidates, and that these support levels remain

relatively constant regardless of the race of candidates involved. 388 Dr. Alford relied on

the elections of Louisiana’s Governor John Bel Edwards (a White Democratic candidate)

as further evidence that partisan, not racial considerations, drive voting choices, as Black

Democratic candidates were also on the ballot in both the October 2015 and October

2019 elections but received almost no Black support. 389 Dr. Alford concluded that the

“high cohesion demonstrated by Black voters in these elections is not a function of Black

voters coalescing around Black candidates, but rather is a function of cohesive Black

voter preferences for Democratic party candidates.”390

         However, the Court does not credit Dr. Alford’s opinion as helpful, as it appears to

answer a question that Gingles II does not ask and in fact squarely rejects, 391 namely,

why Black voters in Louisiana are politically cohesive. “It is the difference between the

choices made by blacks and whites―not the reasons for that difference―that results in

blacks having less opportunity than whites to elect their preferred representatives.

Consequently, . . . under the ‘results test’ of § 2, only the correlation between race of voter



387 Interv-53, p. 10–11.
388 Interv-53, p. 9–13.
389 Interv-53, p. 11–13.
390 Interv-53, p. 17.
391 Gingles, 478 U.S. 30, 63 (1986) (“The first reason we reject appellants' argument that racially polarized

voting refers to voting patterns that are in some way caused by race, rather than to voting patterns that are
merely correlated with the race of the voter, is that the reasons black and white voters vote differently have
no relevance to the central inquiry of § 2”).

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and selection of certain candidates, not the causes of the correlation, matters.”392 The

relevant inquiry in determining whether voting is racially polarized is whether Black and

White voters consistently support different candidates—that is, whether Black voters are

cohesive in their support of their candidates of choice, and whether the candidates

supported by Black voters are usually defeated by the candidates supported by White

voters.

          To the extent party preference is relevant to the § 2 inquiry, it is appropriately

assessed when analyzing the “totality of the circumstances,” not in the assessment of

racially polarized voting under Gingles II and III. 393 Importantly, both Dr. Handley and Dr.

Alford agree that Louisiana’s Black and White voters “are voting differently,”394 with Dr.

Alford further testifying, “[i]f that’s what you want to call racially polarized voting, then it’s

racially polarized voting.” 395

          Dr. Handley presented consistent evidence establishing that co-partisan voters are

voting differently depending on the race of the candidate. Looking at Dr. Alford’s own

data, Dr. Handley concluded that “very consistent[ly] . . . white voters gave more support

to white Democrats than the Black Democrats.” 396 The Court finds Dr. Handley credible

and her conclusions reliable and well supported. The Court rejects Defendants’ attempt

to append an additional requirement to Gingles II & III, namely, that Black voters’ cohesion




392 Id.
393 Teague v. Attala Cnty., 92 F.3d 283, 292 (5th Cir. 1996) (“A defendant may try to rebut plaintiffs’ claim

of vote dilution via evidence of objective, nonracial factors under the totality of the circumstances standard.”)
(cleaned up).
394 Rec. Doc. 228, p. 151, line 12. See Rec. Doc. 217, p. 13.
395 Rec. Doc. 228, p. 151, lines 12–14.
396 Rec. Doc. 214, p. 180, line 9–p. 181, line 12; p. 182, line 9–p. 183, line 8.


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must be shown to be caused by or attributable to race instead of something else, like

partisanship. The Court finds no basis for this requirement in the law. 397

          Gingles II asks whether Black voters are “politically cohesive,” 398 – in other words,

whether Black voters usually support the same candidate in elections. Gingles III asks

whether White voters vote “sufficiently as a bloc to usually defeat [Black voters'] preferred

candidate.”399 Based on the testimony and reports of expert witnesses presented at trial,

the Court finds that the Plaintiffs have proven both preconditions.

          C. The Totality of the Circumstances: The Senate Factors

          A Section 2 violation is established:

          if, based on the totality of circumstances, it is shown that the political processes
          leading to nomination or election in the State or political subdivision are not equally
          open to participation by members of [a racial minority group] ... in that its members
          have less opportunity than other members of the electorate to participate in the
          political process and to elect representatives of their choice. 400

          “[I]t [is] only the very unusual case in which the plaintiffs can establish the existence

of the three Gingles factors but still have failed to establish a violation of § 2 under the

totality of circumstances.” 401

          i.     Senate Factor 1: The Historical Context

          This    inquiry      considers     “[t]he        extent   of   any    history     of      official

discrimination in the state ... that touched the right of the members of minority group to

register, to vote, or otherwise to participate in the democratic process.” In other words,




397 For further discussion of the evidence that polarized voting in Louisiana is race-related, see Section

IV(C)(ii) infra on Senate Factor 2.
398 Cooper, 581 U.S. 285, 301-02 (2017).
399 Id.
400 Gingles, 478 U.S. at 36.
401 Clark v. Calhoun Cnty., 21 F.3d 92, 97 (5th Cir. 1994).


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“the history of voting-related discrimination in the State or political subdivision.”402 On this

factor there is no meaningful dispute.

        For over 40 years, Louisiana’s courts have recognized the state’s history of official

discrimination. 403 The Eastern District of Louisiana noted that “Louisiana’s history of racial

discrimination, both de jure and de facto, continues to have an adverse effect on the ability

of its black residents to participate fully in the political process.” 404 “[I]t would take a multi-

volumed treatise to properly describe the persistent, and often violent, intimidation visited

by white citizens upon black efforts to participate in Louisiana’s political process.”405

Defending a Congressional map enacted by the Legislature, the State of Louisiana

advanced the argument that past injustices that were clearly unconstitutional were the

State’s primary motivation for reinforcing black representation. 406

        Recently, this Court has found it “indisputable that Louisiana has a long history of

discriminating against black citizens” such that there is no “sincere dispute regarding

Senate factor 1.”407 The unchallenged expert historian in this case, Dr. Gilpin, recounted

the sordid history of Louisiana’s discriminatory practices, including disenfranchisement of

Black voters through poll taxes, property ownership requirements, and literacy tests that

were first implemented before Black Louisianans had the right to vote.

        Although these disenfranchisement mechanisms were heavy-handed, they were

not initially successful. Black Louisianans proved resilient and Black voters made up


402 Gingles, 478 U.S. at 44.
403 See Major v. Treen, 574 F. Supp. 325, 339–40 (E.D. La. 1983); see also Citizens for a Better Gretna v.

City of Gretna, 636 F. Supp. 1113, 1116 (E.D. La. 1986).
404 Treen, 574 F. Supp. at 339–40.
405 Gretna, 636 F. Supp. at 1116.
406 Hays v. State of La., 862 F. Supp. 119, 128 (W.D. La. 1994). The legislatively enacted congressional

maps were ultimately found violative of the 14th Amendment as impermissibly racially gerrymandered.
407 Terrebonne Par. Branch NAACP v. Jindal, 274 F. Supp. 3d 395 (M.D. La. 2017); Robinson v. Ardoin,

605 F.Supp. 3d 759 (M.D. La. 2022).

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almost 45 percent of registered voters in 1896. 408 In response to this increase in Black

engagement, the State implemented increasingly burdensome restrictions which

suppressed the Black vote. 409 For example, Louisiana implemented the Grandfather

Clause in 1898 which prohibited a Black citizen from voting unless they could establish

that their father or grandfather had voted before January 1, 1867. 410 The result of the

extensive disenfranchisement efforts employed by the Louisiana government resulted in

Black voting plummeting drastically. 411 Between 1910 and 1948, fewer than one percent

of Black Louisianans were able to register to vote. 412 When the Voting Rights Act was

passed in 1965, only approximately one-third of Black Louisianans were registered to

vote. 413

          The Voting Rights Act and federal oversight did not end Louisiana’s

disenfranchisement efforts. 414 The U.S. Attorney General issued 66 objection letters to

more than 200 voting changes in Louisiana from 1965 to 1999. 415 Between 1982 and

2003, there were 13 instances of parishes simply resubmitting objected-to proposals with

either cosmetic changes or simply no changes. 416 Recently, in 2021, the City of West

Monroe entered into a consent decree with the DOJ regarding its use of solely at-large

districts for election to the Board of Aldermen. 417 As explained by Dr. Gilpin, it is

commonly recognized that at-large elections result in the dilution of minority votes. 418


408 Pla-124, p. 21.
409 Id.
410 Id.
411 Id. at p. 24.
412 Id. at p. 25.
413 Id. at p. 27.
414 See id. at pp. 29–30.
415 Id. at p. 30.
416 Id. at p. 39.
417 Id. at p. 49.
418 Id. at p. 39.


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          Black voter suppression continues in the form of closing polling places, restricting

access to polling places, restricting access to early voting, and limiting mail-in voting. 419

For example, Dr. Gilpin reports that “the State does not merely de-prioritize widening

access to voting, particularly for Black voters, [but] many Louisiana politicians continue to

actively work against that increased access.”420 The effect of closing polling places which

serve primarily Black voters was manifest in the 2020 election when many Black voters

in Jefferson Parish experienced five-hour waiting times to cast a ballot. 421 Precinct

consolidation in St. Landry Parish resulted in some Black voters having to drive 25 miles

to cast a ballot. 422 There is no evidence that violations of the VRA are less prevalent than

they were in the past decade. Instead, they may be less visible now with the elimination

of federal oversight. 423 The Court finds the expert testimony of Dr. Gilpin both persuasive

and credible. The Court finds that Senate Factor 1 weighs strongly in favor of the Plaintiffs.

          ii.       Senate Factor 2: Extent of Racial Polarization

          Senate Factor 2 examines “the extent to which voting in the elections of the state

or political subdivision is racially polarized.”424 When deciding whether race rather than

partisanship explains polarization, courts compare the strength of the evidence presented

on racial bias with that of partisan politics. 425 After all, § 2 of the VRA “is implicated only

where Democrats lose because they are black, not where blacks lose because they are

Democrats.” 426



419 Id. at p. 31.
420 Id. at p. 46.
421 Id.
422 Id.
423 See Shelby County, 570 U.S. 529.
424 Gingles, 478 U.S. at 37.
425 Lopez, 339 F. Supp. 3d at 604.
426 League of the United Latin Am. Citizens Council, 999 F.2d 831, 854 (5th Cir. 1993) (en banc).


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        Defendants relied on the testimony of Dr. John Alford to demonstrate that voting

in Louisiana is politically, not racially, polarized. 427 However, Plaintiffs rebutted this

testimony with that of Dr. Lisa Handley, who, as previously addressed by the Court,

presented evidence that voting in Louisiana is racially polarized. In the elections she

analyzed, Dr. Handley found no examples of an election where White voters who were

voting for a Democrat supported Black and White Democrats equally. 428 Rather, “very

consistent[ly] . . . White voters gave more support to the White Democrats than the Black

Democrats.” 429 Plaintiffs further rebutted Dr. Alford’s theories of partisan polarization with

the expert testimony of Dr. Marvin P. King, Jr., who was accepted as an expert in political

science, voting behavior and racially polarized voting. 430 Dr. King conducted an EI

analysis on Louisiana’s 2022 U.S. Senate Election and provided an opinion specifically

rebutting Dr. Alford’s opinion. 431 Dr. King’s EI analysis revealed that White registered

Democrats tended to vote for the White Democratic candidate (Luke Mixon) and Black

registered Democrats tended to vote for the Black Democratic candidate (Gary

Chambers) at a nearly 2:1 ratio. 432 He also reviewed Dr. Alford’s data, which analyzed

the votes cast by all voters (not just Democrats) and found they supported the conclusion

that voting is racially polarized. 433 Dr. King testified that, based on his EI analysis and his

review of Dr. Alford’s analysis, “party polarization is only part of the story . . . racial

polarization also exists even among copartisans.” 434 Dr. King ultimately opined that in the



427 Rec. Doc. 228, p. 153–155.
428 Rec. Doc. 214, p. 181, lines 9–12.
429 Rec. Doc. 214, p. 180, line 15–p. 181, line 12; p. 182, line 9–p. 183, line 8.
430 Rec. Doc. 214, p. 59, lines 11–21.
431 Rec. Doc. 214, p. 60.
432 Rec. Doc. 214, p. 66.
433 Rec. Doc. 214, p. 66–69.
434 Rec. Doc. 214, p. 70, lines 16–22.


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absence of additional majority-minority districts, Black voters cannot count on White

copartisans to elect the Black voters’ preferred candidate. 435

          Defendants did not rebut Dr. King’s EI analysis or testimony. The Court credits Dr.

King’s findings over the conclusions of Dr. Alford and finds Dr. King’s testimony more

credible. The historical realignment of Black voters from voting Republican to voting

Democrat undercuts the argument that the vote is polarized along party lines and not

racial lines.

          The Court finds that Senate Factor 2 weighs heavily in favor of Plaintiffs.

          iii.   Senate Factor 3

          This factor inquires into “[t]he extent to which the state . . . has used . . . voting

practices or procedures that may enhance the opportunity for discrimination against the

minority group.” 436 The Supreme Court counsels examination of “the extent to which the

state or political subdivision has used unusually large election districts, majority vote

requirements, anti-single shot provisions, or other voting practices or procedures that may

enhance the opportunity for discrimination against the minority group.” 437

          Louisiana has a majority vote requirement for its primaries and general elections.

Some states have moved away from this. There was evidence of voter confusion that

results from repeated and voluminous decentralized elections. 438 Many state elections

are conducted in odd-years with October primaries and November runoff elections. This

is at odds with federal elections held in even-years with November primaries and




435 Rec. Doc. 214, p. 71.
436 Gingles, 478 U.S. at 37.
437 Id.
438 Rec. Doc. 223, p. 31, line–p. 32, line 13.


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December runoffs. 439 The State held seven elections in 2023 and as many as twelve

elections have been held in a single year. 440 The Court finds, consistent with the testimony

of voters, 441 this type of calendar of elections breeds voter fatigue and confusion, which

is amplified in poor and under educated communities. The Court finds Senate Factor 3

favors the Plaintiffs.

          iv.    Senate Factor 4: Candidate Slating

          There is no slating process for Louisiana's State Legislative elections, so this factor

is not relevant and the Court makes no finding.

          v.     Senate Factor 5

          Factor 5 concerns “the extent to which members of the minority group in the state

. . . bear the effects of discrimination in such areas as education, employment [,] and

health, which hinder their ability to participate effectively in the political process.” 442 The

preponderance of the evidence proved that Black voters’ participation in the political

process is impaired by historic and continuing socio-economic disparities in education,

employment, housing, health and criminal justice. Dr. Traci Burch was accepted by the

Court and stipulated by the parties as an expert in in the field of racial discrimination,

political participation, and barriers to voting. 443 She is well-respected and well qualified in


439 Rec. Doc. 218, p. 30, line 14–p. 31, line 8.
440 Id.
441 Rec. Doc. 223 (Ho-Sang and Nairne).
442 Gingles, 478 U.S. at 37
443 Rec. Doc. 213, p. 10, line 16–p. 11, line 3. Dr. Burch is an associate professor of political science at

Northwestern University and a research professor at the American Bar Foundation since 2007. Pla-127, p.
1. Dr. Burch received her Ph.D. in government and social policy from Harvard University, and her
undergraduate degree in politics from Princeton University. Id. Dr. Burch has published numerous peer-
reviewed publications and a book on political participation, and she teaches several courses related to
voting and political participation. Id. Dr. Burch has garnered several prizes and awards, including national
prizes, for her book and her dissertation. Id. She has also served as a peer reviewer for flagship scholarly
journals in her field of political science. Id. She is widely regarded as an expert on political behavior, barriers
to voting, and political participation and has previously served as an expert witness in at least seven other


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her fields of discipline, and the Court finds her opinions credible, well supported by data,

and the result of reliable methodology. The Court credits Dr. Burch’s testimony. In

formulating her opinions, Dr. Burch relied on sources and methodologies recognized in

the field and consistent with her work as a political scientist. 444 Dr. Burch cited compelling

data that supports the conclusion that Black Louisianans experience social and economic

disparities that negatively impact voter registration and participation. 445

        Louisiana has endured de facto segregated public schools. 446 Predominately Black

public schools are resource challenged and Black people are underrepresented in higher

education. 447 The underfunding of HBCUs reveals that disparities persist into higher

education. 448

        Dr. Burch persuasively testified, supported by data, that there are employment

disparities because of discrimination, revealed by several measures. 449 The objective

evidence of employment disparities presented by Dr. Burch was again buttressed by the




cases, including voting rights cases where she offered expert testimony relating to certain Senate Factors.
Pla-126 , pp. 1–2.
444 Pla-126; Pla-128
445 Rec. Doc. 213, pp. 14,19, 105–107. Dr. Burch’s opinions were substantiated and buttressed by the fact

testimony. See Testimony of Dr. Dorothy Nairne, Rec. Doc. 223, pp. 22–23; Testimony of Pastor Steven
Harris, Rec. Doc. 223, p. 71.
446 The ProPublica’s Miseducation Project discerns that as of 2017, “half of traditional school districts in

Louisiana that were available demonstrated high levels of racial segregation within the district. [T]here are
“nine of the 68 traditional school districts in Louisiana that are more than 87 percent non-white.” Rec. Doc.
213, p. 17, lines 7–13. In East Baton Rouge, there is “kind of a parity between Black people and White
people . . . But “in the school system [in East Baton Rouge] it’s over. . . 70 percent Black.” Id. at p. 17, line
25–p. 18, line 3. This is likely due to white families “abandon[ing] East Baton Rouge for a different school
district.” Id. at p. 18, lines 7–9. Math and reading test scores across Black and White students indicate that
White students perform better by about 22–25 points. Id. at p. 19, lines 1–10. A 2019 American Community
Survey indicates that of Louisiana adults aged 25 and older, over 25 percent of White Louisianans have
earned a bachelor’s degree or higher compared to a little over 15 percent of Black Louisianans. Pla-126,
p. 7.
447 Pla-126, p. 7.
448 Rec. Doc. 223, p. 151.
449 Rec. Doc. 213, p. 20, line 23–p. 24, line 24;Pla-126, p. 9.


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firsthand experiences of several of the Plaintiffs’ fact witnesses. 450 Economic hardships

caused by under-employment are directly manifested in a lack of transportation. 451

Transportation barriers adversely affect access to voter registration and polling sites.452

Black Louisianans are underrepresented in white collar occupations which provide the

security to “time to take off of work without losing or risking your pay,” to vote. 453

        The Court credits Dr. Burch’s opinions and the supporting testimony of fact

witnesses and finds that the marginal educational and employment opportunities

available to Black Louisianans hinders and impairs meaningful access to the political

process.

        The Court also finds that segregated and disparate housing persists in part due to

historic public policies and government sanctioned lending practices. 454 This further

impairs and frustrates access to polling places and participation in the political process.

        A preponderance of the evidence established that the prevalence of disease and

mortality rates are higher for Black Louisianans as compared to White Louisianans, and



450 Pastor Harris testified that his community had a high poverty rate because of the lack of access to jobs

in the area. Rec. Doc. 223, p. 71, lines 5–7. Dr. Nairne testified to the challenges she faced securing funding
for her start-up businesses while less qualified White applicants secured these opportunities. Id. at p. 34,
lines 3–20.
451 Data from the 2019 American Community Survey showed that a significant portion of Black households

do not have access to a vehicle and that Black property “is more than double, almost triple that of White
poverty.” Rec. Doc. 213, p. 22, line 16–p. 23, line 8.
452 Id. Again the opinion testimony of Dr. Burch was substantiated by the fact testimony. See testimony of

Dr. Washington and Dr. Nairne, Rec. Doc. 223, p. 20, line 22–p. 24, line 24; p. 32, line 14–p. 33, line 7; p.
104, line 10–p. 105, line 4.
453 Rec. Doc. 213, p. 24, lines 15–17.
454 Black Louisianans face more difficulty with securing financial relief to rebuild homes and business

following natural disasters. Pla-126, p. 10. The Louisiana Survey found 72 percent of Black respondents
believe Black people are treated less fairly when applying for a loan or mortgagee. Id. The Federal Housing
Administration considered race when evaluating “the trajectory” of a city or neighborhoods. This led to Black
and racially mixed neighborhoods being “deemed hazardous for lending.” Id. at p. 13. The FHA also
encouraged the use of racially restrictive covenants and racial zoning. These policies were not abandoned
until 1949. Id. at pp. 12–13. The FHA would rely on Residential Security Maps produced by the Home
Owners Loan Corporation to “prevent lending to places Black people lived. See id. at p. 13; Rec. Doc. 213,
p. 24, line 25–p. 28, line 18.

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Black Louisianans have less access to health insurance and healthcare. 455 The Court

finds that these health disparities adversely impact voter engagement and

participation. 456

         It is a well-known and often cited fact that Louisiana’s incarceration rates lead the

nation. 457 Black Louisianans are disproportionately jailed as compared to White

Louisianans. Dr. Burch persuasively and credibly opined that this disparity is the result of

historical discrimination in policing, sentencing, and other stages of the justice system

dating     back      to   the     Reconstruction       Era. 458    “[A]pproximately        80%      of    the

parolees/probationers currently ineligible to vote are African American, compared with

about 32% of the population of the state.” 459 Nearly 48,000 Black Louisianans were

unable to vote in 2020 due to their felony convictions, twice the number of White

Louisianans. 460 Studies show that perceived unfair law enforcement tends to “demobilize

voting and make people shy away from participating in politics”. 461

         The Court finds that Senate Factor 5 weighs decidedly in favor of the Plaintiffs.

         vi.     Senate Factor 6

         Senate Factor 6 analyzes “whether political campaigns have been characterized

by overt or subtle racial appeals.” 462 Dr. Burch cited multiple instances of subtle and overt




455 Rec. Doc. 213, p. 29, line 17–p. 31, line 14.
456 Dr. Burch testified that health is an “important predictor of voter [turnout]” because “healthy people are

more likely to vote,” and sick people have less “time and [sic] money to go vote or engage in politics.” Rec.
Doc. 213, p. 32, line 9–p. 33, line 11. Health disparities “shaped by government and market policy” have a
direct impact on voter participation. Id.
457 Rec. Doc. 213, p. 33, line 13–p. 38, line 3.
458 Id.; see also Pla-126 at pp. 19-22.
459 Pla-124, p. 50.
460 Rec. Doc. 213, p. 35, lines 22–24.
461 Id. at p. 38, lines 2–3. Dr. Washington pointed out the subliminal message of the Sheriff’s Office being

housed on the same floor as her Registrar of Voter’s Office. Rec. Doc 223, p. 102, lines 6–14.
462 Gingles, 478 U.S. at 37


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racial appeals in political advertising in recent elections. 463 Plaintiffs Nairne and Ho-Sang

testified about the disparaging nature of the messaging by Senator Kennedy’s re-election

campaign that depicted images of Black Lives Matter protests alongside the comment

suggesting that critics of the police should “call a crackhead.” 464 They also testified about

racially suggestive campaign ads aired in the latest gubernatorial election. 465 Reverend

Clee Lowe persuasively explained how subtle racial appeals send a clear signal that

particular elected officials are “not going to represent our interests.” 466

          The Court finds that Senate Factor 6 weighs in favor of the Plaintiffs.

          vii.   Senate Factor 7

          This factor assesses “the extent to which members of the minority group have been

elected to public office in the jurisdiction.” 467 It is undisputed that Black Louisianans are

underrepresented in public office. No Black candidates have been elected as Governor

or Lieutenant Governor in Louisiana since the end of Reconstruction. 468 Never in history

has Louisiana elected a Black U.S. Senator. 469 Since 1991, only four Black Louisianans

have been elected to Congress, and then only from majority-Black districts. 470

          This underrepresentation persists at other levels of state and local government as

well. While the state is roughly one-third Black, Black legislators held only 36 out of 144

total State House seats in 2023 and Black senators held only 10 out of 39 total State




463 Campaign messaging used by candidates for governor, U.S. Senate, and the state legislature. Rec.

Doc. 213, p. 38, lines 5–p. 47, line 11; Pla-126, pp. 22–25.
464 Rec. Doc. 223, p. 26, line 25–p. 40, line 11; p. 190, line 24–p. 191, line 25.
465 Rec. Doc. 223, p. 36, line 25-p. 39, line 3; p. 190, line 24–p. 191, line 25.
466 Rec. Doc. 223, p. 62, lines 19–24.
467 Gingles, 478 U.S. at 37.
468 Pla-126, p. 25.
469 Id.
470 Before 1991, there was one Black Congressperson elected, and that was during Reconstruction. Id.


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Senate seats. 471 Less than 25 percent of Louisiana mayors are Black, and only 26.1

percent of Louisiana state court judges are Black. 472 Two of the eight elected Board of

Elementary and Secondary Education members are Black, both elected from majority-

Black districts. 473 And only one Associate Justice on the Louisiana Supreme Court, who

was elected from the State’s sole majority-Black Supreme Court district, is Black. 474

          The effect of the Senate factors previously discussed become manifest in these

sobering statistics. The Court finds that Senate Factor 7 weighs heavily in favor of

Plaintiffs.

          viii.   Senate Factor 8

          Senate Factor 8 invites inquiry related to “whether there is a significant lack of

responsiveness on the part of elected officials to the particularized needs of the members

of the minority group.”475 The demonstrated disparities across socioeconomic indicators

discussed above are evidence of the lack of responsiveness of State government to the

needs of Black Louisianans. Nearly 70 percent of Black survey respondents indicated

that “most elected officials in Louisiana don’t care what people like me think.” 476 The

redistricting roadshows are further evidence of the non-responsiveness of state elected

officials. The roadshows were robustly attended across the state. Time and again Black

citizens expressed to their elected representatives that they wanted more minority

representation in the State House and Senate. 477 Several proposed maps were advanced


471 Id.
472 Id.
473 Id.
474 Id.
475 Gingles, 478 U.S. at 37.
476 Pla-126, p.26.
477 State Representative Glover testified that while he was at one of the roadshows “heard folks asking for

fair maps that they represent the actual demographics of the state and adhere to the provisions of the


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by various stakeholders that accomplished this objective. 478 Instead the Legislature

eliminated a majority-Black district in north Louisiana 479 and the President of the Senate

unequivocally expressed a notion of incumbency protection as paramount over other

redistricting criteria. 480

        A considered review of the cumulative evidence which support Senate Factors 1,

2, 3 and 5 lead to the inevitable conclusion that the State Legislature has been historically

unresponsive and remains unresponsive to the needs of the Black communities in

Louisiana. The Court finds that Senate Factor 8 weighs in favor of the Plaintiffs.

        ix.      Senate Factor 9

        Lastly, in considering the totality of the circumstances, the Court assesses

“whether the policy underlying the state or political subdivision’s use of such voting

qualification, prerequisite to voting, or standard, practice or procedure is tenuous.”481 The



Voting Rights Act.” Rec. Doc. 223, p. 149, lines 14–20. Ho-Sang testified at the road show hearing to
address the “many concerns that were coming” from the Black community. Id. at p. 168, lines 15–21.
“[D]uring the redistricting road shows…several Black Louisianans from across the state offered opinions on
the redistricting process and criticized current official for being unresponsive to their needs. The speakers
often explicitly linked officials’ lack of responsiveness to race.” Pla-126, p. 27. “The committee heard
overwhelmingly from the public that they wanted increase minority in their senate maps.” Id. at p. 28.
478 State Representative Glover presented the House with several plans that would create at least 30

majority-minority districts as Black legislatures were worried that H.B. 14 “packed Black voters into as few
districts as possible, particularly in northwest Louisiana.” Pla-126, pp. 35, 42. One senator “argued
vehemently that the people of the West Bank of Jefferson Parish constituted a community of interest that
deserved representation…” Pla-126, p. 39.
479 “H.B. 14 eliminates an existing majority-minority district in the northern part of Louisiana, HD23…” Pla-

126, p. 33.
480 Joint Rule 21 (Pla-53) makes no express reference to “continuity of representation” but Senator Cortez

testified that he reads Joint Rule 21, section D(4) which refers to “maintain district alignment” as prioritizing
incumbency. Rec. Doc. 228, p. 27, line 24–p. 31, line 4. “It means that if your district elected you and you've
done a good job, they also have a right to reelect you.” Id. at p. 29, lines 18–19. Dr. Nairne, Rev. Lowe, Dr.
Washington, and Ms. Ho-Sang testified about the dilutive districts in which they reside, which have resulted
in noncompetitive and little interest and attention from candidates in the Black community. Rec Doc. 223,
p. 26, line 22–p. 29, line 9; p. 59, lines 2–9; p. 60, lines 6–11; p. 62, lines 25–p. 63, line 7; p. 105, line 5–p.
106, line 17; p. 179, line 25–p. 180, line 20. Ms. Ho-Sang testified that elected officials’ unresponsiveness
is “evidenced in the conditions in our community,” and the failure to initiate and implement policies that
would improve Black people’s lives, including the failure to streamline elections or address issues like Black
maternal health and criminal justice. Id. at p. 192, line 19–p. 193, line 6.
481 Gingles, 478 U.S. at 37


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evidence supporting Senate Factors 3 and 5 demonstrates the use of voting practices

and procedures is tenuous to anything other than disenfranchising Black voter

participation in the political process. This factor likewise favors the Plaintiffs.

        The Court notes that the Defendants did not meaningfully contest any of the

Senate Factors evidence. 482 In conclusion, the Court has evaluated the totality of the

circumstances with a “functional view of the political process’” and “[a] searching and

practical review of electoral conditions” 483 and finds that all of the Senate Factors relevant

to the Court’s consideration in this case favor the Plaintiffs.

        x.       Proportionality

        Section 2 expressly provides that “nothing in this section establishes a right to have

members of a protected class elected in numbers equal to their proportion in the

population.” “[P]roperly applied, the Gingles framework itself imposes meaningful

constraints on proportionality.”484 Defendants advance the argument that “Plaintiffs’ § 2

claim lacks merit because it demands the creation of more majority-Black districts than

the proportion of Black voting-age persons in the regions Plaintiffs challenge and in

Louisiana [and] Plaintiffs have not shown that § 2 mandates more than proportionality.” 485

Defendants argue that “vote dilution will ordinarily not be found where minority voters in

the relevant ‘area would enjoy substantial proportionality,’ such as where the districting

plan offers ‘majority-minority districts in substantial proportion to the minority’s share of

voting-age population.’” 486 The Defendants reliance on Johnson v. De Grandy487 is


482 Rec. Docs. 177 and 206
483 Fusilier, 963 F.3d at 456, 462.
484 Milligan, 599 U.S. at 26.
485 Rec. Doc. 206, pp. 34–35.
486 Rec. Doc. 206, p. 35 (citing Johnson v. DeGrandy, 512 U.S. 997, 1013–14 and LULAC v Perry, 548 U.S.

399, 436 (2006) (citations omitted) (emphasis added).
487 512 U.S. 997 (1994).


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misplaced. Unlike Johnson, the enacted plan challenged in this case does not reflect

proportionality. 488 Certainly if a challenged plan effectuates proportionality (which the

Enacted Maps challenged herein do not) that may be probative of whether the challenged

map provides minority voters with an opportunity to elect candidates of their choice. 489

Johnson makes clear that proportionality is but one consideration in the totality of the

circumstances of whether an enacted map denies minority voters equal political

opportunity. 490 This case presents the “more complex side of the divide, requiring [the]

court to determine whether provision for somewhat fewer majority-minority districts than

the number sought by the plaintiffs was dilution of the minority votes.” 491 The Court finds

that the answer to that question is yes.

        Defendants argue that the Illustrative House and Senate Plans “demand a political

feast where the challenged plans afford more than equal opportunity.”492 To the contrary,

the Enacted Maps do not afford an equal opportunity for Black voters to elect preferred

candidates. Careful analysis of the Gingles preconditions and the totality of the

circumstances led this Court to conclude that the Enacted State House and Senate Maps,




488 40 of the 144 districts (28 percent) in the Enacted Plans are majority-minority. Rec. Doc. 206, pp. 38–

39 (“The [E]nacted [S]enate [P]lan includes 11 majority-Black districts….The [E]nacted [H]ouse Plan has
29 majority-Black districts…”). The Defendants have conveniently re-coined “substantial proportionality.”
Id. at p. 37.
489 See Johnson, 512 U.S. at 1014, 1020-1021 (“[t]reating equal political opportunity as the focus of the

enquiry . . . proportionality [may be] an indication that minority voters have an equal opportunity, in spite of
racial polarization, ‘to participate in the political process and to elect representatives of their choice’ (citing
42 U.S.C. § 1973(b), [but] the degree of probative value assigned to proportionality may vary with other
facts. No single statistic provides courts with a shortcut to determine whether a set of single member districts
unlawfully dilutes minority voting strength.”)
490 See Id. at 998 (“[P]roportionality is not dispositive, it is a relevant fact in the totality of circumstances to

be analyzed when determining whether minority voters have ‘less opportunity than other members of the
electorate to participate in the political process and to elect representatives of their choice’ (citing 42 U.S.C.
§ 1973)).
491 Id. at 1013
492 Rec. Doc. 206, p. 35 (emphasis added). Notably, the Enacted Maps are not proportional. Of Louisiana’s

105 House districts, 29 are majority BVAP, and of Louisiana’s 39 Senate districts 11 have a majority BVAP.

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in the areas of the illustrative districts, are dilutive of Black voting strength and violative

of Section 2 of the Voting Rights Act.

        Defendants maintain that where, as here, the Plaintiffs have challenged specific

districts in specific areas, the proportionality analysis must be conducted by region. 493

The Defendants erroneously seek to import the localized appraisal required in the Gingles

I analysis with the proportionality analysis required as part of the totality of circumstances

analysis. As part of its Gingles I analysis, the Court undertook “an intensely local

appraisal”494 of the boundaries in the Enacted Maps in the regions where the illustrative

districts were proposed. The Defendants regional proportionality defense is unsupported

and directly at odds with Supreme Court precedent which holds that proportionality is a

statewide inquiry. 495 Furthermore, the Supreme Court makes clear that proportionality is

neither a defense nor safe harbor. 496

        Defendants argue that “the only way to achieve the maximization Plaintiffs demand

is by the intentional and intensive use of race in drawing districts specifically combine

non-compact minority populations into districts a smidgen above 50 [percent] BVAP—in

a nutshell: aggressive racial gerrymandering.” 497 The Defendants put the cart before the

horse. The Illustrative Plan offered by the Plaintiffs is precisely that; illustrative. It does

not carry the force of law and is not state action, thus the invitation to strictly scrutinize

the Illustrative Plan at this stage is misplaced.



493 Defendants argue that “‘the relevant population’” for the proportionality analysis is the BVAP population

in the geographic areas Plaintiffs identified as the locus of vote dilution.” Rec. Doc. 206, p. 36 (brief, p. 29)
(citing Johnson, 512 U.S. at 1017).
494 Milligan, 599 U.S. at 15 (quoting Gingles, 478 U.S. at 79).
495 See LULAC, 548 U.S. at 437 (“We conclude the answer in these cases is to look at proportionality

statewide.”).
496 Johnson, 512 U.S. at 1019.
497 Rec. Doc. 206, p. 40.


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        The Court holds that the preponderance of the evidence establishes that the

Enacted State House and Senate Maps crack or pack large and geographically compact

minority populations such that Black voters in the challenged districts “have less

opportunity than other members of the electorate to participate in the political process

and to elect representatives of their choice,” 498 and the Illustrative Plan offered by the

Plaintiffs show that additional opportunity districts can be “reasonably configured.”499

V.      CONCLUSION

        The Court finds that the State House and Senate electoral maps enacted by the

Louisiana legislature (S.B. 1 and H.B. 14) violate § 2 of the Voting Rights Act.

        It is ORDERED that elections under S.B. 1 and H.B. 14 be and are hereby

ENJOINED. The State is hereby permitted a reasonable period of time, to be determined

by the Court following submittals by the parties, to address the Court’s findings and

implement State House and Senate election maps that comply with § 2 of the Voting

Rights Act.



        Signed in Baton Rouge, Louisiana, on February 8, 2024.




                                              S
                                            CHIEF JUDGE SHELLY D. DICK
                                            UNITED STATES DISTRICT COURT
                                            MIDDLE DISTRICT OF LOUISIANA




498 52 U.S.C § 10301 (2024).
499 Milligan, 599 U.S at 43 (Kavanaugh, J., concurring).


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                                UNITED STATES DISTRICT COURT

                                MIDDLE DISTRICT OF LOUISIANA

DOROTHY NAIRNE, et al
                                                                          CIVIL ACTION
versus
                                                                         22-178-SDD-SDJ
R. KYLE ARDOIN, in his capacity
as Secretary of State of Louisiana


                                                  APPENDIX

         In fidelity to Rule 52(a) and for ease of review, the Court appends the following

separately enumerated findings of facts and conclusions of law to its Ruling and Order in

the above-captioned matter. The following are not intended as an exhaustive

recapitulation of the Court’s reasoning, findings, or conclusions.

I.       FINDINGS OF FACT

Standing

     1. Dr. Dorothy Nairne is a Black registered voter and NAACP member who resides in

         Assumption Parish and House District 60, but who would reside within the

         boundaries of Illustrative House District 58. 1

     2. Reverend Clee Earnest Lowe is a Black registered voter who resides in East Baton

         Rouge Parish and House District 66, but who would reside within the boundaries

         of Illustrative House District 101. 2




1 Rec. Doc. 225, p. 52, line 17–p. 53, line 11.
2 Rec. Doc. 225, p. 58, line 25–p. 59, line 14.


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    3. Dr. Alice Washington is a Black registered voter who resides in East Baton Rouge

        Parish and House District 66, but who would reside within the boundaries of

        Illustrative House District 101. 3

    4. Steven Harris is a Black registered voter and NAACP member who resides in

        Natchitoches Parish and House District 25, but who would reside within the

        boundaries of Illustrative House District 23. 4

    5. Each Individual Plaintiff currently lives in a packed or cracked district in the Enacted

        Map and would live in a majority-Black district in the Illustrative Plan.

    6. Members of the NAACP are simultaneously members of the local NAACP branch

        in their area, the Louisiana NAACP, and the national NAACP. 5

    7. Louisiana NAACP members include Black registered voters whose votes are

        diluted in the districts in which they vote and thus have standing in their own right.6

    8. In response to the Enacted Map, Black Voters Matter (“BVM”) diverted resources

        away from its core mission of expanding Black voter engagement and building

        capacity in partner organizations. 7 BVM launched new accountability initiative to

        hold elected officials accountable to Black voters in order to counteract the enacted

        map’s dilutive effect. 8

    9. Black registered voters were discouraged by what they perceived as deafness to

        their appeals at the redistricting roadshows. This voter frustration manifested in




3 Rec. Doc. 225, p. 58, line 25–p. 59, line 14.
4 Rec. Doc. 225, p. 49, lines 10–20.
5 Rec. Doc. 223, p. 120, lines 2-7.
6 Rec Doc. 224 (SEALED), p. 5, line 22–p. 31, line 12.
7 Rec. Doc. 223, p. 164, line 22–p. 165, line 3; p. 167, line 8–p. 186, line 13; p. 201, line 20–p. 202, line 5.
8 Rec. Doc. 223, p. 177, line 2–p. 179, line 19; Pla-207; Pla-208.


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         increased voter apathy, causing BVM to divert core mission resources to voter

         retention efforts. 9

    10. The Enacted Map caused voter apathy, requiring BVM to devote additional staff

         time and resources toward convincing Black voters that their votes matter. 10

    11. Following the passage of the Enacted Maps, the Louisiana NAACP implemented

         organization and mobilization efforts to counteract the effects of the Enacted Maps

         on voter disillusionment, potential candidates, and funders’ willingness to invest

         resources into Black communities in Louisiana. 11

    12. To counteract the Enacted Maps’ dilutive effect, the organizational Plaintiffs

         diverted resources from their core activities toward previously unplanned response

         strategies. 12

    13. The core missions of BVM and the Louisiana NAACP—to increase power in

         marginalized, predominantly Black communities—are impaired by the Enacted

         Maps’ dilutive effects. 13

Population Statistics

    14. In 2000, African Americans comprised 32.86 percent of the state’s population and

         Non-Hispanic Whites comprised 62.53 percent of the state population. 14




9 Rec. Doc. 223, p. 180, line 21–p. 135, line 5.
10 Id. at p. 175, lines 7–17; p. 179, line 20–p. 183, line 5.
11 Id. at p. 128, line 9–p. 131, line 20.
12 Id. at p. 172, line 3–p. 173, line 7; p. 174, line 17–p. 177, line 19; p. 181, line 15–p. 183, line 5 (BVM is

prevented from engaging in get-out-the-vote efforts and capacity building work with its partners in order to
focus its resources on its accountability strategy and 365 voter engagement delays); p. 131, lines 8–20
(NAACP has to pull members from working on health, education, and other projects in order to focus their
efforts on combating the dilutive effects of the Enacted Maps).
13 Id. at p. 113, line 3–p. 114, line 1; p. 164, line 25–p. 165, line 3.
14 Pla-20, p. 9.


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     15. In 2020, African Americans comprised 33.13 percent of the state population and

         Non-Hispanic Whites comprised 55.75 percent of Louisiana’s population. 15

     16. Louisiana has the second highest proportion of African American population of any

         state in the nation. 16

     17. In 2000, the White Voting Age Population (“WVAP”) in Louisiana was 65.51 percent

         and the Black Voting Age Population (“BVAP”) was 29.95 percent. 17

     18. In 2020, the WVAP in Louisiana was 58.31 percent and the BVAP was 31.25

         percent. 18

     19. From 2000 to 2020, the White population decreased by over 200,000 persons, with

         decreases in six of the state’s nine metropolitan statistical areas (“MSA”). 19

     20. The Black population increased in eight of the state’s nine MSAs. 20

     21. The Black population in the Baton Rouge MSA increased by over 60,000 persons

         from 2000 to 2020. 21

     22. The Black population growth in the Baton Rouge MSA is equivalent to the

         population required for two House districts. 22

     Enacted Map

     23. In the Enacted Senate Map, there are 11 majority Black Senate districts. 23




15 Id.
16 Id. at p. 10.
17 Id. at p. 14.
18 Id.
19 Id. at p. 20.
20 Id. at p. 18.
21 Rec. Doc. 225, p. 15, lines 3–6.
22 Id.
23See Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::12eedba5-68de-4ab4-
a3bb-7f59d9268041 (referenced in Pla-20, p. 31).

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     24. The BVAP populations in these Senate districts are as follows: District 5 (50.24

         BVAP percentage); District 24 (53.09 BVAP percentage); District 29 (56.56 BVAP

         percentage); District 4 (57.2 BVAP percentage); District 3 (57.27 BVAP

         percentage); District 2 (57.75 BVAP percentage); District 14 (58 BVAP

         percentage); District 7 (59.46 BVAP percentage); District 34 (63.74 BVAP

         percentage); District 39 (63.75 BVAP percentage); District 15 (73.87 BVAP

         percentage). 24

     25. In the Enacted House Map, there are 29 majority Black House districts. 25

     26. The BVAP populations in these House districts are as follows: District 23 (50.86

         BVAP percentage); District 67 (51.85 BVAP percentage); District 72 (52.67 BVAP

         percentage); District 83 (54.57 BVAP percentage); District 40 (54.68 BVAP

         percentage); District 62 (55.08 BVAP percentage); District 96 (55.13 BVAP

         percentage); District 21 (55.42 BVAP percentage); District 11 (56.4 BVAP

         percentage); District 93 (56.6 BVAP percentage); District 58 (56.76 BVAP

         percentage); District 57 (57.86 BVAP percentage); District 87 (59.07 BVAP

         percentage); District 44 (59.45 BVAP percentage); District 101 (60.22 BVAP

         percentage); District 16 (62.5 BVAP percentage); District 17 (63.26 BVAP

         percentage); District 26 (64.33 BVAP percentage); District 102 (65.58 BVAP

         percentage); District 2 (67.38 BVAP percentage); District 63 (69.65 BVAP

         percentage); District 4 (72.07 BVAP percentage); District 97 (72.34 BVAP

         percentage); District 34 (72.57 BVAP percentage); District 29 (73.56 BVAP



24 Id.
25See Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::d63b737c-a8b3-46e9-
8855-aa20a728c2b5 (referenced in Pla-20, p. 45).

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         percentage); District 3 (73.86 BVAP percentage); District 61 (75.29 BVAP

         percentage); District 99 (78.11 BVAP percentage); District 100 (80.78 BVAP

         percentage). 26

     27. The Enacted House Map unjustifiably concentrates or fragments the BVAP in the

         districts discussed on pages 29 through 33 of the Court’s opinion. 27

     28. The Enacted Senate Map unjustifiably concentrates or fragments the BVAP in the

         districts discussed on pages 27 through 33 of the Court’s opinion. 28

     Illustrative Plan

     29. The Illustrative Senate Plan contains 14 majority minority districts with the following

         BVAP populations: District 2 (51.73 BVAP percentage); District 3 (51.3 BVAP

         percentage); District 4 (58.15 BVAP percentage); District 7 (52.29 BVAP

         percentage); District 14 (58.08 BVAP percentage); District 15 (54.45 BVAP

         percentage); District 17 (52.48 BVAP percentage); District 19 (50.97 BVAP

         percentage); District 24 (52.05 BVAP percentage); District 29 (50.93 BVAP

         percentage); District 5 (51.8 BVAP percentage); District 34 (63.02 BVAP

         percentage); District 38 (53.17 BVAP percentage); and District 39 (52.46 BVAP

         percentage). 29




26 Id.
27 Pla-20, pp. 44, 48, 50, 53–54, 55–61; see also Rec. Doc. 225, p. 54 lines 1–4

(referencing the new house districts in the Baton Rouge MSA);
see also Statistics, Dave’s Redistricting,
https://davesredistricting.org/maps#stats::fa47d389-42de-49ac-9c57-cc2434249cc2 (referenced at Pla-20,
p. 45).
28 Pla-20, pp. 37, 39, 41–42; See also “Statistics”, https://davesredistricting.org/maps#stats::fdcf5b8e-7661-

4390-9060-264b6e44ce37 (referenced at Pla-20, p. 31);
see also Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::12eedba5-68de-4ab4-
a3bb-7f59d9268041 (referenced at Pla-20, p. 31).
29 See Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::fdcf5b8e-7661-4390-

9060-264b6e44ce37 (referenced at Pla-20, p. 31).

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     30. The Illustrative House Plan contains 35 majority minority districts with the following

        BVAP populations: District 1 (55.33 BVAP percentage); District 2 (67.34 BVAP

        percentage); District 3 (58.85 BVAP percentage); District 4 (57.53 BVAP

        percentage); District 5 (50.86 BVAP percentage); District 11 (55.55 BVAP

        percentage); District 16 (59.76 BVAP percentage); District 17 (54.48 BVAP

        percentage); District 21 (54.28 BVAP percentage); District 23 (50.56 BVAP

        percentage); District 26 (63.38 BVAP percentage); District 29 (57.77 BVAP

        percentage); District 34 (50.03 BVAP percentage); District 38 (50.84 BVAP

        percentage); District 40 (54.88 BVAP percentage); District 44 (60.92 BVAP

        percentage); District 57 (53.43 BVAP percentage); District 58 (51.27 BVAP

        percentage); District 60 (52.83 BVAP percentage); District 61 (50.2 BVAP

        percentage); District 96 (55.55 BVAP percentage); District 63 (57.2 BVAP

        percentage); District 65 (56.03 BVAP percentage); District 67 (51.58 BVAP

        percentage); District 68 (54.21 BVAP percentage); District 69 (50.2 BVAP

        percentage); District 72 (50.6 BVAP percentage); District 83 (54.57 BVAP

        percentage); District 87 (59.07 BVAP percentage); District 93 (56.6 BVAP

        percentage); District 97 (72.34 BVAP percentage); District 99 (78.11 BVAP

        percentage); District 100 (80.78 BVAP percentage); District 101 (50.75 BVAP

        percentage); and District 102 (65.58 BVAP percentage). 30

     31. The BVAP was lowered in some Enacted majority-Black districts to create

        additional majority-Black districts in the Illustrative Plan. 31



30  See Statistics, Dave’s Redistricting, https://davesredistricting.org/maps#stats::fa47d389-42de-49ac-
9c57-cc2434249cc2 (referenced at Pla-20, p. 45).
31 Rec. Doc. 225, p. 66, lines 8–12.


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    32. 74 percent of the state’s core population remained in the same Senate districts in

         the Illustrative Senate plan as compared to the Enacted Senate Map. 32

    33. 78.5 percent of the state’s core population remained in the same House districts

         in the Illustrative House Plan as compared to the Enacted House Map. 33

    34. The Illustrative Plan adheres to and respects traditional redistricting principles.

    35. The shapes of the districts in the Illustrative Plan are reasonable considering

         geographic vagaries created by waterways and the respect afforded traditional

         boundaries such as Voting Tabulation Districts (“VTDs”) and parish lines.

    36. The districts in the Illustrative Plan are contiguous. 34

    37. The districts in the Illustrative Plan were drawn with sensitivity to communities of

         interest, including Acadiana, the Mississippi River parishes, the Cajun Heartland,

         the Florida parishes, and the planning districts in Caddo and neighboring

         parishes. 35

    38. The Red River parish area, including Natchitoches and the Cane River area,

         discussed by Dr. Colten, can be considered a community of interest and Illustrative

         House District 23 respects that community of interest. 36

    39. The Shreveport and Bossier MSA’s share historical, social, and cultural roots and

         Illustrative House District 1 respects that area as a community of interest. 37




32 Pla-20, p. 30.
33 Id. at p. 44.
34 Rec. Doc. 225, p. 29, lines 7–11.
35 Rec. Doc. 225, p. 32, line 10– p. 33, line 3; Pla-20, pp. 30, 44.
36 Rec. Doc. 212, p. 37, line 11–p. 40, line 20; Pla-129, p. 12.
37 Rec. Doc. 212, p. 29, line 4–p. 36, line 24; Pla-129, pp. 12–14.


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    40. The distinctiveness of the two major cultural groups in the Cajun Heartland subset

        of the Acadiana region, Cajuns, and Creoles of Color, are considered and

        respected in the Enacted Maps and the Illustrative Plan. 38

    41. The segregation of housing and economic activities in Jefferson Parish contribute

        to a group identity analogous to a community of interest, which is respected by the

        boundaries of Illustrative Senate District 19. 39

    42. The Illustrative majority-Black districts keep like socioeconomic communities

        together. 40

    43. The Illustrative Plan is more considerate of communities of interest than the

        Enacted Maps. 41

    44. Mr. Cooper employed compactness measures uniformly utilized in the redistricting

        field. 42

    45. The Illustrative Senate Plan is more compact than the Enacted Senate Map, and

        the Illustrative House Plan is virtually as compact as the Enacted House Map.

        There is no relevant or meaningful difference in the compactness of the Illustrative

        Plan as compared to the Enacted Map. 43

    46. The Illustrative Plan abides by Louisiana’s Joint Rule 21. 44

    47. The illustrative districts are substantially equal in population. 45




38 Pla-129, pp. 14–18.
39 Rec. Doc. 212, p. 57, line 10–p. 62, line 6.
40 Pla-89, p. 12.
41 Rec. Doc. 212, p. 41, line 1–p. 42, line 22; p. 61, line 3–p. 63, line 14.
42 Rec. Doc. 218, p. 106, lines 5–7; Rec. Doc. 229, p. 18, line 8–p. 19, line 1.
43 Rec. Doc. 218, p. 98, lines 15–20; Rec. Doc. 225, p. 25, lines 17–24.
44 Rec. Doc. 225, p. 28, line 18–p. 31, line 20.
45 Id. at p. 29, lines 12–24.


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    48. The Illustrative Plan limits precinct, municipality, and district boundary splits where

        possible.

    49. Fewer parishes were split in the Illustrative Plan than the Enacted Maps. 46

    50. U.S. Census Data is reliable and appropriate to rely on in redistricting. 47

    51. The Court rejects the contention that the Illustrative Plan advanced by the Plaintiffs

        can only be viewed as a racial gerrymander.

    52. Plaintiffs proved by a preponderance of the evidence that the district boundaries

        in the Illustrative Plan were not predominately motivated by race.

       Racially Polarized Voting

    53. Voting in Louisiana breaks down along racial lines.

    54. Black voters are highly cohesive in their support of their preferred candidates and

        White voters consistently bloc vote against the Black-preferred candidates in the

        seven areas of interest, which include the proposed new minority-majority districts

        in the Illustrative House and Senate Plans.

    55. Blocs of White voters have been successful in consistently defeating Black-

        preferred candidates.

    56. Biracial statewide elections are the most probative for evaluating racial

        polarization. 48

    57. Districts with a majority BVAP provide a realistic opportunity for Black voters to

        elect the candidate of their choice.




46 Pla-89, p. 10; Interv-42, p. 11.
47 Rec. Doc. 229, p. 154, lines 5–15.
48 Rec. Doc. 217, p. 19, lines 11–15; Rec. Doc. 228, p. 145, lines 15–18.


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58. There is no reliable basis upon which it can be concluded that a Black-preferred

   candidate will consistently prevail in election districts that are less than 50 percent

   BVAP.

Totality of the Circumstances Facts

59. Although disenfranchisement mechanisms such as poll taxes and literacy tests

   have been outlawed, Black voter suppression in Louisiana persists today through,

   closing polling places, restricting access to early voting, polling places, and limiting

   mail-in voting.

60. Black voters cohesively support candidates who are aligned on issues connected

   to race.

61. Among other things, the election calendar, and the sheer number of elections in

   Louisiana has produced voter fatigue and confusion, which is amplified in poor and

   undereducated communities.

62. Black voters’ participation in the elections is negatively affected by historic and

   continuing socio-economic disparities in education, employment, housing, health,

   and criminal justice.

63. Black voters in Louisiana experience social and economic disparities that

   negatively impact voter registration and election participation.

64. Educational and employment opportunities are comparatively lacking for Black

   Louisianans which impairs meaningful access to the political process.

65. Health disparities between Louisiana’s Black and White citizens adversely impact

   voter engagement and participation.

66. Felony disenfranchisement disproportionality affects Louisiana’s Black population.



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      67. White candidates in recent elections in Louisiana employed overt and subtle racial

         appeals in their advertising and messaging.

      68. Black Louisianans are underrepresented, as compared to their percentage of the

         population, in elected public offices at all levels.

      69. Louisiana’s elected officials have been and remain unresponsive to the

         particularized needs of Black Louisianans.

      70. In the redistricting process, the Louisiana legislature favored incumbency

         protection above other redistricting criteria.

      71. There is a history of persistent discrimination against Black citizens in Louisiana.

      72. The disenfranchisement of Black voters is highly correlated with the political

         procedures and practices in Louisiana.

      73. The Illustrative Plan offered by the Plaintiffs, if enacted by the State legislature,

         would result in more than proportionality, unlike the Enacted Maps.

      74. The district lines in the Enacted Map do not provide political effectiveness in

         proportion to BVAP.

      75. Louisiana’s history of persistent discrimination, the impacts of which persist to the

         present day, and White bloc voting behavior dilute the Black vote and deny minority

         voters equal political opportunity.

II.      CONCLUSIONS OF LAW

Standing

      1. The Individual Plaintiffs are Black, registered voters who reside in a cracked or

         packed voting district under the Enacted Map and have standing.




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    2. The Individual Plaintiffs established that the Enacted Map’s vote dilution denies

        the four Individual Plaintiffs an equal opportunity to elect a candidate of their

        choice, thus the Individual Plaintiffs have standing to challenge the vote dilution.

    3. The individuals who make up the branches of the Louisiana NAACP are

        “members” of the NAACP for purposes of associational standing.

    4. “[P]rotecting the strength of votes . . . [is] surely germane to the NAACP’s

        expansive mission” at all levels of the organization.”49

    5. The Louisiana NAACP seeks prospective and injunctive relief instead of

        individualized damages, thus direct participation by individual members is not

        required. 50

    6. The Louisiana NAACP has associational standing.

    7. BVM and the Louisiana NAACP have organizational standing.

Gingles + Totality of the Circumstances

    1. The Plaintiffs have a right of action under § 2 of the VRA.

    2. Plaintiffs proved by a preponderance of the evidence that the BVAP is sufficiently

        large and geographically compact to constitute a majority in several reasonably

        shaped districts.

    3. Plaintiffs satisfied Gingles I.

    4. The Illustrative Plans do not trigger the Equal Protection Clause of the Fourteenth

        Amendment because there is no state action.



49 Hancock Cnty. Bd. of Sup’rs v. Ruhr, 487 F. App’x 189, 197 (5th Cir. 2012) ) (“Maintaining proportional

districts, protecting the strength of votes, and safeguarding the fairness of elections are surely germane to
the NAACP’s expansive mission.”).
50 Consumer Data Indus. Ass’n v. Paxton, No. 21-51038, 2023 WL 4744918, at *4 n.7 (5th Cir. July 25,

2023) (“Participation of individual members generally is not required when the association seeks
prospective or injunctive relief, as opposed to damages.”).

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     5. Gingles II asks whether Black voters are “politically cohesive,” 51 – in other words,

         whether Black voters usually support the same candidate in elections. Gingles III

         asks whether White voters vote “sufficiently as a bloc to usually defeat the [Black

         voters'] preferred candidate.” 52 The Plaintiffs proved both.

     6. “Illustrative districts that could perform with a BVAP of less than 50 percent with

         White crossover voting are not the focus of the third Gingles precondition

         analysis.” 53

     7. “The relevant consideration under the third Gingles precondition is the challenged

         plan, not some hypothetical crossover district that could have been but was not

         drawn by the Legislature.” 54

     8. “[U]nder the ‘results test’ of § 2, only the correlation between race of voter and

         selection of certain candidates, not the causes of the correlation, matters.” 55

     9. Plaintiffs have proven the Gingles II and III requirements.

     10. Partisan preference is not properly the subject of the Gingles II and III inquiry but

         may be analyzed as part of the totality of the circumstances inquiry.

     11. Voting in Louisiana is racially polarized.

     12. Based on the totality of the circumstances, if the Enacted Maps are used, Black

         Louisianans will have less opportunity than other members of the electorate to

         participate in the political process and to elect representatives of their choice.




51 Cooper v. Harris, 581 U.S. 285, 302 (2017) (citing Thornbrug v. Gingles, 478 U.S. 30, 51 (1986)).
52 Id.
53 Robinson v. Ardoin, 86 F.4th 574, 597 (5th Cir. 2023).
54 Id. at 596
55 Thornburg v. Gingles, 478 U.S. 30, 63 (1986).


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13. The Enacted House and Senate Maps, in the areas where illustrative districts are

   proposed, are dilutive of Black voting strength and violative of § 2 of the Voting

   Rights Act.



   Signed in Baton Rouge, Louisiana, on February 8, 2024.




                                  S
                                CHIEF JUDGE SHELLY D. DICK
                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


 DR. DOROTHY NAIRNE, et al.,
                                                   Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

 v.                                                Chief Judge Shelly D. Dick

 R. KYLE ARDOIN, in his official capacity
 as Secretary of State of Louisiana,               Magistrate Judge Scott D. Johnson

         Defendant.



                                     NOTICE OF APPEAL

       Defendant Nancy Landry, in her official capacity as Secretary of State of Louisiana, hereby

gives notice of appeal from the Court’s February 8, 2024 Order [Rec. Docs. 233 and 234] and all

other orders ancillary, related, and precedent thereto, to the United States Court of Appeals for the

Fifth Circuit. See Dickinson v. Auto Ctr. Mfg. Co., 733 F.2d 1092, 1102 (5th Cir. 1983). This

appeal is brought pursuant to 28 U.S.C. § 1291 and § 1292(a)(1).

       Respectfully submitted, this the 19th day of February, 2024.

                                               /s/ Phillip J. Strach
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on this 19th day of February, 2024, the foregoing has been filed with

the Clerk via the CM/ECF system that has sent a notice of electronic filing to all counsel of record.


                                                       /s/ Phillip J. Strach
                                                       Phillip J. Strach*




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA



  DR. DOROTHY NAIRNE, et al.,
                                                   Civil Action No. 3:22-cv-00178-SDD-SDJ
         Plaintiffs,

  v.                                               Chief Judge Shelly D. Dick

  R. KYLE ARDOIN, in his official capacity
  as Secretary of State of Louisiana,

         Defendant.

                                    NOTICE OF APPEAL

       Notice is hereby given that the State of Louisiana, by and through Elizabeth B. Murrill, the

Attorney General of Louisiana, hereby appeals this Court’s February 8, 2024 Order, (ECFs No.

233 and 234) and all other orders ancillary, related, and precedent thereto, to the United States

Court of Appeals for the Fifth Circuit. This appeal is brought pursuant to 28 U.S.C. § 1291 and

§ 1292(a)(1).



       Respectfully submitted, this the 19th day of February, 2024.


                                              Elizabeth B. Murrill
                                              Louisiana Attorney General

                                              By: /s/ Elizabeth B. Murrill
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                                CERTIFICATE OF SERVICE

        I hereby certify that, on this 19th day of February 2024, the foregoing has been filed with
the Clerk via the CM/ECF system that has sent a Notice of Electronic filing to all counsel of
record.

                                        /s/ Carey T. Jones
                                          Carey T. Jones




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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

DR. DOROTHY NAIRNE, et al.,
                                                      Civil Action No. 3:22-cv-00178-SDD-SDJ
           Plaintiffs,

v.                                                    Chief Judge Shelly D. Dick

NANCY LANDRY, in her official capacity as             Magistrate Judge Scott D. Johnson
Secretary of State of Louisiana,

           Defendant.


                  LEGISLATIVE INTERVENORS’ NOTICE OF APPEAL


       Notice is hereby given that Legislative Intervenors Phillip DeVillier, Speaker of the

Louisiana House of Representatives, and Cameron Henry, President of the Louisiana Senate, in

their respective official capacities, 1 appeal to the United States Court of Appeals for the Fifth

Circuit from the February 8, 2024, Ruling and Order, Docs. 233 & 234, granting an injunction,

and all orders related to, or forming the basis of, that Ruling and Order.

                                                    Respectfully submitted,

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  Former Speaker of the Louisiana House of Representatives, Clay Schexnayder, and former
President of the Louisiana Senate no longer hold their respective offices and were replaced
“automatically” by their successors Speaker DeVillier and President Henry under Federal Rule of
Civil Procedure 25(d).



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DeVillier, in his Official Capacity as Speaker
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of Cameron Henry in his Official Capacity as
President of the Louisiana Senate




                                  CERTIFICATE OF SERVICE

       I certify that on March 6, 2024, this document was filed electronically on the Court’s

electronic case filing system. Notice of the filing will be served on all counsel of record through

the Court’s system. Copies of the filing are available on the Court’s system.

                                                     /s/ Michael W. Mengis
                                                     Michael W. Mengis, LA Bar No. 17994
                                                     BAKERHOSTETLER LLP

                                                     Counsel for Legislative Intervenors, Phillip
                                                     DeVillier, in his Official Capacity as Speaker
                                                     of the Louisiana House of Representatives,
                                                     and of Cameron Henry, in his Official
                                                     Capacity as President of the Louisiana Senate




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      I certify that on July 17, 2024, I filed the foregoing record excerpts

with the Court’s CM/ECF system, which will automatically send an

electronic notice of filing to all counsel of record.

                                          /s/ Morgan Brungard
                                          MORGAN BRUNGARD
